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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                 August 19, 2021
                          UNITED STATES DISTRICT COURT
                                                                                Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

The STATE OF TEXAS; and the                 §
STATE OF LOUISIANA,                         §
                                            §
       Plaintiffs,                          §
                                            §
v.                                          §              Civil Action No. 6:21-cv-00016
                                            §
The UNITED STATES OF AMERICA;               §
ALEJANDRO MAYORKAS, Secretary               §
of The United States Department of          §
Homeland Security, in his official          §
capacity; UNITED STATES                     §
DEPARTMENT OF HOMELAND                      §
SECURITY; TROY MILLER, Senior               §
Official Performing the Duties of the       §
Commissioner of U.S. Customs                §
and Border Protection, in his official      §
capacity; U.S. CUSTOMS AND BORDER           §
PROTECTION; TAE JOHNSON, Acting             §
Director of U.S. Immigration and            §
Customs Enforcement, in his official        §
capacity; U.S. IMMIGRATION AND              §
CUSTOMS ENFORCEMENT; TRACY                  §
RENAUD, Senior Official Performing          §
the Duties of the Director of the U.S.      §
Citizenship and Immigration Services,       §
in her official capacity; and U.S.          §
CITIZENSHIP AND IMMIGRATION                 §
SERVICES,                                   §
                                            §
       Defendants.                          §

                      MEMORANDUM OPINION AND ORDER

       “No matter how successful Congress might be in crafting a set of immigration laws

that would—in theory—lead to the most long-term benefits to the American people, such

benefits will not actually occur if those laws cannot be enforced.” S. Rep. No. 104-249, at
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3 (1996). That observation comes from a Senate Judiciary Committee Report addressing

the problem of alien criminality in the United States. Similarly, the Supreme Court has

stated “deportable criminal aliens who remain[] in the United States often commit[] more

crimes before being removed.” Demore v. Kim, 538 U.S. 510, 518, 123 S.Ct. 1708, 1715, 155

L.Ed.2d 724 (2003) (citing Hearing on H.R. 3333 before the Subcommittee on Immigration,

Refugees, and International Law of the House Committee on the Judiciary, 101st Cong.,

1st Sess., 54, 52 (1989)). These observations, among others, led to the wholesale reform of

our Nation’s immigration laws in the 1990s.

        Now, over two decades later, the States of Texas and Louisiana (the “States”) seek

to have the Executive Branch (the “Government”)1 adhere to two federal immigration

statutes passed during that wholesale reform. The States want the Government to

comply with 8 U.S.C. §§ 1226(c) and 1231(a)(2), which provide that the Government

“shall” detain certain aliens when they are released from custody or during their removal

period, respectively.2 More specifically, the States move for a preliminary injunction to

prohibit the Government from implementing two recent immigration memoranda which

allegedly instruct Executive Branch officials to violate these laws.3 (Dkt. No. 18).




    1    The term “Government” used throughout this Memorandum Opinion and Order refers
to the United States, the agencies, and the individuals sued in their official capacity.
    2      Under Section 1226(c), “the Attorney General shall take into custody” certain aliens who
have either committed specified offenses or who are otherwise deemed deportable “when the
alien is released” from custody. 8 U.S.C. § 1226(c) (emphasis added). Likewise, Section 1231(a)(2)
provides, “the Attorney General shall detain the alien” “during [the alien’s] removal period.” 8
U.S.C. § 1231(a)(2) (emphasis added).
    3   The States also seek an injunction compelling the Government to comply with the
detention mandates in Sections 1226(c) and 1231(a)(2). (Dkt. No. 18).


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       These immigration memoranda, issued on January 20 and February 18, 2021 (the

“Memoranda”), purport to “prioritize” certain categories of aliens for enforcement action.

(Dkt. No. 1-1); (Dkt. No. 1-2). The States point out that the priority categories enumerated

in these Memoranda omit certain others—namely, aliens convicted of serious drug

offenses, aliens convicted of crimes of moral turpitude, and aliens subject to a final order

of removal. The States argue that federal law requires the Government to take custody

of aliens falling within these overlooked categories, and the Memoranda are grinding

these required detentions to a halt. Unsurprisingly, the Government disagrees and

argues that the Executive Branch is simply acting within its discretion.

       This case involves the intersection of several areas of administrative and

immigration law. But more fundamentally, the claims made in this case implicate the

separation-of-powers framework set forth in our Nation’s Constitution. Put simply, the

Government has instructed federal officials that “shall detain” certain aliens means “may

detain” when it unambiguously mean must detain. Thus, the Court inquires whether the

Executive Branch may direct officials to enforce a law enacted by Congress in a way that

is contrary to the plain language of the law. That inquiry yields a clear answer: it may

not. The Executive Branch may not instruct its officers to enforce a statute in a manner

contrary to the law itself. Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 327, 134 S.Ct. 2427,

2446, 189 L.Ed.2d 372 (2014) (“Under our system of government, Congress makes laws

and the President, acting at times through agencies . . . , faithfully executes them. The

power of executing the laws [however] . . . does not include a power to revise clear




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statutory terms that turn out not to work in practice.” (citing U.S. Const. art. II, § 3)

(cleaned up)).

         Having considered the pleadings, the record, and the applicable law, the Court

finds the States have satisfied the requirements for a preliminary injunction.

Accordingly, the States’ Motion is GRANTED.4

I.       BACKGROUND

         At first glance, the background facts of this case are straightforward.                     The

Government issued two memoranda concerning civil immigration enforcement which

the States claim violate two immigration laws. But upon closer examination, the actions

of the Government and the claims by the States are strikingly complex. Congress did not

design our Nation’s immigration laws on a whim. Therefore, to place this case in its

proper context and facilitate understanding of the function of Sections 1226(c) and

1231(a)(2), the Court begins by briefly detailing some of the history behind those statutes.5



     4    In this Memorandum Opinion and Order, the Court does not address the States’
likelihood of success on claims that the Memoranda are unlawful because they violate: (1) the
Agreements between Texas and Louisiana and the Department of Homeland Security (“DHS”);
and (2) the Constitution’s requirement that the President “take Care that the Laws be faithfully
executed.” (Dkt. No. 1 at ¶¶ 122–31). In withholding a ruling on these claims, the Court is
mindful that to succeed on their Motion, the States need only demonstrate a substantial likelihood
of success on “at least one” claim, which they have. See Texas v. United States, 86 F. Supp. 3d
591, 672 (S.D. Tex. 2015), aff’d, 809 F.3d 134 (5th Cir. 2015), aff’d by an equally divided court,
____ U.S. ____, 136 S.Ct. 2271, 195 L.Ed.2d 638 (2016) (mem.). Moreover, given the significance
of the substantial interests at stake in this case, the Court finds it to be in the interest of justice to
rule after all Parties have an opportunity to make a complete presentation on the merits of these
claims. See id. at 677. Similarly, the Court defers ruling on the States’ request for an injunction to
compel agency action unlawfully withheld pursuant to Section 706(1) of the Administrative
Procedure Act. See footnote 61; see also (Dkt. No. 1 at 28); (Dkt. No. 18 at 26).
     5  In outlining the extensive background and history involved in this case, the factual
statements made herein (except where the Court is discussing a factual dispute) should be
                                                                                               (continue)


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         A.    HISTORY OF SECTIONS 1226(C) AND 1231(A)(2)

         The United States has long welcomed and benefited from immigration.6 The

Nation has, however, borne costs due to illegal immigration and the criminal conduct of

illegal aliens. See Juliet Stumpf, The Crimmigration Crisis: Immigrants, Crime, and Sovereign

Power, 56 Am. U. L. Rev. 367, 380–81 (2006). Congress in the 1990s was not blind to those

concerns. As a legislative report from 1995 mentions, “[a]lthough immigrants to the

United States have been, and continue to be, predominantly hard working and law

abiding, there appears to be a growing criminal class among immigrants, especially

among those here illegally.” S. Rep. No. 104-48, at 7 (1995). Indeed, Congress directly

linked illegal immigration with crime. The same legislative report provides:

               The fact that many criminal aliens have entered the U.S.
               illegally helps explain why so many aliens are involved in
               crime[.] [T]heir illegal situation conveys an “outlaw” status,
               often leading them into the shadowy realms of criminal
               lifestyles. The point was made succinctly in Congressional
               testimony by a former Commissioner of the INS, “[t]hose
               entering the United States illegally have no legitimate
               sponsors and are prohibited from holding jobs. Thus,
               criminal conduct may be the only way to survive.”

Id. at 5.

         Yet throughout much of its history, the United States had neither the means nor

the ability to curb illegal immigration or alien criminality. Indeed, “[f]or much of this



considered as findings of fact regardless of any heading or lack thereof. Similarly, the legal
conclusions, except where the Court discusses the various competing legal theories and positions,
should be taken as conclusions of law regardless of any label or lack thereof.
     6     See generally John F. Kennedy, A Nation of Immigrants (1958); Andrea Barton, Sitting on
Ellis Island: The Fate of Disparate Immigration Policies in the Wake of the Guantanamo Bay Cases, 23
Notre Dame J.L. Ethics & Pub. Pol’y 233, 237 (2009).


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country’s history there has been no comprehensive body of immigration law and no laws

at all addressing criminal aliens.” Id. at 10. Despite the enactment of the Immigration

and Nationality Act in 1952—and numerous immigration bills signed into law in the

subsequent decades—these issues were “dealt with . . . mostly as an afterthought.” Id. at

12. Prior to the 1990s, “no major immigration legislation ha[d] focused exclusively on the

problem of criminal aliens.” Id. And although there were attempts to solve the problem

of illegal immigration and alien criminality, change happened in a “piecemeal fashion.”

Id. It is unsurprising, therefore, that the time leading up to the enactment of Sections

1226(c) and 1231(a)(2) has been regarded by the Supreme Court as a time of “wholesale

failure by [the Executive Branch] to deal with increasing rates of criminal activity by

aliens.” Demore, 538 U.S. at 518, 123 S.Ct. at 1714 (citations omitted); see also Zadvydas v.

Davis, 533 U.S. 678, 698, 121 S.Ct. 2491, 2503, 150 L.Ed.2d 653 (2001). The Executive

Branch’s failures at that time led to costs and consequences borne by the states, the

citizens of this country, and its legal immigrants. See Demore, 538 U.S. at 518–21, 123 S.Ct.

at 1714–16; S. Rep. No. 104-48, at 1–2 (1995).

       Congress’s observations led to significant statutory reform in the federal detention

of criminal aliens. Following numerous reports about the high rate of abscondment and

recidivism among criminal aliens and the corresponding costs and negative effects,

“Congress enacted 8 U.S.C. § 1226, requiring the Attorney General to detain a subset of

deportable criminal aliens pending a determination of their removability.” Demore, 538

U.S. at 521, 123 S.Ct. at 1716. Section 1226(c)(1) reads:




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              The Attorney General shall take into custody any alien who—

                  (A) is inadmissible by reason of having committed any
                      offense covered in section 1182(a)(2) of this title,

                  (B)   is deportable by reason of having committed any
                        offense covered in section 1227(a)(2)(A)(ii), (A)(iii),
                        (B), (C), or (D) of this title,

                  (C) is deportable under section 1227(a)(2)(A)(i) of this
                      title on the basis of an offense for which the alien has
                      been sentence[d]7 to a term of imprisonment of at
                      least 1 year, or

                  (D) is inadmissible under section 1182(a)(3)(B) of this
                      title or deportable under section 1227(a)(4)(B) of this
                      title,

              when the alien is released, without regard to whether the alien
              is released on parole, supervised release, or probation, and
              without regard to whether the alien may be arrested or
              imprisoned again for the same offense.

8 U.S.C. § 1226(c)(1) (emphases added) (footnote added). And to buttress this detention

mandate, Congress in Subsection (2) provided detailed instructions on the narrow

circumstances under which the Attorney General could release a detained illegal alien.

              The Attorney General may release an alien described in
              paragraph (1) only if the Attorney General decides pursuant
              to section 3521 of Title 18 that release of the alien from custody
              is necessary to provide protection to a witness, a potential
              witness, a person cooperating with an investigation into
              major criminal activity, or an immediate family member or
              close associate of a witness, potential witness, or person
              cooperating with such an investigation, and the alien satisfies
              the Attorney General that the alien will not pose a danger to
              the safety of other persons or of property and is likely to
              appear for any scheduled proceeding. A decision relating to
              such release shall take place in accordance with a procedure

    7   The text of the statute says “sentence;” however, the Court notes it should probably be
“sentenced.”


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              that considers the severity of the offense committed by the
              alien.

Id. § 1226(c)(2) (emphases added).

       Congress’s efforts to protect the states, citizens, and legal immigrants from

criminal illegal aliens through the INA during the 1990s were not confined to Section

1226(c). Through other statutes, too, “Congress explicitly expanded the group of aliens

subject to mandatory detention.” Zadvydas, 533 U.S. at 698, 121 S.Ct. at 2503 (citing

Antiterrorism and Effective Death Penalty Act of 1996, § 439(c), 110 Stat. 1277; Illegal

Immigration Reform and Immigrant Responsibility Act of 1996, Div. C, §§ 303, 305, 110

Stat. 3009–585, 3009–598 to 3009–599; 8 U.S.C. § 1226(c); and 8 U.S.C. § 1231(a)). That

expansion is evident in 8 U.S.C. § 1231(a)(2), which outlines the Attorney General’s

discretion regarding the detention of illegal aliens who have been ordered removed:

              During the removal period, the Attorney General shall detain
              the alien. Under no circumstance during the removal period
              shall the Attorney General release an alien who has been
              found inadmissible under section 1182(a)(2) or 1182(a)(3)(B)
              of this title or deportable under section 1227(a)(2) or
              1227(a)(4)(B) of this title.

8 U.S.C. § 1231(a)(2) (emphases added).

       In view of the historical context and text of Sections 1226(c) and 1231(a)(2),

Congress designed these two provisions to curtail the effects of illegal immigration and

the concomitant concerns of alien criminality. But, as the Senate Judiciary Committee

Report mentioned earlier admits, these statutory policies are futile if the “laws cannot be

enforced.” S. Rep. No. 104-249, at 3 (1996).




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       B.     DETENTIONS IN PRACTICE

       Previously, in Texas v. United States, the Court provided an in-depth overview of

the immigration removal process. ____ F. Supp. 3d ____, ____, 2021 WL 2096669, at *4–9

(S.D. Tex. Feb. 23, 2021) (hereinafter “Texas I”). That discussion touched upon parts of

the detention process for aliens subject to removal proceedings, id. at *5, and aliens subject

to final orders of removal, id. at *8–9. Given the specific focus on detentions in this Motion

for Preliminary Injunction, it is appropriate to more fully discuss the detention process

for aliens subject to Sections 1226 and 1231.

       To start, the Illegal Immigration Reform and Immigrant Responsibility Act of 1996,

Pub. L. No. 104-208, 110 Stat. 3009-546, created a uniform procedure for deporting aliens

or denying them entry into the United States. The detention and removal process under

Section 240 of the Immigration and Nationality Act (“240 proceedings”) commences

when DHS files a Notice to Appear (“NTA”) against an alien or noncitizen—who are

designated as “respondents”—in immigration court. Matter of S-O-G- & F-D-B-, 27 I. &

N. Dec. 462, 465 (2018); see 8 C.F.R. § 1003.14; Jennifer Williams, The Potential Implications

of the Supreme Court’s Decision in Pereira v. Sessions on Prosecutions for Illegal Reentry Under

8 U.S.C. § 1326, 67 DOJ J. Fed. L. & Prac. 141 (2019); see also (6:21-cv-3, Dkt. Nos. 82 at 12,

82-1 at 5, 83 at 14). Federal law then gives the Attorney General—and immigration judges

by extension of DOJ’s internal organizational structure—discretion on whether such an

alien may continue to be detained during the proceedings or released on bond or

conditional parole pursuant to Section 1226(a). 8 U.S.C. § 1226(a).




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        For criminal aliens, however, the start of the process is a bit different. Such aliens

are taken into custody by officers within the Executive Branch (i.e., Immigration and

Customs Enforcement (“ICE”) agents) in generally three ways: an ICE arrest; in execution

of detainers after a local police stop, see 8 C.F.R. § 287.7(a) (2011); or after completion of

incarceration for a prior criminal conviction, see 8 C.F.R. § 287.5(c) (2016). See Gerard

Savaresse, When Is When?: 8 U.S.C. § 1226(c) and the Requirements of Mandatory Detention,

82 Fordham L. Rev. 285, 302 (2013). Of the three, immigration detainers are particularly

important:

               The Executive branch uses immigration detainers to control
               the release of non-citizens from state prisons and local jails.
               When federal immigration officials learn that a state or local
               law enforcement agency has custody of a non-citizen targeted
               for immigration proceedings or investigation, they issue a
               detainer to give notice to state or local officials that the federal
               government intends to take custody of the non-citizen upon
               release.     The form detainer notice issued by federal
               immigration officials directs the recipient that federal
               regulations require the recipient agency to detain the non-
               citizen for a brief period of time after the non-citizen would
               otherwise be released from custody.8 Absent the ability to
               issue detainers, immigration enforcement officials would
               have to be present at the gates of the state or local detention
               facility to apprehend the non-citizen upon release.




    8     Federal regulations permit the temporary detention of certain incarcerated aliens at
DHS’s request for a period not to exceed 48 hours “in order to permit assumption of custody” of
the detainee by DHS. 8 C.F.R. § 287.7(d). Note at least one state court determined that beyond
the 48-hour mark, state authorities must release the incarcerated aliens “[i]f the federal
government fails to apply federal law and take custody of [the criminal aliens] within the time
limit set by federal regulations.” Ochoa v. Bass, 2008 OK CR 11, ¶ 19, 181 P.3d 727, 733 (emphasis
added).


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Christopher N. Lasch, Enforcing the Limits of the Executive’s Authority to Issue Immigration

Detainers, 35 Wm. Mitchell L. Rev. 164, 165 (2008) (footnote added) (citations omitted).9

        In the past, ICE and DHS have been known to “screen” state prison and local jail

populations for criminal aliens who may be subject to Section 1226(c). Id. at 177 (citing

U.S. Immigration and Customs Enforcement, Secure Communities: A Comprehensive

Plan to Identify and Remove Criminal Aliens (Mar. 28, 2008), not available online (Aug.

2, 2021)). This screening takes place, at least in some circumstances, without cooperation

from state and local authorities. See, e.g., State v. Reyes-Armenta, No. M2004-00419-CCA-

R3-CD, 2004 WL 2804898, at *2 (Tenn. Crim. App. 2004) (“The codefendants were then

taken to the Sumner County Jail for processing. The officers had made no attempt to

contact federal immigration officials; however, Agent Robert Kinghorn, an immigration

officer, happened to be at the Sumner County jail and issued detainers on the

defendants.”). Additionally, in the past, “DHS’s practice appears to be to place a detainer

as soon as DHS learns of a potentially deportable prisoner—in many cases before

conviction, close in time to the alien’s arrest.” Lasch, supra, at 178.

        Once the alien is in mandatory custody pursuant to Section 1226(c), an NTA may

be issued, formally beginning the immigration removal proceedings. Mark Noferi,


    9    The importance of detainers aside, note that “[t]here are certainly other mechanisms
available to assist in implementing the federal apprehension of criminal aliens.” Id. at 175. For
instance, written agreements between the Executive Branch and states and local governments
pursuant to 8 U.S.C. § 1357(g) may permit state and local law enforcement “to perform a function
of an immigration officer in relation to the investigation, apprehension, or detention of aliens in
the United States (including the transportation of such aliens across State lines to detention
centers).” 8 U.S.C. § 1357(g). In another example, the Executive Branch may also enter an “inter-
governmental service agreement” with local and state jails to authorize such detention centers to
house prisoners on behalf of DHS. Lasch, supra, at 175.


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Cascading Constitutional Deprivation: The Right to Appointed Counsel for Mandatorily

Detained Immigrants Pending Removal Proceedings, 18 Mich. J. Race & L. 63, 83 (2012).

Because certain criminal aliens are required to be detained, a Notice of Custody

Determination (“Form I-286”) may also be issued. Id. (citing 8 C.F.R. § 231.1(g)(1) (2011)).

The Form I-286 explains an ICE officer’s determination that an alien is subject to

mandatory detention because the alien falls within certain categories of Section 1226(c).

Id. For such aliens, “the NTA’s removal charge will commonly be the [Form I-286] charge

justifying mandatory detention.” Id.

        While in detention, the criminal alien is entitled to a “Joseph hearing.” Id. at 63, 85–

86; see Matter of Joseph, 22 I. & N. Dec. 799 (BIA 1999). The hearing is the detainee’s only

chance to challenge the mandatory nature of his or her detention. Joseph, 22 I. & N. Dec.

at 800; Noferi, supra, at 85–86; Savaresse, supra, at 303. The point of the Joseph hearing is

to determine whether the detainee challenging mandatory detention was “properly

included” within a mandatory detention category; that is, the categories enumerated in

Section 1226(c). See Joseph, 22 I. & N. Dec. at 800; Savaresse, supra, at 303. If the detainee

prevails, he or she is entitled to a bond determination. See Joseph, 22 I. & N. Dec. at 808–

09.

        The detention process is similar for aliens with final orders of removal, i.e., those

who exhausted the removal proceedings and were found to be deportable. See 8 U.S.C.

§ 1231(a)(2). Criminal aliens who were initially detained under Section 1226(c) must

remain in ICE custody as their removals are processed. See 8 U.S.C. §§ 1226(c)(2) and

1231(a)(2). As for the aliens with final orders of removal who are not currently in ICE


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custody, ICE sends a “Bag-and-Baggage” letter requiring the aliens to report to an ICE

facility for detention and deportation. Qian Gao v. Gonzales, 481 F.3d 173, 175 (2d Cir.

2007); Bermudes-Cardenas v. Gonzales, 184 F. App’x 406, 407 (5th Cir. 2006) (per curiam).

An alien who fails to report is classified by ICE and the circuit courts as a “fugitive.” See,

e.g., Giri v. Keisler, 507 F.3d 833, 834–36 (5th Cir. 2007). Once an alien is in custody, ICE

takes the lead in coordinating their removal from the country. See Texas I, ____ F. Supp.

3d at ____, 2021 WL 2096669, at *9.

       C.     THE JANUARY 20 MEMORANDUM

       More than two decades after Congress changed the way this country approached

the issues of illegal immigration and alien criminality, the current Administration set

forth its views advocating a different approach from its predecessor. See Revision of Civil

Immigration Enforcement Policies and Priorities, Exec. Order No. 13,993, 86 Fed. Reg.

7051 (Jan. 20, 2021) (“[The current] Administration will reset the policies and practices for

enforcing civil immigration laws to align enforcement with [certain] values and

priorities.” (emphasis added)).

       Once the current Administration assumed power on January 20, 2021, it wasted

no time issuing its first memorandum on civil immigration enforcement (the “January 20

Memorandum”). (Dkt. No. 1-1). The January 20 Memorandum, signed by Acting DHS

Secretary David Pekoske, announced changes to the enforcement of the Nation’s

immigration laws.       (Dkt. No. 1-1).      The January 20 Memorandum begins by

acknowledging the current issues the federal government is encountering in enforcing

immigration laws, noting the United States “faces significant operational challenges at


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the southwest border as it is confronting the most serious global public health crisis in a

century.” (Id. at 2). The January 20 Memorandum goes on to say, “in light of those unique

circumstances,” DHS must substantially increase “resources to the border in order to

ensure safe, legal and orderly processing, to rebuild fair and effective asylum procedures

that respect human rights and due process, to adopt appropriate public health guidelines

and protocols, and to prioritize responding to threats to national security, public safety,

and border security.” (Id.) In Section A, the January 20 Memorandum calls for a

“Department-wide      review   of   policies    and   practices   concerning   immigration

enforcement[.]” (Id. at 3). In Section B, the January 20 Memorandum articulates “interim

enforcement priorities [that] shall go into effect on February 1, 2021 and remain in effect

until superseded by revised priorities developed in connection with the” Department-

wide review. (Id. at 3–4). Pending completion of the Department-wide review, the

January 20 Memorandum lists three DHS enforcement priorities:

              1) National security. Individuals who have engaged in or
                 are suspected of terrorism or espionage, or whose
                 apprehension, arrest and/or custody is otherwise
                 necessary to protect the national security of the United
                 States.

              2) Border security. Individuals apprehended at the border
                 or ports of entry while attempting to unlawfully enter the
                 United States on or after November 1, 2020, or who were
                 not physically present in the United States before
                 November 1, 2020.

              3) Public safety. Individuals incarcerated within federal,
                 state, and local prisons and jails released on or after the
                 issuance of this memorandum who have been convicted
                 of an “aggravated felony,” as that term is defined in
                 section 101(a)(43) of the Immigration and Nationality Act



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                   at the time of conviction, and are determined to pose a
                   threat to public safety.


(Id. at 3). The January 20 Memorandum then qualifies its prioritization scheme by stating,

“[w]hile resources should be allocated to the priorities enumerated above, nothing in this

memorandum prohibits the apprehension or detention of individuals unlawfully in the

United States who are not identified as priorities herein.” (Id. at 4).

         In Section C, the January 20 Memorandum orders a temporary pause on removals

of noncitizens, with some exceptions.10          (Id. at 4–5).   Specifically, the January 20

Memorandum directs “an immediate pause on removals of any noncitizen with a final

order of removal . . . for 100 days[.]” (Id. at 4). The January 20 Memorandum justifies

this pause by pointing to DHS’s “limited resources,” which it claims “must be prioritized

to . . . provide sufficient staff and resources to enhance border security and conduct

immigration and asylum processing at the southwest border fairly and efficiently” and




    10  The January 20 Memorandum excludes from the 100-day pause any alien with a final
removal order who:
          1) According to a written finding by the Director of ICE, has engaged in or is
             suspected of terrorism or espionage, or otherwise poses a danger to the
             national security of the United States; or
          2) Was not physically present in the United States before November 1, 2020;
             or
          3) Has voluntarily agreed to waive any rights to remain in the United States,
             provided that he or she has been made fully aware of the consequences of
             waiver and has been given a meaningful opportunity to access counsel prior
             to signing the waiver; or
          4) For whom the Acting Director of ICE, following consultation with the
             General Counsel, makes an individualized determination that removal is
             required by law.
(Dkt. No. 1-1 at 4–5) (footnote omitted).


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to “comply with COVID-19 protocols to protect the health and safety of DHS personnel

and those members of the public with whom DHS personnel interact.” (Id.). Further, the

January 20 Memorandum states, the pause is necessary for DHS to “ensure that [its]

removal resources are directed to [its] highest enforcement priorities.” (Id.).

         This Court partially enjoined the January 20 Memorandum on January 26 with a

temporary restraining order, Texas v. United States, ____ F. Supp. 3d ____, 2021 WL 247877

(S.D. Tex. Jan. 26, 2021), and again on February 23 with a preliminary injunction, Texas I,

____ F. Supp. 3d ____, 2021 WL 2096669. Specifically, this Court enjoined Section C of

the January 20 Memorandum, which paused removals of aliens with a final order of

removal for 100 days. Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *52. In doing

so, this Court explicitly left intact Section B of the January 20 Memorandum, which

enumerates DHS’s “enforcement priorities” going forward. (Id.). Section B is a subject

of this litigation. (Dkt. No. 1-1 at 3–4).

         D.    THE FEBRUARY 18 MEMORANDUM

         On February 18, 2021, five days before the preliminary injunction was signed in

Texas I, ICE Acting Director Tae D. Johnson issued the February 18 Memorandum to all

ICE employees. (Dkt. No. 1-2). The February 18 Memorandum became “effective[]

immediately” and controls to the extent it conflicts with the January 20 Memorandum.

(Id. at 2). Designed to implement Section B of the January 20 Memorandum, 11 the

February 18 Memorandum broadly delineates six “revisions”:



    11  The January 20 Memorandum provides that “the Acting Director of ICE shall issue
operational guidance on the implementation of these priorities.” (Dkt. No. 1-1 at 4).


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                1) authorization to apprehend presumed priority
                   noncitizens in at-large enforcement actions without
                   advance approval;

                2) the inclusion of current qualifying members of criminal
                   gangs and transnational criminal organizations as
                   presumed enforcement priorities;

                3) authorization to apprehend without prior approval other
                   presumed priority noncitizens who are encountered
                   during enforcement operations;

                4) how to evaluate whether a noncitizen who is not a
                   presumed priority nevertheless poses a public safety
                   threat and should be apprehended;

                5) the further delegation of approval authority; and

                6) the importance of providing advance notice of at-large
                   enforcement actions to state and local law enforcement.

(Id. at 2–3).

        Relevant to this case, the February 18 Memorandum lists three “criteria defining

cases that are presumed to be priorities.” (Id. at 5). The first priority category is national

security.

                A noncitizen is presumed to be a national security enforcement
                and removal priority if: 1) he or she has engaged in or is
                suspected of engaging in terrorism or terrorism-related
                activities; 2) he or she has engaged in or is suspected of
                engaging in espionage or espionage-related activities; or
                3) his or her apprehension, arrest, or custody is otherwise
                necessary to protect the national security of the United States.

(Id.) (emphasis in original). The second priority category is border security.

                A noncitizen is presumed to be a border security enforcement
                and removal priority if: 1) he or she was apprehended at the
                border or a port of entry while attempting to unlawfully enter
                the United States on or after November 1, 2020; or 2) he or she




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              was not physically present in the United States before
              November 1, 2020.

(Id.) (emphasis in original). And the final priority category is public safety.

              A noncitizen is presumed to be a public safety enforcement and
              removal priority if he or she poses a threat to public safety
              and: 1) he or she has been convicted of an aggravated felony
              as defined in section 101(a)(43) of the INA; or 2) he or she has
              been convicted of an offense for which an element was active
              participation in a criminal street gang, as defined in 18 U.S.C.
              § 521(a), or is not younger than 16 years of age and
              intentionally participated in an organized criminal gang or
              transnational criminal organization to further the illegal
              activity of the gang or transnational criminal organization.

(Id. at 5–6) (emphasis in original).

       In addition to the three enforcement priorities, the February 18 Memorandum

explains, “[o]fficers and agents need not obtain preapproval for enforcement or removal

actions that meet the above criteria for presumed priority cases”—i.e., the three

enforcement priorities—“beyond what existing policy requires and what a supervisor

instructs.” (Id. at 6). By contrast, preapproval is required for enforcement or removal

actions that do not fall under the three enforcement priorities. (Id. at 7). But there are

certain exceptions. The February 18 Memorandum, for example, posits that there are

circumstances when “the demands of public safety will make it impracticable to obtain

preapproval for an at-large enforcement action.” (Id.). But this is “generally . . . limited

to situations where a noncitizen poses an imminent threat to life or an imminent

substantial threat to property.” (Id.).




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         E.      PROCEDURAL BACKGROUND

         The States filed this case on April 6, 2021. (Dkt. No. 1). In its six-count Complaint,

the States allege the January 20 and February 18 Memoranda are unlawful because they

violate:

         1)      the Administrative Procedure Act’s (“APA”) proscription of actions
                 that are “not in accordance with law” and “in excess of . . . authority”
                 by transgressing a statutory duty of DHS to detain certain
                 individuals pursuant to 8 U.S.C. § 1226(c) (Count I) and 8 U.S.C.
                 1231(a)(2) (Count II);12

         2)      the APA’s proscription of actions that are “arbitrary [and]
                 capricious” (Count III);13

         3)      the APA’s requirement that agency rules be subject to notice and
                 comment (Count IV);14

         4)      the Agreement between the States and DHS (Count V);15 and

         5)      the Constitution’s requirement that the President “take Care that the
                 Laws be faithfully executed” (Count VI).

(Dkt. No. 1 at ¶¶ 94–131).

         On April 27, 2021, the States filed a Motion for Preliminary Injunction moving to

enjoin the implementation and enforcement of the January 20 and February 18



    12     5 U.S.C. § 706(2)(A), (C).
    13     5 U.S.C. § 706(2)(A).
    14     5 U.S.C. § 553.
    15    As this Court noted in Texas I, DHS, “U.S. Customs and Border Protection . . ., U.S.
Immigration and Customs Enforcement . . ., and U.S. Citizenship and Immigration Services . . .
entered into a Memorandum of Understanding Between Texas and DHS concerning certain
aspects of the nation’s immigration laws.” ___ F. Supp. 3d at ____, 2021 WL 2096669, at *1; see
also (Dkt. No. 1-3). “The Agreement was finalized on January 8, 2021—just 12 twelve days before
the transition from the Trump Administration to the Biden Administration.” Texas I, ___ F. Supp.
3d at____, 2021 WL 2096669, at *1; see also (Dkt. No. 1-3). DHS and the Louisiana Department of
Justice entered into a nearly identical agreement, which was also finalized on January 8, 2021.
(Dkt. No. 1-4).


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Memoranda. (Dkt. No. 18 at 43). The Government filed a Response in opposition, (Dkt.

No. 42), to which the States filed a Reply. (Dkt. No. 51). Several amicus briefs have also

been filed in support of and in opposition to the Motion. (Dkt. No. 25); (Dkt. No. 48);

(Dkt. No. 49). The Motion is now ripe for review.

II.     JURISDICTION AND JUDICIAL REVIEW

        Before addressing the merits, this Court must consider the threshold issues of

whether the States have standing to bring this action and whether the APA allows this

Court to review the Memoranda challenged by the States. The States contend they have

standing, and their claims are reviewable. (Dkt. No. 18 at 35–40). The Government

disagrees. (Dkt. No. 48 at 22–36). Based on the following, the Court finds the States have

standing and their claims are reviewable.

        A.    STANDING

        Article III of the Constitution confines judicial power to “Cases” and

“Controversies.” U.S. Const. art. III, § 2. “For a legal dispute to qualify as a genuine case

or controversy, at least one plaintiff must have standing to sue.” Dep’t of Com. v. New

York, ____ U.S. ____, ____, 139 S.Ct. 2551, 2565, 204 L.Ed.2d 978 (2019). A plaintiff has

standing to sue only where it satisfactorily shows it “(1) suffered an injury in fact, (2) that

is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 856, ____, 136

S.Ct. 1540, 1547, 194 L.Ed.2d 635 (2016) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–

61, 112 S.Ct. 2130, 2136, 119 L.Ed.2d 351 (1992); FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231,

110 S.Ct. 596, 608, 107 L.Ed.2d 603 (1990)); see also Barber v. Bryant, 860 F.3d 345, 352 (5th



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Cir. 2017). In short, injury, traceability, and redressability comprise the “irreducible

constitutional minimum” of standing. Spokeo, 578 U.S. at ___, 136 S. Ct. at 1547 (quoting

Lujan, 504 U.S. at 560, 112 S.Ct. at 2136).

       Under certain circumstances, states like Texas and Louisiana are not “normal

litigants.” Massachusetts v. EPA, 549 U.S. 497, 518, 127 S.Ct. 1438, 1454, 167 L.Ed.2d 248

(2007). Where a state alleges a defendant violated a congressionally accorded procedural

right which affected the state’s “quasi-sovereign” interests, that state is afforded “special

solicitude” in its quest to establish standing. Id. at 520–21, 127 S.Ct. at 1454–55; Texas v.

United States, 809 F.3d 134, 151–55 (5th Cir. 2015) , aff’d by an equally divided court, ____ U.S.

____, 136 S.Ct. 2271, 195 L.Ed.2d 638 (2016) (mem.) (hereinafter “Texas DAPA”).

Specifically, a state armed with special solicitude can more easily satisfy the traceability

and redressability elements of the traditional standing inquiry. Massachusetts, 549 U.S. at

520–21, 127 S.Ct. at 1454–55; Texas DAPA, 809 F.3d at 151–55.

       Here, the States assert they have standing under the traditional inquiry and

because they are owed special solicitude. (Dkt. No. 18 at 35–37). The Government

counters that the States fail all three prongs of the traditional inquiry, and they are not

entitled to special solicitude because they do not assert a proper quasi-sovereign interest.

(Dkt. No. 42 at 22–25 & n.5). Based on the following, the Court finds the States have

satisfied the traditional inquiry and, regardless, are owed special solicitude which would

satisfy any doubts.




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              1.      Injury in Fact

       The States’ first task is to establish an injury in fact. A plaintiff satisfies that burden

where it shows it suffered “an invasion of a legally protected interest” that is “concrete,”

“particularized,” and “actual or imminent, not conjectural or hypothetical.” Spokeo, 578

U.S. at ____, 136 S.Ct. at 1548 (quoting Lujan, 504 U.S. at 560, 112 S.Ct. at 2136). An alleged

injury is sufficiently concrete if it is “de facto,” meaning it “actually exist[s]” and is not

merely “abstract.”     Id. (alteration added) (citations omitted).       An alleged injury is

sufficiently particularized if it “affect[s] the plaintiff in a personal and individual way.”

Id. (alteration added) (quoting Lujan, 504 U.S. at 560 n.1, 112 S.Ct. at 2136 n.1). And lastly,

an alleged injury is sufficiently actual or imminent, respectively, if the plaintiff suffers

“continuing, present adverse effects” or demonstrates he “will soon expose himself to the

injury” through “concrete plans” demonstrating his injury is “certainly impending.”

Lujan, 504 U.S. at 564 & n.2, 112 S.Ct. at 2138 & n.2 (emphases in original) (citations

omitted).

       The States assert the Memoranda will injure two basic interests: their financial

interests and their interest as parens patriae in protecting their citizens from criminal

aliens. (Dkt. No. 35–37). As it pertains to their financial interests, the States claim the

Memoranda will require them to spend more on detention facilities and several public

benefits and services. (Id. at 35–36). Regarding the States’ interest as parens patriae, the

States allege the Memoranda will result in an increase in crime from aliens within their

borders, thus harming their citizenries’ physical and economic well-being. (Id. at 37).




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         The Government does not seriously refute the Memoranda will result in “a drop”

in immigration enforcement actions. (Dkt. No. 42 at 23). Nor could it. For example,

Texas has put forth undisputed evidence that, during just the first two months following

the issuance of the January 20 Memorandum, ICE rescinded detainers for 68 aliens

housed within Texas’s detention facilities. (Dkt. No. 19-3 at 5). That’s 68 more rescinded

detainers than during the same period the year prior. (Id. at 3, 8) (showing no detainers

were dropped from January 20, 2020, to March 20, 2020). Of note, the list includes aliens

who were convicted of possessing over fifty pounds of a narcotic, manufacturing over

400 grams of methamphetamine, theft, intoxication assault with a vehicle, and the sexual

assault of a child. (Id. at 6–7). And at least six had received a final order of removal. (Id.

at 5). Importantly, current ICE officials “attribute” the Government’s sharp decline in

maintaining detainers “to the new ‘enforcement priorities’ established by the

[M]emoranda during the Biden Administration.”16 (Dkt. No. 46 at ¶ 17).

         Rather than challenge the suffocating effect of the Memoranda on federal

detentions of criminal aliens, the Government counters that any drop in detentions is of



    16    This statement comes directly from the Chief of Staff of the Texas Department of
Criminal Justice. (Dkt. No. 46 at 2). It is unclear whether the “ICE officials” quoted by the Chief
of Staff made this statement in a capacity excluding the statement from the rule against hearsay.
See Fed. R. Evid. 801(d)(2). But even if hearsay, this Court may rely on the statement at the
preliminary injunction phase. See Sierra Club, Lone Star Chapter v. FDIC, 992 F.2d 545, 551 (5th Cir.
1993) (“[A]t the preliminary injunction stage, the procedures in the district court are less formal,
and the district court may rely on otherwise inadmissible evidence, including hearsay
evidence.”). The Government has made no showing that this testimony is otherwise unreliable,
and the Court finds none itself. Rather, the sworn affidavit from the Chief of Staff under penalty
of perjury possesses sufficient indicia of reliability as to the statement of the ICE officials. The
Court therefore accepts as fact, at the preliminary injunction phase, the testimony of the Chief of
Staff regarding the statement of current ICE officials.


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no real consequence to the States. It argues, even if the Memoranda cause detentions to

decline, the States’ theories of injury rely on a “speculative chain of events involving

independent actions by third parties.” (Dkt. No. 42 at 23). Specifically, the Government

asserts the States would incur increased financial expenses and exposure to crime only if

two conditions are satisfied: (1) the aliens who would have otherwise been detained

commit crimes or choose to use public benefits and services; and (2) those aliens do so at

a higher rate than the noncitizens who are removed as a result of the Memoranda. (Id. at

23–24).

       The Government’s concern over the causal chain of events involving third-party

action is noteworthy but out-of-turn. These concerns pertain to the “fairly traceable”

prong of the traditional standing inquiry. See Dep’t of Com., ____ U.S. at ____, 139 S.Ct. at

2565–66 (finding “traceability . . . satisfied” where the plaintiffs’ theory “relies . . . on the

predictable effect of Government action on the decisions of third parties”); Texas DAPA,

809 F.3d at 156–60 (finding a plaintiff–state’s financial injury was “fairly traceable” to the

independent conduct of third-party aliens); see also California v. Texas, ____ U.S. ____, ____,

141 S.Ct. 2104, 2116–17 (2021) (finding “an individual’s decision to enroll [in] Medicaid”

was not “fairly traceable” to the Affordable Care Act’s “minimum essential coverage

provision” (alteration added)).       Therefore, although the Government’s third-party

causation concerns will need to be addressed, the Court reserves its analysis on those

issues for discussion of the traceability of the States’ alleged injuries. For now, the Court

inquires whether the States have presented a cognizable injury to their financial interests

or interests as parens patriae. See also Lujan, 504 U.S. at 564 & n.2, 112 S.Ct. at 2138 & n.2


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(explaining “imminence” is shown where a plaintiff “will soon expose himself to the

injury” through “concrete plans” demonstrating his injury is “certainly impending”

(emphases in original) (citations omitted)); cf. Dep’t of Com., ____ U.S. at ____, 139 S.Ct. at

2565 (sidestepping the reliance of the plaintiff-states’ “future” injuries upon independent

decisions of third-party aliens to underreport in a census and holding the injuries were

sufficiently “concrete and imminent” because the plaintiff–states demonstrated, “if

noncitizen households are undercounted by as little as 2%[,] . . . they will lose out on

federal funds that are distributed on the basis of state population” (emphasis added)).

They have.

                       a.      Financial Injuries

       Between the States, Texas marshals the lion’s share of state-specific evidence

concerning injury. Compare (Dkt. Nos. 19-5–19-9) with (Dkt. No. 19-12). The Court

therefore focuses its attention on Texas’s evidence. See Texas DAPA, 809 F.3d at 155

(same). Texas’s alleged financial injury affects three categories of its public fisc: Texas’s

detention system, public education services, and healthcare-related costs. (Dkt. No. 18 at

35–36). Texas asserts that in these three categories it will incur unanticipated costs due

to the “rushed implementation” of the Memoranda which “deprived [it] of the ability to

adjust[] [its] policies in light of the federal shift.” (Id. at 41).

       To begin, Texas has alleged injury to a legally protected interest. See Spokeo, 578

U.S. at ____, 136 S.Ct. at 1548. Texas complains it will incur additional costs to its public

fisc because of an unlawful and sudden shift in federal immigration policy. (Dkt. No. 18

at 35). Theories of injury to state or local financial interests predicated on the actions of


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the federal government are not novel. See, e.g., Clinton v. City of N.Y., 524 U.S. 417, 430–

31, 118 S.Ct. 2091, 2099, 141 L.Ed.2d 393 (1998) (finding sufficient for standing purposes

a local government’s claim to suffering injury to its “borrowing power, financial strength,

and fiscal planning”); Texas DAPA, 809 F.3d at 152–53 (finding sufficient for standing

purposes several states’ claims to suffering injury to their public fiscs); see also Sch. Dist.

of City of Pontiac v. Sec’y of the U.S. Dep’t of Educ., 584 F.3d 253, 261–62 (6th Cir. 2009). And

such financial harm is particularly acute in the context of federal immigration

enforcement, where states have “an interest in mitigating the potentially harsh economic

effects of sudden shifts in population.” Plyler v. Doe, 457 U.S. 202, 228, 102 S.Ct. 2382, 2400,

72 L.Ed.2d 786 (1982) (emphasis added); see id. at n.23 (explaining, because the

Constitution deprives states of any “direct interest in controlling entry into this country,

. . . unchecked unlawful migration might impair the State’s economy generally, or the

State’s ability to provide some important service”); Texas DAPA, 809 F.3d at 152–54; see

also Arizona v. United States, 567 U.S. 387, 397, 132 S.Ct. 2492, 2500, 183 L.Ed.2d 351 (2012)

(acknowledging states “bear[] many of the consequences of unlawful immigration”);

DHS v. Regents of the U. of Cal., ____ U.S. ____, ____, 140 S.Ct. 1891, 1913, 207 L.Ed.2d 353

(2020) (finding a sudden shift in the government’s immigration policy was arbitrary and

capricious in part because the government “failed to address whether there was

legitimate reliance” on the former immigration policy (quotation omitted)). In sum, the

financial injuries incurred by states from “sudden shifts” in their population due to

federal immigration policies are not nebulous. Plyler, 457 U.S. at 228, 102 S.Ct. at 2400.

Rather, they are among the “serious and well recognized” vintage of legally protected


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interests. Massachusetts, 549 U.S. at 521, 127 S.Ct. at 1455. By requesting equitable relief

from the impact of the Memoranda on its public fisc, then, Texas appropriately seeks

judicial shelter.

         The remaining inquiries as to Texas’s alleged financial injury concerns whether it

is sufficiently concrete, particularized, and actual or imminent. Spokeo, 578 U.S. at ____,

136 S.Ct. at 1548. The Government does not contest that Texas’s alleged injury is

particularized to Texas, and the Court finds that it is. Texas can therefore establish an

injury in fact for its financial injury if it is both concrete and actual or imminent.

         Texas asserts a financial injury in the form of added costs to its detention system.

Texas states the Memoranda will lead to an unanticipated rise in criminal activity from

aliens the federal government would otherwise detain. (Dkt. No. 18 at 15–16, 35–36). On

average, Texas spends $62.34 per day per inmate in its detention facilities. (Dkt. No. 19-

6 at 3–4). In 2018, Texas detained 8,951 criminal aliens for a total of 2,439,110 days, costing

$152,054,117.17 (Id.). If even one alien not detained due to the Memoranda recidivates,

Texas’s costs “will increase” in accordance with its current cost per inmate. (Id. at 4);

cf. Dep’t. of Com., ____ U.S. at ____, 139 S.Ct. at 2565.

         The Court finds Texas’s claimed injury from unanticipated detention costs is

sufficiently concrete and imminent. The harm is concrete because Texas incurs real

financial costs in detaining criminal aliens. And the harm is imminent because Texas




    17   As the Court discusses infra, the federal government reimbursed Texas for a miniscule
fraction of its costs for detaining criminal aliens as part of a statutorily mandated program that
seeks to help states with the burden of incarcerating criminal aliens. See 8 U.S.C. § 1231(a)(1)(A).


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currently operates a detention system holding criminal aliens and plans to continue doing

so in the future.18

                       b.     Parens Patriae Injury

         In addition to its financial injury, the States assert they have been injured in their

interests as parens patriae. (Dkt. No. 18 at 37). The Government counters that the States

are precluded from bringing a parens patriae action against the federal government. (Dkt.

No. 42 at 24 & n.5). Based on the following, the Court concludes the States properly lay

claim to a parens patriae injury.

         “Parens patriae means literally ‘parent of the country.’” Alfred L. Snapp & Son, Inc.

v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 600, 102 S.Ct. 3260, 3265, 73 L.Ed.2d 995 (1982)

(quoting Black’s Law Dictionary 1003 (5th ed. 1979)). The concept derives from the

English constitutional system. Hawaii v. Standard Oil Co. of Cal., 405 U.S. 251, 257, 92 S.Ct.

885, 888, 31 L.Ed.2d 184 (1972). As that system developed, the Crown retained certain

“duties and powers” referred to as the “royal prerogative.” Id. (citation omitted). For

example, as the “father of the country,” the King served as the guardian of persons with

legal disabilities. Id. (internal quotations omitted). When the United States achieved

independence, “the prerogatives of the crown devolved upon the people of the States.”

Wheeler v. Smith, 50 U.S. (9 How.) 55, 78, 13 L.Ed. 44 (1850). That is, “[t]he State, as a

sovereign,” became “the parens patriae.” Id. Like the King before them, the states were



    18   Because the States have put forth sufficient evidence to demonstrate a concrete and
imminent injury regarding Texas’s detention costs and parens patriae, see infra II.A.1., the Court
need not address the States’ alleged financial injuries arising from unanticipated education and
healthcare-related expenses.


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now responsible for acting “in the interests of humanity” and “for the prevention of

injury to those who cannot protect themselves.” Late Corp. of the Church of Jesus Christ of

Latter-Day Saints v. United States, 136 U.S. 1, 57, 10 S.Ct. 792, 808, 34 L.Ed. 478 (1890).

       Once vested in the states, the scope of a parens patriae action under American law

“greatly expanded.” Hawaii, 405 U.S. at 257, 92 S.Ct. at 889. The first such expansion is

noteworthy. Coincidentally, in a previous dispute between the States in this case,

Louisiana sought through a parens patriae action to enjoin Texas from continuing a trade

embargo that was allegedly injuring Louisiana’s economy. Louisiana v. Texas, 176 U.S. 1,

3–4, 11–12, 20 S.Ct. 251, 251–52, 254, 44 L.Ed. 347 (1900). Texas’s lead health official had

cinched the spigot on all commerce flowing between the city of New Orleans and the

State of Texas “under the guise of a quarantine against yellow fever.” Id. at 11, 20 S.Ct.

at 254. A standing issue arose because Louisiana had simultaneously invoked the

Supreme Court’s original jurisdiction, which required a “controversy arising directly

between” the states as sovereigns, and asserted an interest as parens patriae, which had

traditionally been a tool for a state to vindicate “the grievances of particular individuals”

within its borders. Id. at 16, 20 S.Ct. at 256. To reconcile this seeming conflict, the Court

determined Louisiana had properly stated an interest as parens patriae in protecting “her

citizens at large” from economic harm due to Texas’s quarantine regulations. Id. at 19, 20

S.Ct. at 257. This interest, reasoned the Court, stemmed in part from the fact that

Louisiana, as a state, held no right under the Constitution to regulate “the freedom of

interstate commerce.” Id. Although the Supreme Court ultimately held Louisiana lacked

standing for other reasons, id. at 22–23, 20 S.Ct. at 258–59, the case is considered the first


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to expand the notion of parens patriae to a state’s interest in protecting its citizens’ interests

broadly. See Snapp, 458 U.S. at 602, 102 S.Ct. at 3266.

       Perhaps unsurprisingly, the concept of a parens patriae action to vindicate the rights

of a state’s citizens-at-large proved popular. See id. at 603, 102 S.Ct. at 3266–67 (listing

cases brought by various states during the early 20th century). And not long after

Louisiana v. Texas, Justice Holmes referred to a state’s interests in such broader matters as

“quasi-sovereign” interests. See Georgia v. Tenn. Copper Co., 206 U.S. 230, 237, 27 S.Ct. 618,

619, 51 L.Ed. 1038 (1907). The term stuck. See, e.g., North Dakota v. Minnesota, 263 U.S.

365, 374, 44 S.Ct. 138, 139, 68 L.Ed. 342 (1923); Georgia v. Pa. R. Co., 324 U.S. 439, 447, 450,

65 S.Ct. 716, 721, 722, 89 L.Ed. 1051 (1945). And before long, the doctrine evolved to the

point that the Supreme Court determined quasi-sovereign interests to be not simply a

branch of traditional parens patriae actions, but the sine qua non of parens patriae actions.

See Snapp, 458 U.S. at 602, 102 S.Ct. at 3266. (“[T]o have [parens patriae] standing, the State

must express a quasi-sovereign interest[.]” (alteration and emphasis added)).

       But lending this workable term to the abstract concept of a state’s interest in its

citizenry did not resolve all questions regarding parens patriae standing. Namely, the

referent “quasi-sovereign interest,” without more, proved useless in settling whether a

state’s injury is sufficiently “concrete” for purposes of Article III standing. Id. After all,

a quasi-sovereign interest itself is nothing more than a “judicial construct” that does “not

lend itself to a simple or exact definition.” Id. at 601, 102 S.Ct. at 3265. On its surface, the

term clearly was crafted to help distinguish from a state’s “sovereign interests,

proprietary interests, or private interests.” Id. at 602, 102 S.Ct. at 3266. And an inch


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deeper, the term represented “a set of interests that the State has in the well-being of its

populace.” Id. But those broad contours alone, absent further granularity, “risk[ed] being

too vague to survive the standing requirements” of the Constitution. Id.

       Recognizing this concreteness issue, the Supreme Court in Alfred L. Snapp & Son

took it upon itself to hammer out, as best it could, the notion of a quasi-sovereign interest.

458 U.S. 592, 102 S.Ct. 3260. While at once conceding that “the articulation of such

interests is a matter for case-by-case development,” the Supreme Court nevertheless

provided “two general categories” into which characteristics of a true quasi-sovereign

interest may fall.

       “First, a State has a quasi-sovereign interest in the health and well-being—both

physical and economic—of its residents in general. Second, a state has a quasi-sovereign

interest in not being discriminatorily denied its rightful status within the federal system.”

Id. at 607, 102 S.Ct. at 3269. Regarding the first category, the Supreme Court further

elaborated, “[o]ne helpful indication in determining whether an alleged injury to the

health and welfare of its citizens suffices to give the state standing to sue as parens patriae

is whether the injury is one that the state, if it could, would likely attempt to address

through its sovereign lawmaking powers.” Id. And regarding the latter, the Supreme

Court explained, “federal statutes creating benefits or alleviating hardships create

interests that a State will obviously wish to have accrue to its residents.” Id.

       Building on this rubric, the Fifth Circuit has concluded that a state’s claim to a

“quasi-sovereign” interest for standing purposes is sufficient when the state seeks to

“protect[] its citizens from criminal activity.” Castillo v. Cameron County, 238 F.3d 339, 351


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(5th Cir. 2001) (citing Snapp, 458 U.S. at 602, 102 S.Ct. at 3260). In Castillo, Texas sought

to overturn a federal district court’s injunction which permitted a local County Sheriff to

refuse to incarcerate alleged parole violators to reduce the county’s jail population. 238

F.3d at 343–47. To prove standing in that circumstance, Texas was required to show,

among other things, it had a “personal stake” in the outcome. Id. at 350–51. The panel

held that Texas satisfied this showing in part by alleging a valid quasi-sovereign interest

in protecting its citizens from criminal activity. Id. at 351. As a result of the injunction,

the panel explained, “parole violators who should be incarcerated remain[ed] free,

potentially increasing the level of criminal activity.” Id. Although fully aware that “the

concept of quasi-sovereign standing ‘risks being too vague to survive the standing

requirements of Article III,’” the panel found that Texas’s interest in protecting its citizens

from increased criminal activity “[fell] within the category of ‘a quasi-sovereign interest

in the health and well–being—both physical and economic—of its residents in general.’”

Id. (quoting Snapp, 458 U.S. at 602, 102 S.Ct. 3260).

       Bearing these principles in mind, the Court now turns to the States’ basis for parens

patriae standing in this case. The States assert a quasi-sovereign interest in protecting

their citizens’ physical and economic well-being “from crime caused by [the

Government’s] failure to detain criminal aliens.” (Dkt. No. 18 at 37). As it pertains to

“criminal activity” in general, Castillo resolves that the States here possess a quasi-

sovereign interest in protecting their citizens. 238 F.3d at 351.

       As it pertains to the criminal activity of “aliens” specifically, the States’ interests

are perhaps stronger than the circumstances presented in Castillo. Whereas in Castillo the


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State of Texas sought to protect its citizens from criminal activity in an area of law over

which the State retained extensive authority—the procedure for detaining alleged parole

violators—here the States retain no authority over the detention of criminal aliens upon

their release from state prison and during the pendency of their removal proceedings.

That is, the injury to the States’ quasi-sovereign interest in protecting their citizens from

criminal aliens is especially severe here because the States’ hands are tied, in effect, when

it comes to federal immigration policy. See U.S. Const. art. I, § 8, cl. 4 (conferring upon

Congress the Power “[t]o establish an uniform Rule of Naturalization”); Arizona, 567 U.S.

at 394–95, 132 S.Ct. at 2498 (holding that a state law “authorizing state officers to decide

whether an alien should be detained for being removable . . . violates the principle that

the removal process is entrusted to the discretion of the Federal Government” (citations

omitted)).

         By seeking relief for an injury to their populace from which they have no

constitutional mode of recourse, the States align themselves with the rationale employed

by the Supreme Court to support the first expansion of parens patriae standing in Louisiana

v. Texas.    Just as Louisiana once sought “vindication of the freedom of interstate

commerce” that was “not committed” to it by the Constitution, here the States seek

protection from an effect of a federal immigration policy that the States possess no

constitutional authority to change.19 Louisiana, 176 U.S. at 19, 20 S.Ct. at 257; see also Snapp,



    19   The fact that an expansion of parens patriae to citizens-at-large in Louisiana v. Texas was
determined in a case involving the Supreme Court’s original jurisdiction does not restrict the
scope of quasi-sovereign interests in non-original jurisdiction cases. If anything, the opposite is
                                                                                          (continue)


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458 U.S. at 608, 102 S.Ct. at 3269. Accordingly, the Court holds that the States possess a

quasi-sovereign interest in protecting their citizens-at-large from the criminal activity of

aliens subject to mandatory detention under federal law.

        The Government contends that the States nevertheless are barred from bringing a

parens patriae action “against the federal government.” (Dkt. No. 42 at 24). For this

proposition the Government relies exclusively upon Massachusetts v. Mellon, where the

Supreme Court denied parens patriae standing to a state suing the federal government to

protect its citizens from the “operation of” a federal statute called the Maternity Act. 262

U.S. 447, 479, 485–86, 43 S.Ct. 597, 598, 600, 67 L.Ed. 1078 (1923). A critical feature of the

Supreme Court’s rationale was that the state had not identified any “rights of the state

falling within the scope of the judicial power,” such as “quasi sovereign rights.” Id. at

485, 43 S.Ct. at 600. These twin aspects of Mellon—the challenge to the “operation of

federal statutes” and the state’s lack of an identifiable “right”— were later acknowledged

by the Supreme Court as the defining characteristics of its bar on parens patriae actions

vis-à-vis the federal government. See Massachusetts, 549 U.S. at 520 n.17, 127 S.Ct. at 1455

n.17; Georgia, 324 U.S. at 447, 65 S.Ct. at 721 (holding that Georgia could bring a parens

patriae action to protect a quasi-sovereign interest because, unlike Mellon, it did not seek

“to protect her citizens from the operation of federal statutes” and it possessed “rights . . .

based on federal [anti-trust] laws” (emphasis added)). And a long train of federal courts



true. See Snapp, 458 U.S. at 603 n.12, 102 S.Ct. at 3267 n.12; id. at 611–12, 102 S.Ct. at 3270–71
(Brennan, J., concurring) (explaining on constitutional grounds that the Court might be more
“restrictive” as to the types of interests a state can assert in a parens patriae action when the Court’s
original jurisdiction is invoked as compared to typical federal suits).


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have applied or mirrored the Supreme Court’s careful circumscription of Mellon to hold

that a state may bring a parens patriae action against the federal government where it does

not challenge the operation of a federal statute and it asserts a proper right. See, e.g., Texas

v. United States, 328 F. Supp. 3d 662, 696–98 (S.D. Tex. 2018); See Texas v. United States, 86

F. Supp. 3d 591, 625–28 (S.D. Tex. 2015), aff’d, 809 F.3d 134 (5th Cir. 2015), aff’d by an equally

divided court, ____ U.S. ____, 136 S.Ct. 2271, 195 L.Ed.2d 638 (2016) (mem.); New York v.

Sebelius, No. 1:07-cv-1003, 2009 WL 1834599, at *12–13 (N.D.N.Y. June 22, 2009); Puerto

Rico Pub. Hous. Auth. v. U.S. Dep’t of Hous. & Urban Dev., 59 F. Supp. 2d 310, 326 (D.P.R.

1999); Kansas v. United States, 748 F. Supp. 797, 802 (D. Kan. 1990); City of New York v.

Heckler, 578 F. Supp. 1109, 1122–25 (E.D.N.Y. 1984); Abrams v. Heckler, 582 F. Supp. 1155,

1159 (S.D.N.Y. 1984).

       The parens patriae injury set forth by the States safely navigates this well-trodden

distinction from the Mellon rule. The States do not challenge the operation of any federal

statute. Rather, they primarily challenge the Executive Branch’s putative refusal to

enforce certain immigration statutes which, they claim, should benefit their citizenries.

(Dkt. No. 1 at 21–24). The States allege that the Executive Branch’s policy of non-

enforcement infringes upon rights they derive from the APA. (Id. at 21–27). Specifically,

the States claim that the federal government’s policy creating a categorical refusal to

enforce certain immigration statutes is an unlawfully withheld agency action, contrary to

law, arbitrary and capricious, procedurally defunct, and constitutionally injurious. By

asserting these federal statutory rights, the States have not presented this Court with

“abstract questions of political power.” Cf. Mellon, 262 U.S. at 485, 43 S.Ct. at 600. Rather,


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the States have demonstrated concrete injuries to their quasi-sovereign interests as parens

patriae. See Castillo, 238 F.3d at 351; see also Snapp, 458 U.S. at 608, 102 S.Ct. at 3269;

Louisiana, 176 U.S. at 19, 20 S.Ct. at 257; see also Texas, 328 F. Supp. 3d at 697–98 (finding

the state had “demonstrated a concrete injury to its quasi-sovereign interest in the

economic well-being of its citizens” in a parens patriae action against the federal

government (quotation omitted)). The Court therefore concludes that the States have

demonstrated a cognizable parens patriae injury.

              2.      Traceability

       The States must next establish a “fairly traceable link” between their injuries and

the Government’s allegedly unlawful action. They can establish this link with “no more

than de facto causality.” Dep’t of Com., ____ U.S. at ____, 139 S.Ct. at 2566 (quoting Block

v. Meese, 793 F.2d 1303, 1309 (D.C. Cir. 1986) (Scalia, J.)). That is to say, a federal plaintiff

need not demonstrate that the defendant’s actions are “the very last step in the chain of

causation.” Bennett v. Spear, 520 U.S. 154, 169–70, 117 S.Ct. 1154, 1164, 137 L.Ed.2d 281

(1997); see also Davis v. Fed. Election Comm’n, 554 U.S. 724, 734–35, 128 S.Ct. 2759, 2769, 171

L.Ed.2d 737 (2008).

       Both States’ injuries depend on the future behavior of criminal aliens whom the

Government would otherwise detain. Regarding Texas’s detention costs injury, the

States argue the Memoranda will cause a significant number of criminal aliens who

otherwise would have been detained by the federal government to be detained again or

longer in Texas. (Dkt. No. 18 at 16, 18, 35–37). Regarding the States’ parens patriae injury,

the States urge that the Memoranda will lead to a significant number of criminal aliens


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who would otherwise have been detained by the federal government causing harm—

both physical and economic—to their respective citizenries. (Id. at 37). Thus, at their

core, both States’ injuries depend upon criminal aliens behaving unlawfully in the future.

       The Government contends that whether the aliens who would have otherwise

been taken into custody will commit crimes is speculative. (Dkt. No. 42 at 23). The

Government further contends that, even if the States can make this showing, they must

also prove that those aliens would commit crimes at a higher rate than the aliens who are

removed because of the Memoranda. (Id.).

       Regarding the Government’s first concern, the Supreme Court has traditionally

denied standing wherever the traceable link between the government’s action and the

plaintiff’s injury depends in part on the future behavior of third parties. See Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 413, 133 S.Ct. 1138, 1150, 185 L.Ed.2d 264 (2013) (“[W]e

have been reluctant to endorse standing theories that require guesswork as to how

independent decisionmakers will exercise their judgment.”). This tradition is especially

firm where, as here with the States’ asserted injuries, it is alleged that the third parties’

future behavior will be unlawful. See City of Los Angeles v. Lyons, 461 U.S. 95, 105, 103

S.Ct. 1660, 1666–67, 75 L.Ed.2d 675 (1983).

       That said, the Supreme Court embraces standing theories dependent on third

parties’ future behavior under certain circumstances. In Department of Commerce, for

instance, the Supreme Court traced a governmental action to aliens’ future unlawful

behavior where evidence established a likelihood that aliens have “historically” behaved

in a certain manner. ____ U.S. at ____, 139 S.Ct. at 2566. This type of evidence, the


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Supreme Court concluded, demonstrated that traceability was not “mere speculation,”

but rather, the product of a “predictable effect of Government action on the decisions of

third parties.” Id. (citations omitted). Similarly, in Davis v. Federal Election Commission,

the Supreme Court traced a governmental action to the future behavior of the plaintiff’s

political opponent where evidence showed that “most candidates” had behaved in a

certain manner and there was “no indication” the opponent would do otherwise. 554

U.S. at 734–35, 128 S.Ct. at 2769; see also Texas DAPA, 809 F.3d at 156 (finding a traceable

link between DAPA and aliens’ likelihood of obtaining driver’s licenses where driving

was a “practical necessity” for residents of the state). From these cases, it becomes

apparent that an injury may be traced through third-party behavior to governmental

action where the plaintiff demonstrates individuals similarly situated to the third party

have a propensity to engage in the relevant behavior.

       Considering this principle, the link between the States’ alleged harm and the

Memoranda is virtually unassailable.         As mentioned, the undisputed evidence

demonstrates that the Memoranda are already causing a dramatic increase in the volume

of criminal aliens released into the public. The States further present evidence suggesting

that criminal aliens, as a group, have a strong propensity to recidivate. (Dkt. No. 18 at

15–16). Indeed, the States submit evidence from a Texas Sheriff’s Office showing that a

group of 209 recently held criminal alien inmates with detainers had a recidivism rate of

73.68%. (Dkt. No. 19-5 at 3). The States also submit a 2018 study from the United States

Department of Justice’s Bureau of Justice Statistics showing that state offenders generally

recidivate at 44% within the first year following release, 68% within the first three, 79%


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within the first six, and 83% within the first nine. (Dkt. No. 19-20 at 1). And these weren’t

one-time recidivists. The same study shows, during the nine-year period following

release, there were on average five arrests per released prisoner. (Id.).

         This foregoing evidence confirms what the Supreme Court and Congress have

long acknowledged: “deportable criminal aliens who remain[] in the United States often

commit[] more crimes before being removed.” Demore, 538 U.S. at 518, 123 S.Ct. at 1715

(citing Hearing on H.R. 3333 before the Subcommittee on Immigration, Refugees, and

International Law of the House Committee on the Judiciary, 101st Cong., 1st Sess., 54, 52

(1989)); see also Zadvydas, 533 U.S. at 713–14, 121 S.Ct. at 2511 (Kennedy, J., dissenting)

(warning of the “risk to the community posed by the mandatory release” of criminal

aliens when accounting for “statistical studies showing high recidivism rates for released

aliens”).

         These facts and precedents should come as no surprise to the Government.

Congress and the Executive have long provided financial aid to states to ameliorate the

strain criminal aliens place on state detention facilities. Through the State Criminal Alien

Assistance Program (“SCAAP”), the federal government partially reimburses states for

costs associated with detaining criminal aliens.20 (Dkt. No. 19-2 at 2–4). For example, in

2018 the federal government through SCAAP reimbursed Texas $14,657,739 of the total

$152,054,117 Texas spent on detaining criminal aliens. (Id. at 4). Although amounting to

less than 10% of Texas’s actual costs in 2018, SCAAP payments demonstrate that the


    20    Notably, the statutory basis for SCAAP resides near one of the detention statutes at issue
in this case, 8 U.S.C. § 1231(i).


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federal government has long acknowledged that states like Texas incur financial harm as

a direct result of the unlawful behavior of criminal aliens.

       In sum, the States present evidence of criminal alien and state felon recidivism

through a Texas Sheriff and the DOJ’s own dataset, Supreme Court precedent citing the

congressional record making similar findings as to criminal aliens, and the existence of

the SCAAP program. Considering this substantial evidence, the Court is not persuaded

that the link between the States’ injuries and criminal aliens being released is

“speculative” as the Government suggests.           The Court finds that criminal aliens

“historically” recidivate. See Dep’t of Com., ____ U.S. at ____, 139 S.Ct. at 2566.

       Next, the Government asserts that the risk of criminal aliens committing further

crimes is insufficient for the States to trace their injuries to the Memoranda. (Dkt. No. 42

at 23). Rather, the Government hypothesizes that “it is possible” the Memoranda’s

reprioritization “will result in a net reduction in crimes.” (Id.). This argument fails in

three respects.

       First, evidence already in the record demonstrates that the Government is not just

refusing to detain its newly deprioritized categories of criminal aliens, but even the

“prioritized” variety. For instance, in Texas alone, some of the 68 individuals whose

detainers were dropped were serving time for an “aggravated felony,” a supposedly

prioritized category. Compare (Dkt. No. 19-3 at 6–7) with 8 U.S.C. § 1101(a)(43) (defining

“aggravated felony” under the INA).

       Second, the Government provides no support for its contention that its

enforcement of the prioritized categories of criminal aliens will exceed any decline in


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enforcement of the deprioritized categories. The Government’s subjective belief cannot

overcome the States’ evidence demonstrating to the contrary.

       Finally, even if the Government could demonstrate that increased enforcement in

the prioritized categories might displace a drop in the total number of detained aliens

resulting from the deprioritized categories, this “offset” would be irrelevant as a matter

of law. The “standing analysis is not an accounting exercise.” Texas DAPA, 809 F.3d at

156 (internal quotation omitted). Absent a “tight[] nexus” between the alleged “benefits”

and the “costs” of the Memoranda, there can be no “offset.” Id. Here, other than what it

noted in the Memoranda, the Government makes no showing that the resources it

previously used for enforcement of the deprioritized categories are now being allocated

to boost enforcement of the prioritized categories. And the evidence put forward by the

States regarding a drop in enforcement actions—even for prioritized aliens—makes that

“possibility” unlikely.   Accordingly, there is no connection between the results of

enforcement of prioritized categories and the results of enforcement of deprioritized

categories.

       The Court further notes that the number of aliens who would otherwise be

detained in the entire United States is relevant to estimating the impact of the Memoranda

on the States in this case. The Fifth Circuit made clear in Texas DAPA that injury to a state

can flow from the fact that aliens are “free to move among states.” 809 F.3d at 188.

Indeed, the States proffer evidence showing that “more than 50,000 noncitizens moved

into Texas from another U.S. State in 2019.” (Dkt. No. 18 at 42) (citing Dkt. No. 19-21); see

also (Dkt. No. 51 at 35) (citing Dkt. Nos. 19-21–19-23).         Given the Fifth Circuit’s


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acknowledgement of this interstate migration principle and the data provided by the

States, the prospect that criminal illegal aliens falling within the deprioritized categories

of the Memoranda who are not detained elsewhere in the Nation could move to the

States’ territories—thereby amplifying their injuries—is not mere “conjecture,” as the

Government posits. See (Dkt. No. 42 at 61).

       Considering the foregoing, the Court holds that the States have established a

traceable link between their injuries and the challenged Memoranda. The Memoranda

are already leading to an increased volume of criminal aliens released into Texas who

otherwise should have been detained by the federal government. Criminal aliens and

state offenders have a demonstrable propensity to recidivate. The Memoranda will

therefore cause a traceable injury to the States’ financial and parens patriae interests.

              3.      Redressability

       The States must next demonstrate that their requested relief would remedy their

harm. The “redressability” element of the standing to sue doctrine requires a plaintiff to

demonstrate “a substantial likelihood that the requested relief will remedy the alleged

injury in fact.” El Paso Cnty. v. Trump, 982 F.3d 332, 341 (5th Cir. 2020) (cleaned up). The

States’ request for relief does that.

       The States request two forms of injunctive relief. First, they ask this Court to

restrain the Government from “enforcing and implementing the policies described” in

Section B of the January 20 Memorandum and the February 18 Memorandum. (Dkt. No.

18-1 at 2). This Court will refer to this requested relief as the “negative injunction.”

Second, the States ask this Court to order the Government to comply with “the mandatory


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duty” to “take into custody” and “detain” aliens covered by 8 U.S.C. §§ 1226(c)(1) and

1231(a)(2), respectively, and to “refrain from releasing” aliens covered by Section

1226(c)(1) except as permitted by Section 1226(c)(2). (Id.). The Court will refer to this

requested relief as the “positive injunction.” The positive injunction relates directly to

the States’ Count I claim that the Government is “unlawfully withholding and

unreasonably delaying agency action” pursuant to 5 U.S.C. § 706(1). (Dkt. No. 1 at 23).

The States further seek to implement both the negative and positive injunctions

nationwide. (Dkt. No. 18-1 at 2).

       Assuming, as the Court must for purposes of standing, that the States are “correct

on the merits of [their] claims,” either form of requested relief is substantially likely to

remedy the States’ alleged injuries. Texas v. EEOC, 933 F.3d 433, 447 (5th Cir. 2019).

Regarding the requested positive injunction, it is perhaps self-evident that an order

compelling the federal government to take criminal aliens into custody and detain them

pursuant to the relevant statutes would relieve the States from harm they anticipate from

the criminal behavior of criminal aliens. Requiring an agency action, the withholding of

which is causing injury, will logically alleviate that injury. Notably, the Government

offers no clear argument to the contrary regarding the benefit of a positive injunction.

(Dkt. No. 42 at 25).

       But even if the Court were to grant only the requested negative injunction, then,

too, the States are substantially likely to obtain reprieve. Namely, the federal government

would be required to act in conformance with the standards set by Congress in Sections

1226(c) and 1231(a)(2) as interpreted by this Court. The Government does not quibble


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with the notion that, under Congress’s standards, the States’ injuries would be redressed.

Rather, the Government argues that, if the Memoranda are enjoined, the States are unable

to show that “the resulting prioritization scheme” will “result in a decrease in crime levels”

within the States’ boundaries. (Dkt. No. 42 at 25) (emphasis added). The Government’s

argument misses the mark for two reasons.

       First, this argument suggests the Memoranda were issued in a vacuum in which

no prior policy concerning the detention of criminal aliens ever existed. Of course, such

a suggestion is demonstrably false: the Government’s own affidavits demonstrate that

the United States has “had policies guiding such exercise since as early as 1909.” (Dkt.

No. 42-6 at 6); (Dkt. No. 42-5 at 8).

       Second, the Court’s concern over redressability in an APA case such as this cuts

not to the executive-level policy which would be applied in the absence of the faulty one,

but rather, whether Congress’s express standards—both for the immigration laws

challenged and the procedural standards allegedly discarded—if followed, would

provide the States recourse. See Texas DAPA, 809 F.3d at 161. By nullifying the constraints

flowing from the Memoranda’s “prioritization,” this Court would require that agency to

return to or pursue a specific standard for exercising its discretion within the bounds set

by Congress. The States have supplied evidence demonstrating that in times past, such

an exercise of discretion led to significantly fewer criminal aliens who are not in custody

and roaming their streets. (Dkt. No. 19-3 at 5). The Government’s inability to refute this

evidence is telling. It suggests that conformance with the strictures set by Congress in

Sections 1226(c) or 1231(a)(2) as practiced prior to the issuance of the Memoranda would


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result in a reduction of the volume of criminal aliens moving freely within the interior of

the States.

       Accordingly, the Court finds that, regardless of which form it takes, the injunctions

sought by the States would redress their injuries flowing from the Memoranda. The

States have standing under the traditional inquiry.

              4.     Special Solicitude

       Even if the States could not satisfy the traditional standing inquiry, they are

entitled to special solicitude which also enables them to satisfy the standing requirement.

The Supreme Court in Massachusetts v. EPA determined that states are owed special

solicitude wherever they assert a congressionally bestowed procedural right and the

governmental action at issue affects the state’s quasi-sovereign interests. 549 U.S. at 519–

20, 127 S.Ct. at 1454–55.    The Fifth Circuit has acknowledged that the holding in

Massachusetts applies to procedural claims under the APA. Texas DAPA, 809 F.3d at 152–

55. Specifically, the Fifth Circuit in Texas DAPA granted the state special solicitude where

it sought judicial review of an immigration policy memorandum which imposed “direct,

substantial pressure” on a state’s “lawmaking authority”—that is, pressure to change its

laws subsidizing driver’s licenses for aliens. Id.

       The States are likewise owed special solicitude here. The States seek judicial

review of immigration policy memoranda which they allege constitute final agency

action, and they assert that the resulting policies cause injury to Texas’s public fisc

because its budget for detention facilities “has been set months or years in advance.”

(Dkt. No. 18 at 41). Additionally, and as discussed above, the States have shown they


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possess a quasi-sovereign interest in protecting their citizenries from the unlawful

activity of criminal aliens. The Government’s sole argument in opposition is that special

solicitude still requires an injury in fact. (Dkt. No. 42 at 24–25 n.7). But this argument

falls short because, as detailed in this Memorandum Opinion and Order, see supra II.A.1.,

the States have demonstrated an injury in fact. Accordingly, the States have satisfied their

burden to demonstrate they are entitled to special solicitude in the standing inquiry.

         In Massachusetts, a state armed with special solicitude was permitted to establish

causation between the EPA’s decision not to regulate certain greenhouse gas emissions

and the state’s interest in protecting its physical territory. 549 U.S. at 523–24, 127 S.Ct. at

1456–57. As detailed above, the links between the States’ injuries and the Memoranda

here are not perceptibly frailer than in Massachusetts and likely are firmer. See also Lujan,

504 U.S. at 572 n.7, 112 S.Ct. at 2142 n.7 (“The person who has been accorded a procedural

right to protect his concrete interests can assert that right without meeting all the normal

standards for redressability and immediacy.”). The States have standing under the

special solicitude inquiry. Accordingly, the Court finds it has jurisdiction to consider the

States’ claims.21




    21    In sum, having concluded that the States have standing, the Court must exercise
jurisdiction. See Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 404, 5 L.Ed. 257 (1821) (noting that
federal courts “have no more right to decline the exercise of jurisdiction which is given, than to
usurp that which is not given”); see also Lexmark Int’l, Inc. v. Static Control Components, Inc., 572
U.S. 118, 126, 134 S.Ct. 1377, 1386, 188 L.Ed.2d 392 (2014) (resolving doctrinal tension that had
developed with a federal court’s “virtually unflagging” obligation to “hear and decide cases
within its jurisdiction” (internal quotation omitted)).


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       B.     JUDICIAL REVIEW

       The Court must next determine whether the States’ claims are reviewable before

turning to the merits of the Motion. Lexmark, 572 U.S. at 128, 134 S.Ct. at 1387–88. In so

doing, the Court narrows the focus to the States’ APA claims. The APA imposes four

general requirements that must be satisfied before a federal court can review agency

action. See Bennett, 520 U.S. 154, 117 S.Ct. 1154. To start, no statute may bar judicial

review. Id. at 175, 117 S.Ct. at 1167; 5 U.S.C. § 701(a)(1). Next, the new guidance outlined

in the February 18 Memorandum must constitute a “final agency action.” Bennett, 520

U.S. at 175, 117 S.Ct. at 1167; 5 U.S.C. § 704. Third, the new guidance must not be

“committed to agency discretion by law.” Bennett, 520 U.S. at 175, 117 S.Ct. at 1167; 5

U.S.C. § 701(a)(2). Finally, the States must show that their injuries are within the “zone

of   interests”    to   be   protected   by   the   statutes   allegedly   violated   by   the

Government. Bennett, 520 U.S. at 163, 117 S.Ct. at 1161; 5 U.S.C. § 702. The Court finds

that the States have met each of these requirements.

              1.        Statutory Bars to Judicial Review

       Under the APA, an action may not proceed when another statute precludes

judicial review. 5 U.S.C. § 701(a)(1). With respect to immigration, Congress enacted

“many provisions . . . aimed at protecting the Executive’s discretion from the courts[.]”

Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 486, 119 S.Ct. 936, 945, 142

L.Ed.2d 940 (1999). Banking on this, the Government contends that Sections 1252,

1231(h), and 1226(e) protect the Executive Branch’s discretion from the States’ claims

before this Court. (Dkt. No. 42 at 30–35). The Court will address each in turn.



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         First, the Government makes the same arguments it articulated in Texas I that 8

U.S.C. § 1252(a)(5) and (b)(9) bar judicial review of the States’ APA claims. (Id. at 30–31);

see also (6:21-cv-3, Dkt. No. 83 at 27).22 The States disagree arguing that the provisions are

irrelevant to this case because they apply “only with respect to review of an order of

removal under subsection (a)(1).” (Dkt. No. 51 at 27–28) (quotations omitted). As in Texas

I, the Court agrees with the States and incorporates by reference its decision on the issue

in that case. ____ F. Supp. 3d at ____, 2021 WL 2096669, at *29–30 & n.42; see also Nielsen

v. Preap, ____ U.S. ____, ____, 139 S.Ct. 954, 962, 203 L.Ed.2d 333 (2019) (holding that

Section 1252(b)(9) does not preclude judicial review of respondents’ challenge to the

Government’s detention authority under Section 1226 because respondents “are not

asking for review of an order of removal; they are not challenging the decision to detain

them in the first place or to seek removal as opposed to the decision to deny them bond

hearings; and they are not even challenging any part of the process by which their

removability will be determined” (quotations omitted)); J.E.F.M. v. Lynch, 837 F.3d 1026,

1031 (9th Cir. 2016) (“[W]hile [Sections 1252(a)(5) and 1252(b)(9)] limit how immigrants can




    22   Section 1252(a)(5) provides in relevant part: “Notwithstanding any other provision of
law (statutory or non-statutory), including section 2241 of Title 28, or any other habeas corpus
provision, and sections 1361 and 1651 of such title, a petition for review filed with an appropriate
court of appeals in accordance with this section shall be the sole and exclusive means for judicial
review of an order of removal entered or issued under any provision of this chapter, except as
provided in subsection (e).” 8 U.S.C. § 1252(a)(5).
         Section 1252(b)(9) states in part: “Judicial review of all questions of law and fact,
including interpretation and application of constitutional and statutory provisions, arising from
any action taken or proceeding brought to remove an alien from the United States under this
subchapter shall be available only in judicial review of a final order under this section.” 8 U.S.C.
§ 1252(b)(9).


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challenge their removal proceedings, they are not jurisdiction-stripping statutes that, by

their terms, foreclose all judicial review of agency actions. Instead, the provisions channel

judicial review over final orders of removal to the courts of appeals.”(emphases added)).

       Next, the Government, again repeating its stance in Texas I, argues that any of the

States’ claims brought under Section 1231 are precluded from judicial review by

Subsection (h). (Dkt. No. 42 at 34); see also (6:21-cv-3, Dkt. No. 83 at 30–32). Section

1231(h) provides that “[n]othing in this section shall be construed to create any

substantive or procedural right or benefit that is legally enforceable by any party against

the United States or its agencies or officers or any other person.” 8 U.S.C. § 1231(h). In

this case, the Government rehashes its prior argument in Texas I that the meaning of

“party” in Section 1231(h) includes the States. This time around, it argues that because

Black’s Law Dictionary defines the word “party” as “one by or against whom a lawsuit

is brought,” the Court was in error when it concluded that “party” in that section

narrowly means “alien in a removal proceeding.” (Id. at 34–35); see also Texas I, ____

F. Supp. 3d at ____, 2021 WL 2096669, at *23–28. For their part, the States unsurprisingly

agree that the Court got it right the first time around and succinctly agrees with the

Court’s disposition. (Dkt. No. 51 at 28–29). The Court agrees with the States.

       Although the Government is correct in arguing that “party” may have a broad

dictionary definition, statutory construction is more complex. On the surface, the plain

meaning of “party” in Section 1231(h)—even when accounting for the dictionary

definition—could refer to (1) any party to the removal proceedings or (2) any party to any

proceeding. See Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *24. This potential


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for multiple meanings of “party” in Section 1231(h) does not necessarily render the text

ambiguous; if “all but one of the meanings” of the word party in Section 1231(h) can be

“ordinarily eliminated by context,” that remaining meaning is correct.23 Deal v. United

States, 508 U.S. 129, 132–33, 113 S.Ct. 1993, 1996–97, 124 L.Ed.2d 44 (1993) (superseded by

statute on other grounds). The well-established process for interpreting a text with

potential ambiguity focuses on “text, context, structure, and history.” See Texas v. EPA,

983 F.3d 826, 836 (5th Cir. 2020). “Statutory language has meaning only in context.” Texas

I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *24 (quoting Graham Cnty. Soil & Water

Conservation Dist. v. U.S. ex rel. Wilson, 545 U.S. 409, 415, 125 S.Ct. 2444, 2449, 162 L.Ed.2d

390 (2005)). While a dictionary can illuminate the “core meanings of a term,” “the

meanings of common words (which typically have multiple definitions) must be

determined in the context in which they appear.” Texas, 983 F.3d at 837 n.2 (quoting

Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 418–19

(2012)). In short, the Court in Texas I conducted an in-depth analysis of the term “party,”

the statute, and the history of the statutory scheme and, having done so, the Court

determined that “party” in Section 1231(h) means “alien in a removal proceeding.” See

Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *23–28. The Government has offered

nothing to convince the Court that its analysis and conclusion in Texas I were in error.



    23   The Court in Texas I held that Section 1231(h) was unambiguous. ___ F. Supp. 3d at ____,
2021 WL 2096669, at *26 & n.4. Hence, the Court did not find Chevron deference applied to the
Government’s preferred interpretation of Section 1231(h). Id. The Court adopts that reasoning
by reference here. The Court additionally notes that the Government, like in Texas I, fails to
invoke any claim to Chevron deference with respect to Section 1231(h) in its Response to this
Motion.


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Thus, the Court adopts its prior reasoning and conclusion in Texas I with respect to

Section 1231(h).

       Lastly, the Government contends that Section 1226(e) bars the States’ claims as

they relate to Section 1226(c). (Dkt. No. 42 at 32–33). Section 1226(e) provides:

              The Attorney General’s discretionary judgment regarding the
              application of this section shall not be subject to review. No
              court may set aside any action or decision by the Attorney
              General under this section regarding the detention or release
              of any alien or the grant, revocation, or denial of bond or
              parole.

8 U.S.C. § 1226(e). The Government insists that determinations under Section 1226(c) are

discretionary because the federal government “may detain a noncitizen under § 1226—

under either subsection (a) or subsection (c)—only ‘pending a decision’ on removal.”

(Dkt. No. 42 at 32).     According to the Government, “[d]etention authority is thus

contingent on the Secretary’s separate, predicate, and discretionary decision to

commence removal proceedings in the first instance, by issuing a notice to appear.” (Id.)

(citations omitted).

       Voicing their disagreement, the States allege that Subsection (e) is irrelevant to the

action since it applies only to discretionary decisions to detain individual aliens and not

to lawsuits on the Government’s detention authority. (Dkt. No. 18 at 39); (Dkt. No. 51 at

28). And because Section 1226(c) imposes a mandatory duty to detain, as the States argue,

it follows that Section 1226(e) does not apply to Subsection (c). (Id.); see infra II.B.3.a. The

Court agrees with the States.




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       The Supreme Court has clearly stated that Subsection (e)’s limitation “applies only

to ‘discretionary’ decisions about the ‘application’ of § 1226 to particular cases.” Preap,

____ U.S. at ____, 139 S.Ct. at 962 (emphasis added). Section 1226(e), therefore, “does not

block lawsuits over ‘the extent of the Government’s detention authority under the

‘statutory framework’ as a whole.’” Id. (quoting Jennings v. Rodriguez, ____ U.S. ____,

____, 138 S.Ct. 830, 841, 200 L.Ed.2d 122 (2018) (quoting Demore, 538 U.S. at 517, 123 S.Ct.

at 1714)). Indeed, “Section 1226(e) . . . deals with challenges to operational decisions,

rather than to the legislation establishing the framework for those decisions.” Parra v.

Perryman, 172 F.3d 954, 957 (7th Cir. 1999). So, for instance, Subsection (e) poses no hurdle

for a respondent who challenges the statutory framework that permits his detention

without bail under Section 1226. See Demore, 538 U.S. at 517, 123 S.Ct. at 1714. Section

1226(e) does not preclude challenges to the Government’s alleged authority to detain

certain aliens without a bond hearing under Sections 1225(b), 1226(a), and 1226(c).

Jennings, ____ U.S. at ____, 138 S.Ct. at 839, 841. It also does not bar habeas corpus

petitions. See Parra, 172 F.3d at 957. Further, Subsection (e) does not prevent plaintiffs

from questioning whether the Government has the power under Section 1226(c) to detain

certain aliens despite failing to detain the aliens immediately after they were released as

required by Section 1226(c). Preap, ____ U.S. at ____, 139 S.Ct. at 961–62; see also infra

II.B.4. Thus, Section 1226(e) does not prohibit parties from “disput[ing] the extent of the

statutory authority that the Government claims.” Preap, ____ U.S. at ____, 139 S.Ct. at 962

(emphasis added).




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       Here, the States’ claims against the Government clearly “dispute the extent of the

statutory authority that the Government claims.” See id. In their Complaint, the States

allege the Government does not have any discretion under Section 1226(c) to determine

whether certain aliens must be detained when released from custody. See (Dkt. No. 1 at

¶¶ 35, 37–38, 94–101); see also (Dkt. No. 18 at 39). In effect, “the general extent of the

Government’s authority under § 1226(c) is precisely the issue here.” Preap, ____ U.S. at

____, 139 S.Ct. at 962. Thus, “because the extent of the Government’s detention authority

is not a matter of ‘discretionary judgment,’ ‘action,’ or ‘decision,’” this case “falls outside

of the scope of § 1226(e).” Jennings, ____ U.S. at ____, 138 S.Ct. at 841.

       Accordingly, the Court concludes Sections 1252(a)(5) and (b)(9), 1231(h), and

1226(e) do not preclude the States’ claims. There are no statutory bars to reviewing these

claims.

              2.     Final Agency Action

       The Court next considers whether the enforcement priorities set forth in the

January 20 and February 18 Memoranda constitute “final agency action” subject to

judicial review. See 5 U.S.C. § 704 (“Agency action made reviewable by statute and final

agency action for which there is no other adequate remedy in a court are subject to judicial

review.”). “Under the APA, an aggrieved party may file suit in a federal district court to

obtain review of any final agency action for which there is no other adequate remedy in

a court.” Nat’l Ass’n of Mfrs. v. Dep’t of Def., ____ U.S. ____, ____, 138 S.Ct. 617, 626, 199

L.Ed.2d 501 (2018) (citing 5 U.S.C. § 704) (internal quotations omitted). The States and

the Government agree on the standard used to determine whether an agency action is


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“final.” See (Dkt. No. 18 at 37–38); (Dkt. No. 42 at 26). That standard requires two

conditions to be satisfied. See U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 1129, ____,

136 S.Ct. 1807, 1813, 195 L.Ed.2d 77 (2016).          “First, the action must mark the

consummation of the agency’s decisionmaking process—it must not be of a merely

tentative or interlocutory nature. And second, the action must be one by which rights or

obligations have been determined, or from which legal consequences will flow.” Id.

(citing Bennett, 520 U.S. at 177–78, 117 S.Ct. at 1168). The Parties disagree whether the

Memoranda constitute final agency action. (Dkt. No. 18 at 37–38); (Dkt. No. 42 at 26–28).

The Court finds that they do for the following reasons.

                     a.     The Consummation of the Agency’s Decision-Making Process

       The first condition that must be satisfied for a court to find that an agency’s action

is final is that the action constitutes “the consummation of the agency’s decisionmaking

process.” Hawkes Co., 578 U.S. at ____, 136 S.Ct. at 1813. A consummation of this decision-

making process is present when the action is “definitive [in] nature” rather than

“advisory in nature.” Id. The Court finds the Memoranda easily satisfy this condition.

       As an initial matter, the text of the February 18 Memorandum indicates the

Memoranda are the consummation of DHS’s decision-making process. It states, “[t]his

interim guidance is effective immediately.”       (Dkt. No. 19-2 at 2) (emphasis added).

Moreover, the February 18 Memorandum states, “[i]t applies to all U.S. Immigration and

Customs Enforcement (ICE) Directorates and Program Offices, and it covers enforcement

actions, custody decisions, the execution of final orders of removal, financial

expenditures, and strategic planning.” (Id.) (emphasis added). The immediacy and


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definite nature of the application of this guidance to all enforcement actions and custody

decisions made by all ICE Directorates and Program Offices strongly suggest the agency’s

decision is final. See Hawkes Co., 578 U.S. at ____, 136 S.Ct. at 1813.

       The Government attempts to overcome these indicia of final agency action by

arguing “the Secretary retains the discretion to change or abandon these policies at any

time[.]” (Dkt. No. 42 at 27). This argument stems from the February 18 Memorandum,

which states, “[t]his interim guidance will remain in effect until Secretary Mayorkas

issues new enforcement guidelines,” which will occur “only after consultation with the

leadership and workforce of ICE, U.S. Customs and Border Protection, and other

Department of Homeland Security (Department) agencies and offices.” (Dkt. No. 19-2 at

2). The Government’s argument is unpersuasive. The mere fact that an agency says an

action is not final because it maintains “discretion” to alter a policy is insufficient to render

an action nonfinal. See Hawkes Co., 578 U.S. at ____, 136 S.Ct. at 1814 (“The Corps may

revise an approved [jurisdictional determination] within the five-year period based on

‘new information.’ That possibility, however, is a common characteristic of agency

action, and does not make an otherwise definitive decision nonfinal.” (citation omitted));

Sackett v. EPA, 566 U.S. 120, 127, 132 S.Ct. 1367, 1372, 182 L.Ed.2d 367 (2012) (“The mere

possibility that an agency might reconsider in light of ‘informal discussion’ and invited

contentions of inaccuracy does not suffice to make an otherwise final agency action

nonfinal.”).

       Here, the Government’s insinuation that agency action is not final simply because

the agency says so, would produce the absurd result of precluding judicial review of any


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policy that the agency says is not final. Indeed, if such a rule were followed, then an

agency could avoid judicial review of its action in perpetuity simply by labeling its action

as “interim” or “temporary” and stating that the agency maintains the ability to repeal or

revise it in the future. In fact, this case demonstrates how an agency could potentially tie

the judiciary’s hands if the agency’s action is not final simply because the agency says it

is not.

          In this case, the February 18 Memorandum took effect immediately upon issuance.

(Dkt. No. 19-2 at 2). The Memorandum states it would “remain in effect until Secretary

Mayorkas issues new enforcement guidelines.” (Id.). It also states Secretary Mayorkas

“anticipate[d] issuing these guidelines in less than 90 days,” meaning the new guidance

would be issued before May 19, 2021. (Id.). But that did not happen. See (Dkt. No. 63 at

3–4). In fact, in a separate challenge to the February 18 Memorandum, the Government

represented to the district court that it “currently expect[s] that the Secretary will issue

new immigration priorities in the beginning of July.” Arizona v. Dep’t of Homeland Sec.,

No. 2:21-cv-00186-SRB, 2021 WL 2787930 (D. Ariz. June 7, 2021), Dkt. No. 85 at 2. Once

again, the new guidance was not released. See (Dkt. No. 63 at 3–4). The Government now

projects “the Secretary will issue new immigration enforcement priorities by the end of

August or the beginning of September.” (Dkt. No. 63 at 3–4). Notably, the Government

“caution[s] that this is only [its] current expectation.” (Id. at 4) (emphasis added). In other

words, the Government’s expectation could once again change, and the issuance of the

new guidance could be delayed even longer. Thus, a purely subjective definition of

nonfinality would be awfully convenient for the Government—but that is not what the


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law provides. Rather, because the agency-wide application of this guidance has an

immediate and definite nature, it objectively demonstrates the agency’s decision is

indeed final. See Hawkes Co., 578 U.S. at ____, 136 S.Ct. at 1813. The Court therefore finds

that the Memoranda satisfy the first condition.

                     b.     Rights, Obligations, and Legal Consequences

       The second condition that must be satisfied for a court to find that an agency’s

action is final is that the challenged action must be one by which rights or obligations

have been determined, or from which legal consequences will flow. See Hawkes Co., 578

U.S. at ____, 136 S.Ct. at 1813. The Government argues the Memoranda do not satisfy

this condition because the Memoranda do not change DHS’s legal obligation to enforce

the law in the manner prescribed in Sections 1226(c) and 1231(a)(2). (Dkt. No. 42 at 26–

28). The Government also argues the Memoranda do not “change any person’s legal

status, confer any legal benefits, or have any ‘legal consequences.’” (Id. at 27). Stated

differently, the Government contends the Memoranda do not affect the rights or

obligations of the States, aliens, or any other person or entity. In support, the Government

points to the February 18 Memorandum, which states that the Memorandum does not

“create any right or benefit, substantive or procedural, enforceable at law.” (Id. at 27)

(citing (Dkt. No. 19-2 at 8)). But once again, what the Memoranda say and do are

different. The Court finds the Memoranda satisfy the second condition.

       First, the Government’s assertion that the Memoranda do not alter DHS’s legal

obligations to detain certain aliens under Sections 1226(c) and 1231(a)(2) is demonstrably

false. In deciphering the meaning of Sections 1226(c) and 1231(a)(2) below, see infra


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II.B.3.a., the Court goes to great lengths to discuss what obligations those statutory

provisions create for DHS. In sum, Section 1226(c) obligates DHS to detain all aliens who

fall within the ambit of that provision when they are “released” from state custody. Section

1231(a)(2) requires DHS to detain all aliens with final orders of removal “during the

removal period.”

       The Memoranda require something quite different. Specifically, the February 18

Memorandum effectively substitutes a prioritization scheme in place of the enforcement

mandates set forth in these statutory provisions. This new scheme creates two categories

of aliens who are required to be detained: priorities and nonpriorities. See (Dkt. No. 19-2

at 4–7). It also sets forth a requirement that ICE agents obtain preapproval to detain aliens

who are deemed nonpriorities. (Id. at 7). The plain meaning of Sections 1226(c) and

1231(a)(2) allows for neither this specific prioritization scheme nor its preapproval

process; they simply require DHS to detain all aliens described therein at a certain time

or for a specific duration. Because the Memoranda require DHS to enforce the law in a

different way than what Sections 1226(c) and 1231(a)(2) prescribe, the Memoranda

constitute a change in DHS’s legal obligations. Such a change weighs in favor of

classifying the Memoranda as final agency action. See Texas, 86 F. Supp. 3d at 648–49

(finding that DAPA is a final agency action, in part, because “[a]s evidenced by the

mandatory language throughout the DAPA Memorandum requiring USCIS and ICE to

take certain actions, the Secretary’s Directive clearly establishes the obligations of the

DHS and assigns specific duties to offices within the agency”).




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         Next, the Government contends the Memoranda do not alter the rights or

obligations of the States or aliens in the country. The Court disagrees. Based on the

record before the Court, the Memoranda affect Texas’s legal obligation to provide

Emergency Medicaid to certain noncitizens. “Emergency Medicaid is a federally required

program jointly funded by the federal government and the states.” (Dkt. No. 19-7 at ¶ 7)

(emphases added). Illegal aliens are eligible to participate in this program. See (Id.); 8

U.S.C. § 1611(b)(1)(A). An alien in Texas who is eligible for Emergency Medicaid and

presently in state custody can benefit from the program after being released.24 Texas is

therefore legally obligated to bear part of the cost of Emergency Medicaid for aliens who

qualify for the program and are not detained by ICE after being released from state

custody.

         But as should be clear by now, not all aliens released from state incarceration are

returned to society. And that is because of Sections 1226(c) and 1231(a)(2). Again,

pursuant to Section 1226(c), DHS is required to detain all aliens who have committed

certain serious offenses as soon as they are released from state custody. And per Section

1231(a)(2), DHS is required to detain certain aliens during their removal period. Instead,

because of the Memoranda, DHS is no longer detaining all of these aliens as soon as they

are released from state custody or during their removal periods. Texas will therefore

have a legal obligation to share the cost of providing Emergency Medicaid to aliens who



    24   Indeed, even the Executive Branch in a website has stated that incarcerated individuals
may apply for Medicaid coverage in their respective states and thereafter be eligible for benefits
after release from custody. See HealthCare.gov, Health coverage for incarcerated people,
https://www.healthcare.gov/incarcerated-people/.


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qualify for the program and, under the Memoranda, are not detained by ICE after being

released from state custody.25

         As for the rights of aliens, another district court has already concluded the

Memoranda affect the rights of certain aliens presently detained. See Hussein S.M. v.

Garland, No. CV 21-348 (JRT/TNL), 2021 WL 1986125, at *3 (D. Minn. May 18, 2021). As

this Court noted in Texas I, “an [alien] who has been detained for six months may be

entitled to release if ‘it has been determined that there is no significant likelihood of

removal in the reasonably foreseeable future.’” ____ F. Supp. 3d at ____, 2021 WL

2096669, at *31 (quoting Zadvydas, 533 U.S. at 701, 121 S.Ct. at 2505). In Hussein S.M., a

detained alien with a final of order of removal filed a petition for a writ of habeas corpus

to secure his release from detention. 2021 WL 1986125, at *1. The district court granted

the petition, relying on the civil immigration enforcement priorities set forth in the



    25    The Court is also concerned that the Memoranda affect the States’ legal obligation to
provide a public-school education to certain noncitizens following their release from juvenile
detention. For example, Texas is required by both federal and state law to provide noncitizen
children with a public-school education. See generally Plyler, 457 U.S. 202, 102 S.Ct. 2382 (holding
that a Texas statute that withheld state funds for educating children who were not “legally
admitted” was unconstitutional); see also LeClerc v. Webb, 419 F.3d 405, 416 (5th Cir. 2005) (“In . . .
Plyler, the [Supreme] Court employed a heightened level of rational basis review to invalidate a
Texas law that denied primary public education to children of illegal aliens.”); Texas v. United
States, 106 F.3d 661, 666 (5th Cir. 1997) (“[T]he State’s public education expenditures for the
children of undocumented aliens are required by the equal protection clause[.]” (citing Plyler, 457
U.S. 202, 102 S.Ct. 2382)). This obligation would necessarily include juveniles released from the
custody of the Texas Juvenile Justice Department (“TJJD”) who are not detained by ICE because
of the Memoranda. See (Dkt. No. 19-9 at ¶ 7) (“As Chapter 25, Texas Education Code, requires a
child to attend school and as Plyler . . . prohibits denying undocumented children of illegal
immigrants the right to attend public school, to the extent ICE does not take custody of non-
citizen juveniles set to be released from TJJD custody, it is my understanding that those non-
citizen juveniles who have not already received their General Educational Development or high
school diploma attend Texas public schools after being released.”). The Court is interested in
further briefing on this issue at the next stage of this litigation.


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January 20 Memorandum and later reaffirmed in the February 18 Memorandum. Id. at

*3. Because the alien in Hussein S.M. did not fall within one of the priority groups, the

district court found “his removal is unlikely to be imminent despite ongoing removal

enforcement.”       Id.    (emphasis added).      In short, Hussein S.M. demonstrates the

Memoranda directly affect an alien’s right to be free from prolonged detention. The

Court therefore concludes the Memoranda affect the rights of and have significant legal

consequences for detained aliens with final orders of removal.

         In sum, the Court finds the Memoranda are the consummation of DHS’s decision-

making process and determine certain rights and legal obligations. Therefore, the Court

concludes the Memoranda constitute final agency action under Section 704 of the APA.26

               3.         Committed to Agency Discretion by Law

         In determining whether an agency action is reviewable, the Court must also

determine whether the “agency action is committed to agency discretion by law.” 5

U.S.C. § 701(a)(2). Accordingly, the Court now inquires whether the implementation of

the new guidelines found in the Memoranda is “committed” to the Government’s

discretion by law.

         The APA embodies a “basic presumption of judicial review.” Lincoln v. Vigil, 508

U.S. 182, 190, 113 S.Ct. 2024, 2030, 124 L.Ed.2d 101 (1993) (quoting Abbott Labs. v. Gardner,

387 U.S. 136, 140, 87 S.Ct. 1507, 1511, 18 L.Ed.2d 681 (1967)).              But this is “just” a



    26  A district court in Florida concluded the February 18 Memorandum is unreviewable
under the APA because it did not constitute final agency action. Florida. v. United States, No. 8:21-
CV-541-CEH-SPF, 2021 WL 1985058, at *9 (M.D. Fla. May 18, 2021). The Court respectfully
disagrees with this conclusion for the reasons set forth herein.


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presumption. Lincoln, 508 U.S. at 190, 113 S.Ct. at 2030. “‘[R]eview is not to be had’ in

those rare circumstances where the relevant statute ‘is drawn so that a court would have

no meaningful standard against which to judge the agency’s exercise of discretion.’” Id.

at 191, 113 S.Ct. at 2031 (quoting Heckler v. Chaney, 470 U.S. 821, 830, 105 S.Ct. 1649, 1655,

84 L.Ed.2d 714 (1985)). Where there is no meaningful standard to apply, “the statute

(‘law’) can be taken to have ‘committed’ the decisionmaking to the agency’s judgment

absolutely.” Lincoln, 508 U.S. at 191, 113 S.Ct. at 2031 (quoting Heckler, 470 U.S. at 830,

105 S.Ct. at 1655).

       One category of administrative decisions that courts “traditionally have regarded

as ‘committed to agency discretion’” is relevant to this discussion. Id. (citation omitted).

Namely, “an agency’s decision not to institute enforcement proceedings.” Id. (citing

Heckler, 470 U.S. at 831, 105 S.Ct. at 1655–56). Non-enforcement decisions, however, are

only “presumptively unreviewable.” Heckler, 470 U.S. at 832–33, 105 S.Ct. at 1656. The

Supreme Court has outlined a narrow but clear roadmap to overcoming that

presumption and a second, less–traveled path. As for the first: “the presumption may be

rebutted where the substantive statute has provided guidelines for the agency to follow

in exercising its enforcement powers.” Id. As for the second: it may be “justifiably . . .

found that the agency has ‘consciously and expressly adopted a general policy’ that is so

extreme as to amount to an abdication of its statutory responsibilities.” Id. at 833 n.4, 105

S.Ct. at 1656 n.4 (quoting Adams v. Richardson, 480 F.2d 1159, 1162 (D.C. Cir. 1973) (en

banc)). Although the Supreme Court has not (yet) found this latter type of “abdication,”

it has nevertheless instructed that any such inquiry should focus on “the statute


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conferring authority on the agency,” which “might indicate that such decisions were not

‘committed to agency discretion.’” Heckler, 470 U.S. at 833 n.4, 105 S.Ct. at 1656 n.4; see

also Texas DAPA, 809 F.3d at 166–67.

       In this case, the Government argues the States’ claims are unreviewable because

the new guidelines contained in the February 18 Memorandum are committed to agency

discretion by law. More precisely, the Government argues: (1) the substantive statutes in

question, Sections 1226(c) and 1231(a)(2), do not set out the specific mandatory duties the

States assert, that is, the duty to detain certain aliens subject to those two sections; (2) even

if these statutes establish mandatory duties, the new guidelines “simply establish[]

enforcement priorities” since they do “not direct ICE officials to cease detaining any

particular noncitizen subject to either § 1226(c) or § 1231(a)(2)”; and (3) assuming the first

two arguments fail, the Executive Branch may, in effect, dispense with a congressional

mandate because “[t]he exercise of prosecutorial discretion is inherent to the Executive

power that the Constitution confers on the President.” (Dkt. No. 42 at 28–30). Opposing

the Government’s suppositions, the States contend that, although the Government wields

tremendous discretion in this area of immigration law, Sections 1226(c) and 1231(a)(2)

limit this discretion by mandating the detention of certain aliens when they are released

or during the removal period. (Dkt. No. 51 at 29–30). The Court now turns to each of

these arguments.

                      a.     Whether “Shall” Means “Must”

       The Government first argues that “shall” in Sections 1226(c) and 1231(a)(2) does

not impose any mandatory duties or guidelines for the Government to follow. The Court


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disagrees. Under Section 1226(c), “the Attorney General shall take into custody” certain

aliens who have either committed specified offenses or who are otherwise deemed

deportable under the INA “when the alien is released” from custody. 8 U.S.C. § 1226(c)

(emphasis added). Likewise, Section 1231(a)(2) provides, “the Attorney General shall

detain the alien” “during [the alien’s] removal period.” 8 U.S.C. § 1231(a)(2) (emphasis

added).

       Recent Supreme Court precedent establishes “shall” means “must” in these

sections.   In Johnson v. Guzman Chavez, the Supreme Court noted “detention is

mandatory” during an alien’s removal period, as prescribed by Section 1231(a)(2). ____

U.S. ____, ____, 141 S.Ct. 2271, 2281 (2021) (citing 8 U.S.C. § 1231(a)(2)). And under

Section 1226(c), “detention is mandatory and release is permitted in very limited

circumstances” “[f]or certain criminal aliens and aliens who have connections to

terrorism.” Id. at ____ n.2, 141 S.Ct. at 2280 n.2 (citing 8 U.S.C. § 1226(c)). In light of

Guzman Chavez, it seems there is no dispute that Sections 1226(c) and 1231(a)(2) are

mandatory.

       This is not surprising. Guzman Chavez’s holding follows the well-established

principle that Sections 1226(c) and 1231(a)(2) mandate the detention of certain aliens at

specific points in time. See Preap, ____ U.S. at ____, 139 S.Ct. at 959 (finding under Section

1226(c) certain criminal aliens “must be arrested when ‘they are released’ from custody

on criminal charges and . . . must be detained without a bond hearing until the question

of their removal is resolved” (citing 8 U.S.C. § 1226(c)) (emphasis added)); Jennings, ____

U.S. at ____, 138 S.Ct. at 835 (“§ 1226(c) makes clear that detention of aliens within its


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scope must continue ‘pending a decision’ on removal” (citing 8 U.S.C. § 1226(c))

(emphasis added)); Zadvydas, 533 U.S. at 683, 121 S.Ct. at 2495 (“After entry of a final

removal order and during the 90-day removal period, however, aliens must be held in

custody.” (citing 8 U.S.C. § 1231(a)(2)) (emphasis in original)); Demore, 538 U.S. at 521, 123

S.Ct. at 1716 (noting Section 1226 “requir[ed] the Attorney General to detain a subset of

deportable criminal aliens pending a determination of their removability” (emphasis

added)); Hosh v. Lucero, 680 F.3d 375, 377, 381 (4th Cir. 2012) (“Section 1226(c) requires the

mandatory federal detention, without the possibility of bond, of certain deportable

criminal aliens ‘when’ those aliens are released from other custody.” (emphases added));

Rodney v. Mukasey, 340 F. App’x 761, 764 & n.3 (3d Cir. 2009) (per curiam) (interpreting

“shall” in Section 1231(a)(2) to mean the Attorney General “must” detain the alien for a

certain period (emphasis added)); Khotesouvan v. Morones, 386 F.3d 1298, 1300 (9th Cir.

2004) (observing that, in Demore, the Supreme Court “approved the mandatory detention

of a criminal alien during removal proceedings under 8 U.S.C. § 1226(c) even in the

absence of an individualized finding that the alien was unlikely to appear for his removal

hearing if released on bond” (emphasis added)); Prieto-Romero v. Clark, 534 F.3d 1053,

1059 & n.4 (9th Cir. 2008) (noting that detention under Section 1231(a)(2) is mandatory);

Nyonton v. Brackett, No. 18-CV-481-PB, 2019 WL 1082203, at *2 (D.N.H. Mar. 7, 2019)

(holding Section 1231(a)(2) is “crystal clear” in mandating the detention of aliens subject

to Section 1231, especially with respect to individuals “who have been found

inadmissible because of a controlled substance violation”); Louisaire v. Muller, 758 F.

Supp. 2d 229, 235 (S.D.N.Y. 2010) (explaining that, while Section 1226(a) provides ICE


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with the discretion to detain any alien pending a decision in removal proceedings,

“[a]liens who have been convicted of certain enumerated offenses, however, including

drug crimes . . . are subject to mandatory detention” pursuant to Sections 1226(c)(1)(B),

1227(a)(2)(B), and INA § 126(c) (emphasis added)).

       Accordingly, the Court concludes, following Guzman Chavez and the foregoing

overwhelming precedent, the word “shall” means “must” in Sections 1226(c) and

1231(a)(2). Consequently, the Government is required to detain certain criminal aliens

and aliens with final orders of removal at certain points in time to comply with those

statutes.

       Despite the Supreme Court’s clear interpretation of Sections 1226(c) and 1231(a)(2),

the Government nevertheless argues that Guzman Chavez and, by extension, all other

related court rulings are irrelevant here. The Government contends Guzman Chavez “did

not address the Department of Homeland Security’s discretion whether to detain

individuals covered by 8 U.S.C. § 1226(c) and 8 U.S.C. § 1231(a)(2).” (Dkt. No. 67 at 1).

“Rather,” according to the Government, Guzman Chavez “addressed under which

authority certain individuals were detained and whether such individuals were entitled

to bond hearings.” (Id.). In short, the Government argues the Court should disregard

Guzman Chavez’s statements on Sections 1226(c) and 1231(a)(2)—and the numerous court

holdings that precede Guzman Chavez—because those were not central to the case’s

holding and thus were dicta that need not be followed. The Court disagrees.

       Guzman Chavez’s treatment of Sections 1226 and 1231 were central to its holding.

The case’s key question was whether certain aliens could be released on bond while


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petitioning for relief from removal. That question was necessarily answered by analyses

of both sections—analyses that included looking at the mandatory nature of Sections

1226(c) and 1231(a)(2)’s detention provisions. The respondents in Guzman Chavez—aliens

who were detained following their unlawful reentrance into the United States after

previously being removed—sought release on bond while they were pursuing relief from

removal. Guzman Chavez, ____ U.S. at ____, 141 S.Ct. at 2280. The respondents argued

that Section 1226, which generally conferred discretion to the Government to detain

aliens, provided them an avenue to be released on bond. Id. at ____, 141 S.Ct. at 2283–84.

However, the Government in that action contended that Section 1231, which mandates

detention of aliens with orders of removal, applied to the respondents, effectively

requiring their detention to be without bond. Id.; see also Brief for Petitioner, Johnson v.

Guzman Chavez, ____ U.S. ____, 141 S.Ct. 2271 (2021) (No. 19-897), 2020 WL 4938065. The

Supreme Court was thus required to determine which INA provision applied to the

respondents. This task necessitated a finding as to whether, and in what circumstances,

detention was mandatory under the relevant statutes. See Guzman Chavez, ____ U.S. at

____, 141 S.Ct. at 2280–82.

       Guzman Chavez ultimately held Section 1231 applies to the respondents since they

had effectively been ordered removed through the reinstatement of their previous orders

of removal. See id. at ____, 141 S.Ct. at 2287–91. In reaching this conclusion, the Supreme

Court compared Section 1226, which, again, applies to the arrest and detention of an alien

“pending a decision on whether the alien is to be removed from the United States,” id. at

____, 141 S.Ct. at 2281, with Section 1231, which applies to an alien ordered removed, id.


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In the Supreme Court’s discussion of Section 1226, it noted “DHS,” pursuant to that

provision, “may arrest and detain the alien,” pending that alien’s removal decision. Id.

Such an alien “may generally apply for release on bond or conditional parole.” Id.

Nevertheless, the Supreme Court probed further, stating “there is one exception” to this

general rule: for certain criminal aliens, “detention is mandatory” under Section 1226(c). Id.

at ____ n.2, 141 S.Ct. at 2280 n.2 (citing 8 U.S.C. § 1226(c)) (emphasis added). Like Section

1226(c)’s exception, the Supreme Court stated Section 1231’s detention is “mandatory”

precisely because of Section 1231(a)(2). Guzman Chavez, ____ U.S. at ____, 141 S.Ct. at

2281 (citing 8 U.S.C. § 1231(a)(2)). Thus, Guzman Chavez’s interpretation of Sections

1226(c) and 1231(a)(2) as mandating detention was essential to the case’s holding.

         Tellingly, the Government itself admitted during briefing in Guzman Chavez that

Section 1226(c) imposed a mandatory duty to detain certain criminal aliens.27 The

Government explained, although “Section 1226(a) makes detention discretionary,” “a

separate provision, Section 1226(c), makes an exception to that general rule, providing that

the government ‘shall’ take into custody and not release certain criminal aliens.” Brief

for Petitioner, 2020 WL 4938065, at *5 (No. 19-897) (emphasis added). The Government

also argued in its reply brief that the Supreme Court’s “intervention” in Guzman Chavez

would “determine[] whether Section 1226(c)—which provides for the mandatory

detention of certain criminal aliens—applies to aliens who have reinstated orders of



    27    As another Texas court said of a similar change in litigation position, “[b]ut that was
then, and this is now.” Texas v. United States, 340 F. Supp. 3d 579, 611 (N.D. Tex. 2018), aff’d in
part, vacated in part, remanded, 945 F.3d 355 (5th Cir. 2019), rev’d and remanded sub nom. California v.
Texas, 141 S.Ct. 2104 (2021).


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removal and are in withholding-only proceedings.” Reply Brief for Petitioner, Johnson v.

Guzman Chavez, ____ U.S. ____, 141 S.Ct. 2271 (2021) (No. 19-897) 2020 WL 3124376, at *7

(emphasis added). Likewise, with respect to Section 1231(a)(2), the Government stated it

had “long read” the statute “to require the detention of terrorist and criminal aliens.”

Reply Brief for Petitioner, Johnson v. Guzman Chavez, ____ U.S. ____, 141 S.Ct. 2271 (2021)

(No. 19-897) 2020 WL 7249055, at *17 & footnote (emphases added). Thus, in conjunction

with Guzman Chavez, the Court takes the Government at its word and finds “shall” means

“must” in Sections 1226(c) and 1231(a)(2) with respect to the detention of certain criminal

aliens.

          Second, even if the clear principles delineated in Guzman Chavez, Preap, Zadvydas,

and the like are dicta, they are persuasive, nonetheless. As the Fifth Circuit has noted,

“[i]t is well established in this circuit that, although we are ‘not bound by dicta, even of

[this court,] [d]icta of the Supreme Court are, of course, another matter.’” Peake v. Ayobami

(In re Ayobami), 879 F.3d 152, 154 n.3 (5th Cir. 2018) (quoting Campaign for S. Equal. v.

Bryant, 791 F.3d 625, 627 n.1 (5th Cir. 2015)).28 Thus, the Court follows the Fifth Circuit



    28    Likewise, the Eleventh Circuit concluded, “dicta from the Supreme Court is not
something to be lightly cast aside.” Schwab v. Crosby, 451 F.3d 1308, 1325 (11th Cir. 2006)
(collecting cases with similar findings) (quoting Peterson v. BMI Refractories, 124 F.3d 1386, 1392
n.4 (11th Cir. 1997)). Indeed, “Supreme Court dicta have a weight that is greater than ordinary
judicial dicta as prophecy of what that Court might hold,” so this Court cannot “blandly shrug
them off because they were not a holding.” See United States v. Montero-Camargo, 208 F.3d 1122,
n.17 (9th Cir. 2000) (en banc) (citations omitted). Other circuits agree. See McCoy v. Mass. Inst. of
Tech., 950 F.2d 13, 19 (1st Cir. 1991) (“[F]ederal appellate courts are bound by the Supreme Court’s
considered dicta almost as firmly as by the Court’s outright holdings, particularly when, as here,
a dictum is of recent vintage and not enfeebled by any subsequent statement.”); United States v.
Bell, 524 F.2d 202, 206 (2d Cir. 1975) (considering that dicta “must be given considerable weight
and cannot be ignored in the resolution of [a] close question”); Oyebanji v. Gonzales, 418 F.3d 260,
                                                                                           (continue)


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and its sister circuits and defers to Guzman Chavez, Preap, Zadvydas, and other related

Supreme Court precedent even if the statements on Sections 1226(c) and 1231(a)(2) in

those cases were dicta, as the Government contends. The Court is not free to treat

Supreme Court dicta as cavalierly as the Government suggests. Accordingly, the Court

applies the caselaw discussed above and holds that the “shall” found in Sections 1226(c)

and 1231(a)(2) means “must,” imposing on the Government a duty to detain certain

criminal aliens and those with final orders of removal when released and during the

removal period, respectively.

       Arguments about dicta aside, the Court’s own statutory interpretation of Sections

1226(c) and 1231(a)(2) also leads to the conclusion that “shall” means “must” in those

sections. See Scalia & Garner, supra, at 53 (“Every application of a text to particular

circumstances entails interpretation.” (emphasis added)).




264–65 (3d Cir. 2005) (“[A]s a lower federal court, we are advised to follow the Supreme Court’s
‘considered dicta.’” (quoting McCoy, 950 F.2d at 19)); Wynne v. Town of Great Falls, 376 F.3d 292,
298 n.3 (4th Cir. 2004) (“[A]s we and our sister circuits have frequently noted, . . . carefully
considered language of the Supreme Court, even if technically dictum, generally must be treated
as authoritative.” (internal quotation marks omitted) (quoting Sierra Club v. EPA, 322 F.3d 718,
724 (D.C. Cir. 2003))); United States v. Marlow, 278 F.3d 581, 588 n.7 (6th Cir. 2002) (noting that
lower courts are “obligated to follow Supreme Court dicta, particularly where there is not
substantial reason for disregarding it, such as age or subsequent statements undermining its
rationale” (citing Gaylor v. United States, 74 F.3d 214, 217 (10th Cir. 1996))); Nichol v. Pullman
Standard, Inc., 889 F.2d 115, 120 n.8 (7th Cir. 1989) (noting that lower courts “should respect
considered Supreme Court dicta”); McDonough v. Anoka County, 799 F.3d 931, 942 (8th Cir. 2015)
(“[F]ederal courts . . . are not ‘free to limit Supreme Court opinions precisely to the facts of each
case.’ Instead, federal courts ‘are bound by the Supreme Court’s considered dicta almost as firmly
as by the Court’s outright holdings[.]’” (quoting City of Timber Lake v. Cheyenne River Sioux Tribe,
10 F.3d 554, 557 (8th Cir. 1993))); Bangor Hydro–Elec. Co. v. FERC, 78 F.3d 659, 662 (D.C. Cir. 1996)
(“It may be dicta, but Supreme Court dicta tends to have somewhat greater force-particularly
when expressed so unequivocally.”).


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       “The task of statutory interpretation begins and, if possible, ends with the

language of the statute.” Trout Point Lodge, Ltd. v. Handshoe, 729 F.3d 481, 486 (5th Cir.

2013). “When the language is plain, [the court] ‘must enforce the statute’s plain meaning,

unless absurd.’” Id. (quoting In re Nowlin, 576 F.3d 258, 261–62 (5th Cir. 2009)); see also

BedRoc Ltd. v. United States, 541 U.S. 176, 183, 124 S.Ct. 1587, 1593, 158 L.Ed.2d 338 (2004)

(“The preeminent canon of statutory interpretation requires [the court] to ‘presume that

[the] legislature says in a statute what it means and means in a statute what it says there.’”

(quoting Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253–54, 112 S.Ct. 1146, 1149, 117

L.Ed.2d 391 (1992))). “A statute is ambiguous if it is susceptible of more than one accepted

meaning.” United Servs. Auto. Ass’n v. Perry, 102 F.3d 144, 146 (5th Cir. 1996). Multiple

accepted meanings do not exist merely because a statute’s “authors did not have the

forethought expressly to contradict any creative contortion that may later be constructed

to expand or prune its scope.” Moore v. Hannon Food Serv., Inc., 317 F.3d 489, 497 (5th Cir.

2003). Thus, as before, regarding interpreting Section 1231(h), the Court must initially

determine whether “all but one of the meanings” of the word “shall” in Sections 1226(c)

and 1231(a)(2) is “ordinarily eliminated by context.” Deal, 508 U.S. at 132–33, 113 S.Ct. at

1996–97.

       For this analysis, the Court applies “the traditional means of statutory

interpretation, which include the text itself, its history, and its purpose.” Bellum v. PCE

Constructors, Inc., 407 F.3d 734, 739 (5th Cir. 2005) (citation omitted). Put differently, the

Court must initially “look first to the word’s ordinary meaning,” Schindler Elevator Corp.

v. United States ex rel. Kirk, 563 U.S. 401, 407, 131 S.Ct. 1885, 1891, 179 L.Ed.2d 825 (2011),


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since “[s]tatutory language has meaning only in context.” Graham Cnty., 545 U.S. at 415,

125 S.Ct. at 2449 (citing Leocal v. Ashcroft, 543 U.S. 1, 9, 125 S.Ct. 377, 382, 160 L.Ed.2d 271

(2004)).   Only “when traditional methods of statutory construction fail to reveal a

provision’s meaning” may the Court “conclude that it is ambiguous.” Perry, 102 F.3d at

147.

       “[T]he word ‘shall’ usually connotes a requirement.” Maine Cmty. Health Options

v. United States, ____ U.S. ____, ____, 140 S.Ct. 1308, 1320, 206 L.Ed.2d 764 (2020); see also

Scalia & Garner, supra, at 112 (“When drafters use shall and may correctly, the traditional

rule holds—beautifully.”). The Supreme Court has nonetheless cautioned, “[a]s against

the government, the word ‘shall,’ when used in statutes, is to be construed as ‘may,’

unless a contrary intention is manifest.” Railroad Co. v. Hecht, 95 U.S. 168, 170, 24 L.Ed.

423 (1877).

       This need for legislative intent to demonstrate “shall” should be construed as

“must” against the government is present in Supreme Court jurisprudence. In Texas I,

this Court identified Town of Castle Rock v. Gonzales, 545 U.S. 748, 125 S.Ct. 2796, 162

L.Ed.2d 658 (2005), a Supreme Court case upon which the Government relies, (6:21-cv-3,

Dkt. No. 82 at 19); (6:21-cv-3, Dkt. No. 83 at 25–26, 34); (6:21-cv-16, Dkt. No. 42 at 36–38),

as an apt example of the need for legislative intent to determine that “shall” connotes a

requirement. See Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *33. In Castle Rock,

the respondent claimed her due process rights were violated because a police department

refused to enforce restraining orders despite language printed on the orders themselves

stating that an “officer shall arrest” a restrained person where probable cause of a


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violation was evident. 545 U.S. at 754, 759, 125 S.Ct. at 2802, 2805. The Supreme Court,

however, found “the presence of seemingly mandatory legislative commands” like

“shall” could not automatically impose a “true mandate” against the police. Id. at 760–

61, 125 S.Ct. at 2805–06. What was needed—and lacking in Castle Rock—was “some

stronger indication” from the legislature.         Id. at 761, 125 S.Ct. at 2806.     Such an

“indication” was not present because the “shall” used in the restraining orders was “not

perceptibly more mandatory than” other state statutes using the word “shall” where the

police force was traditionally accorded discretion. Id.; see also Chicago v. Morales, 527 U.S.

41, 61–62 n.32, 119 S.Ct. 1849, 1861 n.32, 144 L.Ed.2d 67 (1999) (noting that interpreting

“shall” as mandatory in the context of police action “flies in the face of common sense

that all police officers must use some discretion in deciding when and where to enforce

city ordinances”).

       With the foregoing in mind, this Court in Texas I previously explained how a

“stronger indication” from Congress may be gleaned. In Richbourg Motor Co. v. United

States and Escoe v. Zerbst, the Supreme Court noted one “indication” sufficient to conclude

that the word “shall” in a statute imposes an obligation upon the Government is present

when the statute’s manifest purpose is to protect the public or private interests of

innocent third parties. See Richbourg Motor Co. v. United States, 281 U.S. 528, 533–34, 50

S.Ct., 385, 387–88, 74 L.Ed. 1016 (1930); Escoe v. Zerbst, 295 U.S. 490, 494, 55 S.Ct. 818, 820,

79 L.Ed. 1566 (1935); see also Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *34.

The Court finds it appropriate to reiterate its explanations of these cases here.




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       In Richbourg Motor Co., the Supreme Court expressly found reason to avoid the

rule in Hecht where a statute provided that an officer “shall” take possession of a vehicle

used in the act of transporting liquor. 281 U.S. at 533–34, 50 S.Ct. at 387–88. After noting

that the statute in question was “in form mandatory throughout,” the Court explained it

“detail[ed] . . . successive steps to be taken, which, if followed, [led] unavoidably to

forfeiture under that section . . . , with the important consequence of protecting the interests of

innocent third persons.” Id. (emphasis added). These qualities of the relevant text, the

Supreme Court explained, “suggests a definite purpose to make the protection effective”

by imposing a mandatory duty. Id.

       Five years after Richbourg Motor Co., the Supreme Court in Escoe concluded that

any doubt regarding the mandatory nature of a statutory “shall” is “dispelled when we

pass from the words alone to a view of ends and aims.” 295 U.S. at 492–93, 55 S.Ct. at 819–

20 (emphasis added). In Escoe, the relevant statute appeared to require a trial court to

bring a probationer to court to revoke his probation. Id. The Supreme Court determined,

because it was “[c]lear[] [that] the end and aim of an appearance before the court must be

to enable an accused probationer to explain away the accusation,” the presentment of the

probationer was “necessary, or so the Congress must have thought, to protect the

individual against malice or oppression.” Id. at 493, 55 S.Ct. at 820. Thus, Escoe concluded

the “shall” in the relevant statute was “mandatory in meaning as well as mandatory in

form.” Id. at 494, 55 S.Ct. at 820. Leaving no doubt, the Supreme Court stated, “[s]tatutes

are not [optional] when to put them in that category would result in serious impairment

of the public or the private interests that they were intended to protect.” Id.; see also Ralpho


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v. Bell, 569 F.2d 607, 627–28 & n.149 (D.C. Cir. 1977) (applying Escoe to “prefer a

construction” of mandatory language in a statute guiding governmental officials’

discharge of duties “that bestows the benefits of the Act on those for whom it was chiefly

intended”).

       Given the caselaw, the key in this case is whether Sections 1226(c) and 1231(a)(2)

demonstrate a purpose to protect public or private interests. If so, the word “shall,” as

used in both sections, would connote a requirement against the Government in the

manner envisioned by Richbourg Motor Co. and Escoe. Based on the following, the Court

finds that the statutes do indeed demonstrate such a purpose.

       The Supreme Court in Demore clearly explains that the purpose of Section 1226(c)

was to protect third-party interests: that of the states, citizens, and legal immigrants of

this country. Essentially, Section 1226(c) was enacted “against a backdrop of wholesale

failure by the INS [ICE’s predecessor] to deal with increasing rates of criminal activity by

aliens.” Demore, 538 U.S. at 518, 123 S.Ct. at 1714. “INS’ near-total inability to remove

deportable criminal aliens imposed” overpopulation in federal and state prisons, caused

monetary costs, took away immigration opportunities that could have been provided to

others, and increased crime in the Nation’s communities. Id. at 518–20, 123 S.Ct. at 1714–

15. Crucially, “Congress also had before it evidence that one of the major causes of the

INS’ failure to remove deportable criminal aliens was the agency’s failure to detain those

aliens during their deportation proceedings.” Id. at 519, 123 S.Ct. at 1715. Before Section

1226, “[t]he Attorney General at the time had broad discretion to conduct individualized

bond hearings and to release criminal aliens from custody during their removal


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proceedings when those aliens were determined not to present an excessive flight risk or

threat to society.” Id. (citing 8 U.S.C. § 1252(a) (1982 ed.)). Thus, to alleviate these issues,

Congress “enacted 8 U.S.C. § 1226, requiring the Attorney General to detain a subset of

deportable criminal aliens pending a determination of their removability.” Id. at 521, 123

S.Ct. at 1716 (emphasis added). Given Demore’s findings, the purpose of Section 1226 is

to protect the public and private interests of third parties, namely, the states, the citizens,

and legal immigrants of the United States.

       Considering the context and purpose of Section 1226, it is no wonder why

Subsection (c) “subtract[s],” from the discretion given to the Government in Section

1226(a). See Preap, ____ U.S. at ____, 139 S.Ct. at 966. In fact, it does more than that.

Subsection (c) also subtracts from the general “broad discretion” that the Attorney

General originally had prior to the enactment of Section 1226. See Demore, 538 U.S. at 521,

123 S.Ct. at 1716. “Shall” in Section 1226(c), therefore, must be construed to mean “must.”

       Like Section 1226(c), Section 1231(a)(2) was enacted to protect public and private

interests of the states and the people of the United States. As the Supreme Court noted

in Zadvydas, “protecting the community from dangerous aliens” is a “statutory purpose”

of that section. 533 U.S. at 697, 121 S.Ct. at 2502. What’s more, Section 1231 “is part of a

statute that has as its basic purpose effectuating an alien’s removal,” a purpose related to

the community’s protection. Id. Coupled with Demore’s detailed explanation of the

burdens criminal aliens impose on both the country and its people when the Government

fails to deport them, 538 U.S. at 518–20, 123 S.Ct. at 1714–15, it is evident that Section

1231(a)(2)’s purpose was to similarly protect the states, the citizens, and legal immigrants’


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interests against the harmful effects the Government’s failure to remove certain aliens

would bring about.

       Additionally, numerous federal courts—including this Court—have recognized

other parts of Section 1231 use “shall” as a mandatory command. See Shuaibu v. Gonzales,

425 F.3d 1142, 1144 (8th Cir. 2005) (interpreting the “shall” in Section 1231(b)(1)(C) to

mean the Attorney General “must” attempt to remove the alien to certain countries); Kim

Ho Ma v. Ashcroft, 257 F.3d 1095, 1115 (9th Cir. 2001) (interpreting “shall” in Section

1231(a)(3) to mean all aliens ordered released “must” comply with supervision

requirements); Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *32–37 (analyzing

Section 1231(a)(1)(A) and holding the “shall” in that provision imposes a mandate on the

Government to deport aliens with final orders of removal within 90 days).                 These

interpretations of “shall” as mandatory in other parts of Section 1231 are yet further

indication the “shall” in Section 1231(a)(2) bears the same meaning, because “a word or

phrase is presumed to bear the same meaning throughout a text.” Scalia & Garner, supra,

at 170; see also Powerex Corp. v. Reliant Energy Servs., Inc., 551 U.S. 224, 232, 127 S.Ct. 2411,

2417, 168 L.Ed.2d 112 (2007) (“A standard principle of statutory construction provides

that identical words and phrases within the same statute should normally be given the

same meaning.”). Thus, for all these reasons, the “shall” in Section 1231(a)(2) necessarily

means must.

       The Government does not disagree that Congress enacted Sections 1226(c)

and 1231(a)(2) to protect public or private interests. Rather, the Government demurs that

a statutory purpose of protecting third parties, as held in Richbourg Motor Co. and Escoe,


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is not a “stronger indication,” per Castle Rock, to make “shall” mandatory against any

governmental actor. (Dkt. No. 42 at 36–38); see Richbourg, 281 U.S. at 533–34, 50 S.Ct., at

387–88; Escoe, 295 U.S. at 493–94, 55 S.Ct. at 820; Castle Rock, 545 U.S. at 761, 125 S.Ct. at

2806. In making this argument, the Government reasons that the “protection of a third

party” rationale cannot serve as a stronger indication because, it claims, the very “statute

[in Castle Rock] concerned enforcement of restraining orders entered to benefit a

‘protected person.’” (Id. at 37–38) (emphasis omitted) (quoting Castle Rock, 545 U.S. at

758–59, 125 S.Ct. at 2804–05). In doing so, however, the Government ignores the Supreme

Court’s holdings in Richbourg Motor Co. and Escoe. See (Id. at 36–39). In short, the

Government implies that Castle Rock overruled Richbourg Motor Co. and Escoe sub silentio.

That argument fails.

       As an initial matter, this Court cannot ignore Richbourg Motor Co. and Escoe where

the Supreme Court or the Fifth Circuit has not expressly instructed it to do so. See

Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484, 109 S.Ct. 1917, 1921–22,

104 L.Ed.2d 526 (1989) (“If a precedent of this Court has direct application in a case, yet

appears to rest on reasons rejected in some other line of decisions, the Court of Appeals

should follow the case which directly controls, leaving to this Court the prerogative of

overruling its own decisions.”); Lopez v. City of Hous., Civil Action No. H-09-0420, 2009

WL 1456487, at *15 (S.D. Tex. May 22, 2009) (Lake, J.) (“[I]t is well established that a

federal district court must generally apply an interpretation of law articulated by its

circuit court of appeals.” (quoting Perez v. Brown & Williamson Tobacco Corp., 967 F. Supp.




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920, 925 (S.D. Tex. 1997) (Jack, J.))). The Court did not disregard those cases in Texas I,

nor will it disregard them here.29

         But even if the Court could ignore Richbourg Motor Co. and Escoe, Castle Rock is

easily distinguishable from this case. The state statute ostensibly mandating the police

to enforce restraining orders in Castle Rock was drafted upon a background of “[a] well

established tradition of police discretion” that “ha[d] long coexisted with apparently

mandatory arrest statutes.” Castle Rock, 545 U.S. at 760, 125 S.Ct. at 2805–06 (citing 1 ABA

Standards for Criminal Justice 1-4.5, commentary, pp. 1–124 to 1–125 (2d ed. 1980)). A

similar tradition is not present with respect to Sections 1226(c) and 1231(a)(2). As

explained above, it was precisely the federal government’s “wholesale failure” “to deal


    29    The Court also notes that its decision in Texas I did not rely entirely on the protection of
“public or private interests” rationale explained in Richbourg Motor Co. and Escoe to support its
finding of a “stronger indication” that the “shall” in 8 U.S.C. § 1231(a)(1)(A) connoted a
requirement. See Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *34–35. Instead, the Court
performed a full statutory interpretation of the word “shall” in Section 1231(a)(1)(A) and relied
on numerous precedents in the Fifth Circuit and sister circuits demonstrating the mandatory
nature of that word. Id. at *33–38 (noting the Court had examined “the text, context, statutory
history, and precedent demonstrating that ‘shall’ means must in section 1231(a)(1)(A)” (emphasis
in original)). In contrast to that comprehensive analysis, the Government’s current lone attack on
the Court’s prior synthesis of the rules from Hecht, Castle Rock, Richbourg Motor Co., and Escoe is
lacking. Nevertheless, despite the in-depth analysis the Court undertook in Texas I, a district
court in Arizona arrived at a different conclusion, holding that “shall” does not mean “must” in
8 U.S.C. § 1231(a)(1)(A). Arizona, 2021 WL 2787930, at *9–10. That court’s rationale was that the
legislative intent required for Section 1231(a)(1)(A) to be mandatory—per Castle Rock—was not
present. Id. The court based its holding on (a) the statutory scheme which apparently
contemplated removals of aliens outside the 90-day period, (b) the Government’s broad
discretion to remove aliens at any stage of the removal process, and (c) some legislative history
showing that the 90-day period contemplated in the section was intended to be “merely” a
“target” date “rather than a statutory mandate.” Id. Therefore, according to the Arizona court,
“shall” did not mean “must” in Section 1231(a)(1)(A). Id. Like the Government in this case, the
district court neither cited to nor discussed Richbourg Motor Co. and Escoe. This Court respectfully
disagrees with the court in Arizona and the Government, having thoroughly probed the statutory
text, the purpose of the statutes, and legislative history of Sections 1231(a)(1)(A) in Texas I, and
Sections 1226(c) and 1231(a)(2) in this Memorandum Opinion and Order.


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with increasing rates of criminal activity by aliens” that prompted Congress to limit the

Executive’s discretion in such matters by enacting Section 1226. See Demore, 538 U.S. at

518, 123 S.Ct. at 1714.    Such specific legislative intent, backed by Supreme Court

acknowledgment, was not present in the statute interpreted in Castle Rock. Cf. 545 U.S. at

760–61, 125 S.Ct. at 2805–06.

       Furthermore, the Government’s contention that Sections 1226(c) and 1231(a)(2) do

not confer a mandatory duty against the Government goes against an analysis of the

statutes’ text within the whole statutory scheme. The Supreme Court has noted that

“[t]he word ‘may’ customarily connotes discretion” and that such a “connotation is

particularly apt where . . . ‘may’ is used in contraposition to the word ‘shall.’” Jama v.

Immigr. & Customs Enf’t, 543 U.S. 335, 346, 125 S.Ct. 694, 703, 160 L.Ed.2d 708 (2005) (citing

Haig v. Agee, 453 U.S. 280, 294 n.26, 101 S.Ct. 2766, 2775 n.24, 69 L.Ed.2d 640 (1981)). That

principle proved crucial in Jama, where the Supreme Court held that because Section

1231(b)(2) of the INA states that the Attorney General “shall remove” an alien to a

designated country, it would be inappropriate to read as mandatory another provision

explaining that the Attorney General “may” disregard the designation if certain

circumstances arise. Id. This principle applies to this case as well.

       Section 1231(a)(2) states that the Attorney General “shall” detain certain aliens

“during the removal period,” which is defined to be a period of 90 days when an alien is

ordered removed.      8 U.S.C. § 1231(a)(1)–(2).    Before Section 1231(a)(2), Subsection

(a)(1)(C) provides that the removal period “shall” be extended beyond 90 days if certain

circumstances arise, and the alien “may” remain in detention during that extended


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period. Id. § 1231(a)(1)(C). Again, it would be absurd if Section 1231(a)(2)—with its use

of “shall”—is read to provide merely discretionary authority to the Government to detain

people during the removal period when Section 1231(a)(1)(C)—using “may”—clearly

provides discretion to the Government to detain people after the initial 90-day removal

period.

       Likewise, Section 1226(c) clearly juxtaposes “may” and “shall” so that there is no

ambiguity as to whether the “shall” used in 1226(c)(1) imposes a mandatory duty.

Subsection (c)(1) states that the Attorney General “shall” detain certain aliens “when the

alien is released.” 8 U.S.C. § 1226(c)(1). Just right after that, Subsection (c)(2) notes that

the Attorney General “may” release aliens described in Subsection (c)(1) “only if” certain

circumstances are present. Id. § 1226(c)(2). As such, for Subsection (c)(2) to have any

meaning, Subsection (c)(1) must be read as a mandate: the Attorney General must detain

aliens when released and such aliens may be released only if certain situations call for it.

If Subsection (c)(1) is not interpreted in this way, then Subsection (c)(2)—the release

provision—loses its significance. It would be superfluous for Congress to state how

certain aliens may be released—per Subsection (c)(2)—if the Government was meant to

initially have the discretion to decide which criminal aliens to detain in the first place.

This analysis of the two statutes within the overall scheme indeed tracks how the

Supreme Court and other federal courts have construed Sections 1226(c) and 1231(a)(2),

as described more fully above.




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                     b.    Whether “Prioritization”        Contravenes      Congressional
                           Mandates

        Having concluded that “shall” means “must” in Sections 1226(c) and 1231(a)(2),

the Court turns to the Government’s second argument in support of its assertion that the

new guidelines in the February 18 Memorandum are committed to agency discretion by

law. That is, regardless of the relevant sections’ mandatory nature, the new guidelines

“simply establish[] enforcement priorities” because they do “not direct ICE officials to

cease detaining any particular noncitizen.” (Dkt. No. 42 at 28–29). Put differently, the

Government argues that the guidelines do not actually stop detentions and, instead,

merely prioritize who gets detained first. As a result, the Government concludes that

the guidelines do not contravene the statutes. See (Id.). Thus, in essence, the Government

argues that it has discretion to determine the timing of when certain aliens should be

detained—if not the discretion to determine who gets detained. This argument fails as

well.

        Although the Government describes the February 18 Memorandum as only a

reprioritization of immigration enforcement priorities, a review of the Memorandum

itself establishes that it is more than that. See Texas DAPA, 809 F.3d at 171–72 (“Although

the DAPA Memo facially purports to confer discretion, the district court determined that

nothing about DAPA genuinely leaves the agency and its employees free to exercise

discretion.” (cleaned up)).   The new guidelines violate the statutory commands of

Sections 1226(c) and 1231(a)(2) which are: to detain certain aliens “when the alien is

released,” per Section 1226(c), or “during the removal period,” per Section 1231(a)(2).




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         The Government opines that the February 18 Memorandum “directs ‘officers and

agents . . . to exercise their discretion thoughtfully’ after consideration ‘of all relevant

facts and circumstances’” concerning the arrest, detention, or removal of criminal illegal

aliens. (Dkt. No. 42 at 29) (alteration in original) (citing Dkt. No. 42-2 at 4). That statement

demonstrates that the new guidelines wade into areas that are not committed to agency

discretion. See (Id.). Because “shall” means “must” in Section 1226(c), the Executive

Branch is required to detain criminal aliens who have committed “any offense covered in

section 1182(a)(2),” “any offense covered in section 1227(a)(2)(A)(ii), (A)(iii), (B), (C), or

(D),” or any alien who “is deportable under section 1227(a)(2)(A)(i),” “inadmissible under

section 1182(a)(3)(B),” or “deportable under section 1227(a)(4)(B).”                    8 U.S.C.

§ 1226(c)(1)(A)–(D) (emphases added). This leaves no room for the Executive’s agent to

“thoughtfully” exercise discretion. See (Dkt. No. 42 at 29). And crucially, to protect the

public, Congress mandated that any alien falling under any of these categories must be

detained “when the alien is released” from state custody. Id. Likewise, Section 1231(a)(2)

requires both the detention of aliens who possess orders of removal and aliens who have

been found “inadmissible under section 1182(a)(2),” “1182(a)(3)(B),” or “deportable

under section 1227(a)(2) or 1227(a)(4)(B).”30 Id. § 1231(a)(2). And, like Section 1226(c),


    30     In Texas I, the Government argued that Section 1231(a)(1)(A)’s use of the word “shall”
could not have meant “must” because at least one other “shall” in Section 1231 is not mandatory
(at least according to the Government). Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *35.
That other “shall” is apparently in Section 1231(a)(2) which reads, as stated earlier: “During the
removal period, the Attorney General shall detain the alien. Under no circumstance during the
removal period shall the Attorney General release an alien who has been found inadmissible
under [certain circumstances].” Id. The Government contended that reading “shall” as
mandatory in the first sentence of Section 1231(a)(2) would make the second sentence
                                                                                         (continue)


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Congress in Section 1231(a)(2) mandated the timing of such detention: the aliens must be

detained “during the removal period.” Id.

       Because of the clear mandates set forth in Sections 1226(c) and 1231(a)(2),

determining whether and when an alien should be detained is not a decision committed

to agency discretion. And by prioritizing the detention of some aliens over others, the

Government has effectively conferred upon itself discretion as to the timing of

detention—discretion it does not have. Put differently, the Government has assumed a

discretionary power that Congress has explicitly foreclosed.                 Such a maneuver is

impermissible. See Util. Air Regul. Grp., 573 U.S. at 327, 134 S.Ct. at 2446 (“Under our

system of government, Congress makes laws and the President, acting at times through

agencies like EPA, ‘faithfully execute[s]’ them.            The power of executing the laws

necessarily includes both authority and responsibility to resolve some questions left open

by Congress that arise during the law’s administration. But it does not include a power

to revise clear statutory terms that turn out not to work in practice.” (alteration in




superfluous. Id.; see also (6:21-cv-3, Dkt. No. 82 at 21); (6:21-cv-3, Dkt. No. 83 at 34). The Court
found the argument unpersuasive, finding that there was a distinction between the two clauses.
Id. As the Court held, the first clause of Section 1231(a)(2) mandates the act of detaining. Id.
(citing Rodney, 340 F. App’x at 764). The second clause, on the other hand, prohibits the release
of certain individuals. Id. Thus, the Attorney General may in some circumstances “release” those
whom he has “detain[ed].” See 8 U.S.C. § 1231(a)(2). Section 1231 itself prescribes the conditions
through which an alien—who is presumably presently detained—may pursue a “stay” and a
“release.” Id. § 1231(c)(2)(A), (C). In fact, it could easily be said that the prohibition on releasing
certain aliens demonstrates that Congress assumed all aliens would be detained—because they
“shall” be. Thus, the Court concluded in Texas I that the Government’s “textual” argument failed.
In this case, the Government briefly restates its argument from Texas I in an attempt to persuade
the Court to change its disposition. Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *35; see
also (Dkt. No. 42 at 39). The Court remains unpersuaded and adopts its prior conclusions from
Texas I as discussed in this footnote.


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original) (citation omitted) (citing U.S. Const. art. II, § 3)); Barnhart v. Sigmon Coal Co., 534

U.S. 438, 462, 122 S.Ct. 941, 956, 151 L.Ed.2d 908 (2002) (finding that an agency lacked

authority “to develop new guidelines or to assign liability in a manner inconsistent with”

an “unambiguous statute”).

         “Congress does not draft legislation in the expectation that the Executive will blow

through the deadlines it sets.” Preap, ____ U.S. at ____ n.6, 139 S.Ct. at 969 n.6 (emphasis

in original). In this case, Section 1226(c)’s “when . . . released” language “clarifies when

the duty to arrest is triggered: upon release from criminal custody.” Id. at ____, 139 S.Ct.

at 969. And as a logical extension of that reasoning, Section 1231(a)(2)’s “during the

removal period” language also clarifies when a duty to arrest is triggered: when the alien

is provided with a final order of removal.31 See 8 U.S.C. § 1231(a)(1)–(2). In sum, Congress

has clearly specified when the duty to detain is triggered: when the alien is released as

provided by Section 1226(c) and during the removal period for Section 1231(a)(2). When

that duty to detain is triggered is not left for the agency to decide. Thus, choosing to

detain certain aliens “when . . . released,” see Section 1226(c), or “during the removal

period,” see Section 1231(a)(2), over others who are mandated to be detained at those

specific points in time is not left to agency discretion. Indeed, it is a violation of the clear

letter of the law. See Util. Air Regul. Grp., 573 U.S. at 327, 134 S.Ct. at 2446.




    31   For criminal aliens in state custody, the 90-day period does not start until they are
released from state confinement. See 8 U.S.C. § 1231(a)(1)(B)(iii).


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                        c.      Whether the Executive may “Dispense” with Laws

         Finally, the Government argues that the Memoranda are committed to agency

discretion because “[t]he exercise of prosecutorial discretion is inherent to the Executive

power that the Constitution confers on the President” and that such “discretion” is

“greatly magnified” in the immigration law context. (Dkt. No. 42 at 29–30) (citing Reno,

525 U.S. at 490, 119 S.Ct. at 946). As this Court stated in Texas I, “whatever ‘inherent

authority’ the Executive may have in the area of immigration, that authority—along with

the executive Power—does not include the authority to ‘suspend’ or ‘dispense with’

Congress’s exercise of legislative Powers in enacting immigration laws.” ____ F. Supp.

3d at ____, 2021 WL 2096669, at *36. The Government’s suggestion that the Executive’s

discretion is so significant that it may, in effect, dispense with laws has significant

implications for the separation-of-powers system enshrined in the Constitution. The

subject is therefore worth addressing, albeit briefly, at this early stage in the litigation.

However grand the Executive’s discretion might be in enforcing immigration laws, the

Constitution does not empower the Executive to set forth a policy that, in effect, dispenses

with a congressional immigration mandate.32


    32    This proposition does not include circumstances in which the President is asked to
enforce a law that is unconstitutional or, more specifically, a law that usurps Executive authority.
See Brett M. Kavanaugh, Our Anchor for 225 Years and Counting: The Enduring Significance of the
Precise Text of the Constitution, 89 Notre Dame L. Rev. 1907, 1911 (2014); Steven G. Calabresi &
Saikrishna B. Prakash, The President’s Power to Execute the Laws, 104 Yale L.J. 541, 621–22 (1994).
After all, the Constitution commands that, “[b]efore he enter on the Execution of his Office, [the
President] shall take the following Oath or Affirmation: —‘I do solemnly swear (or affirm) that I
will faithfully execute the Office of President of the United States, and will to the best of my Ability,
preserve, protect and defend the Constitution of the United States.’” U.S. Const. art. II, § 1, cl. 8
(emphasis added). The Government, however, does not assert that Sections 1226(c) or 1231(a)(2)
are unconstitutional. See (Dkt. No. 42).


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       Concern over the Executive’s power to dispense with laws dates back to before the

founding of this Nation. The Framers of the Constitution were well aware of how the

English Crown had abused the dispensing power a century prior to the ratification of the

Constitution. See Michael W. McConnell, The President Who Would Not Be King: Executive

Power Under the Constitution 118 (2020) (concluding that the Framers addressed the royal

“prerogatives of suspending or dispensing with the laws” in the Take Care Clause

“[g]iven that the Committee [of Detail] explicitly dealt with virtually every one of the

royal prerogatives, and especially the notorious prerogatives that had animated the

overthrow of Charles I and James II”); Michael Stokes Paulsen, Steven G. Calabresi,

Michael W. McConnell & Samuel L. Bray, The Constitution of the United States 317 (Robert

C. Clark et al. eds., 2d ed. 2013) (opining that the President’s duty to “‘take care that the

laws be faithfully executed’ . . . means that the president is not permitted to dispense with

or suspend statutes the way King James II did before the Glorious Revolution of 1688”);

Robert J. Delahunty & John C. Yoo, Dream On: The Obama Administration’s Nonenforcement

of Immigration Laws, the DREAM Act, and the Take Care Clause, 91 Tex. L. Rev. 781, 797–98

& n.95, 804–09 (2013) (detailing how the “suspending power” was abused by English

Monarchs, such as James II, and how that history influenced Americans in limiting “[t]he

executive Power”); see also Randy Barnett & Evan Bernick, The Letter & The Spirit: A Unified

Theory of Originalism, 107 Geo. L. J. 1, 20–21 (2018) (contending the Founding Fathers

constructed the new American government as a fiduciary of We the People, “bound by

fiduciary duties to honor the law, . . . remain loyal to the public interest, . . . and account for

violations of these duties.” (emphasis added) (citations and quotations omitted)). As a


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prime example, King James II dispensed with the Test Acts,33 which effectively barred

Catholics from holding government or military office, “to create an enlarged standing

army under the control of Catholic officers . . . and . . . put Catholic peers in key positions

in the Privy Council and the government” because he did “[n]ot trust[] Protestant militias

and gentry to protect him from rebellion[.]” McConnell, supra, at 116; see also Zachary S.

Price, Enforcement Discretion and Executive Duty, 67 Vand. L. Rev. 671, 691 (2014) (“King

James enraged Protestants in Parliament by using his suspending and dispensing powers

to exempt officials from statutory restrictions on office holding by Catholics and

Protestant dissenters.”); Delahunty & Yoo, supra, at 805–06 (“James began using his

dispensing power extensively to override the Test Acts, filling offices with his fellow

Roman Catholics.”). This decision angered many Englishmen34 and played a significant

role in igniting the Glorious Revolution, which resulted in William III and Mary II

replacing James II on the throne. Delahunty & Yoo, supra, at 807. Although no longer on




    33   Specifically, the First Test Act, enacted in 1673, “was designed to ensure that anyone
holding public office, whether civil or military, would denounce the Roman Catholic doctrine of
transubstantiation and receive the Anglican sacrament. Parliament’s intention was to exclude
Roman Catholics, who could not conscientiously take these tests, from holding public office more
than temporarily.” Delahunty & Yoo, supra, at 805–06. The Second Test Act, enacted in 1678,
“made certain exceptions (including one for the King himself), but essentially continued this
exclusionary policy.” Id. at 806.
    34    This ire towards James II’s use of the dispensing power is best captured in the English
Bill of Rights, which says:
              Whereas the late King James the Second, by the assistance of divers evil
         counsellors, judges and ministers employed by him, did endeavour to subvert and
         extirpate the Protestant religion and the laws and liberties of this kingdom;
             By assuming and exercising a power of dispensing with and suspending of
         laws and the execution of laws without consent of Parliament[.]
The Bill of Rights, 1 W. & M., c. 1 (1689).


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the throne, James II had already left his mark on the future powers of the Crown. Indeed,

the English Bill of Rights of 1689 barred William III and Mary II and all future monarchs

from suspending or dispensing with laws.35

         By 1776, Americans had developed a similar sentiment about the dispensing

power as had the English in 1689. See Price, supra, at 692. Notably, one of the grievances

against King George III articulated in the Declaration of Independence36 was that he

“often withheld assent from laws passed by colonial legislatures unless the laws included

a suspension clause allowing him to halt their execution.” Brief for the Cato Institute,

Professor Randy E. Barnett & Professor Jeremy Rabkin as Amici Curiae Supporting

Respondents at 5–6, United States v. Texas, ____ U.S. ____, 136 S.Ct. 2271, 195 L.Ed.2d 638

(2016) (mem) (per curiam) (citing Leonard Woods Labaree, Royal Government in America:

A Study of the British Colonial System Before 1783, at 224–27, 256–68 (1934)). This “allowed

the king not only to dispense with the implementation of statutes, but also to force

changes to their content—an essentially legislative power.” Id. at 5–6; see also Declaration

of Independence ¶¶ 3–4.




    35    Specifically, the English Bill of Rights of 1689 provides: “[T]he pretended power of
suspending the laws or the execution of laws by regal authority without consent of Parliament is
illegal” and that “the pretended power of dispensing with laws or the execution of laws by regal
authority, as it hath been assumed and exercised of late, is illegal.” The Bill of Rights, 1 W. & M.,
c. 2 (1689).
    36    These grievances are as follows:
         He has refused his Assent to Laws, the most wholesome and necessary for the
         public good; He has forbidden his Governors to pass Laws of immediate and
         pressing importance, unless suspended in their operation till his Assent should be
         obtained; and when so suspended, he has utterly neglected to attend to them.
Declaration of Independence ¶¶ 3–4.


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       Prior to the United States Constitution’s ratification, states were aware of this

sentiment and crafted state constitutions of their own that barred the Executive from

exercising the suspending or dispensing power. See Price, supra, at 692 (“Drawing from

this English model, several states during the American revolutionary period adopted

constitutions including prohibitions on executive suspension of laws.”); Steven G.

Calabresi, Sarah E. Agudo & Kathryn L. Dore, State Bills of Rights In 1787 and 1791: What

Individual Rights Are Really Deeply Rooted In American History and Tradition?, 85 S. Cal. L.

Rev. 1451, 1534–35 (2012) (explaining that, at the time of the founding, “state constitutions

. . . had constitutional clauses restricting the power to suspend or dispense with laws to

the legislature”); cf. Gordon S. Wood, The Origins of Vested Rights in the Early Republic, 85

Va. L. Rev. 1421, 1425–26 (1999) (noting that, “[i]n the 1760s and 1770s, during the crisis

that eventually tore apart the British empire, the American colonists had this long English

heritage of popular rights to draw upon,” including the English Bill of Rights, which

“declared illegal certain actions of the crown, including its dispensing with laws”). By

1787, six states—Delaware, Maryland, Massachusetts, North Carolina, New Hampshire,

and Virginia—had state constitutions containing provisions barring the Executive from

exercising the suspending or dispensing power. See Del. Const. of 1776 Decl. of Rights,

§ 7 (“That no power of suspending laws, or the execution of laws, ought to be exercised

unless by the Legislature.”); Md. Const. of 1776 Decl. of Rights, § VII (“That no power of

suspending laws, or the execution of laws, unless by or derived from the Legislature,

ought to be exercised or allowed.”); Mass. Const. of 1780 pt. 1, art. XX (“The power of

suspending the laws, or the execution of the laws, ought never to be exercised but by the


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legislature, or by authority derived from it, to be exercised in such particular cases only

as the legislature shall expressly provide for.”); N.H. Const. of 1784 pt. 1, art. XXIX (“The

power of suspending the laws, or the execution of them, ought never to be exercised but

by the Legislature, or by authority derived therefrom, to be exercised in such particular

cases only as the Legislature shall expressly provide for.”); N.C. Const. of 1776 Decl. of

Rights, § V (“That all powers of suspending laws, or the execution of laws, by any

authority, without consent of the Representatives of the people, is injurious to their rights,

and ought not to be exercised.”); Va. Const. of 1776 Bill of Rights, § 7 (“That all power of

suspending laws, or the execution of laws, by any authority, without consent of the

representatives of the people, is injurious to their rights and ought not to be exercised.”);

see also Calabresi, Agudo & Dore, supra, at 1534. This number soon grew to eight after

Pennsylvania added a provision prohibiting the Executive from suspending or

dispensing with laws to its constitution in 1790, and Vermont, which already had such a

provision in its constitution, became a state in 1791.37 See Pa. Const. of 1790 art. IX, § 12

(“That no power of suspending laws shall be exercised, unless by the legislature, or its

authority.”); Vt. Const. of 1786 Decl. of Rights, § XVII (“The power of suspending laws,

or the execution of laws ought never to be exercised, but by the Legislature, or by




    37    Not all states ratified constitutions at the time of the founding. Indeed, “two states,
Connecticut and Rhode Island, retained their Colonial Charters issued by King Charles II and did
not try to write new state constitutions or declarations of rights” at this time. Calabresi, Agudo,
& Dore, supra, at 1543; see also Narragansett Indian Tribe of R.I. v. State, 667 A.2d 280, 280 (R.I. 1995)
(“Rhode Island’s first constitution was adopted in 1842 . . . .”); Moore v. Ganim, 660 A.2d 742, 772
(Conn. 1995) (Peters, C.J., concurring) (“Of the thirteen original states, Connecticut was the
second to last to adopt a written state constitution, failing to do so until 1818.”).


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authority derived from it, to be exercised in such particular cases only as the Legislature

shall expressly provide for.”); see also Calabresi, Agudo & Dore, supra, at 1535.

         Although the Constitution does not contain a provision of its own explicitly

prohibiting the Executive from dispensing with laws,38 it in no way sanctions such action

by the Executive for at least two reasons. First, the Constitution separates power among

three branches, vesting executive power exclusively in the President and legislative power

exclusively in Congress. See U.S. Const. art. I, § 1; U.S. Const. art. II, § 1; U.S. Const. art.

III, § 1; Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 483, 130 S.Ct. 3138,

3146, 177 L.Ed.2d 706 (2010) (“Our Constitution divided the ‘powers of the new Federal

Government into three defined categories, Legislative, Executive, and Judicial.’” (quoting

INS v. Chadha, 462 U.S. 919, 951, 103 S.Ct. 2764, 2784, 77 L.Ed.2d 317 (1983))); see also The

Federalist No. 47 (James Madison) (“The accumulation of all powers, legislative,

executive, and judiciary, in the same hands . . . may justly be pronounced the very

definition of tyranny.”); Montesquieu, Spirit of the Laws bk. XI, ch. 6, pp. 151–52 (O. Piest

ed., T. Nugent transl. 1949) (“When the legislative and executive powers are united in the

same person . . . there can be no liberty; because apprehensions may arise, lest the same

monarch or senate should enact tyrannical laws, to execute them in a tyrannical


    38   In fact, “[a]t the Constitutional Convention, the delegates unanimously rejected a
proposal to grant the President suspending authority.” See Price, supra, at 693. The First Congress
did, however, have an opportunity to bar the President from possessing such power in the Bill of
Rights but failed to do so, “despite proposals from several state ratifying conventions that the
Constitution be amended to include such a provision.” Id. at 694. But “any negative inference
from Congress’s failure to act on these proposals seems weak.” Id. Instead, “[i]t seems more
likely that James Madison and other members of the First Congress failed to include an
antisuspension provision in the Bill of Rights precisely because they thought the Constitution
already made it clear enough that the President lacked such powers.” Id.


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manner.”). Dispensing of laws is, in effect, a legislative power. See Kendall v. U.S. ex rel.

Stokes, 37 U.S. (12 Pet.) 524, 612–13, 9 L.Ed. 1181 (1838); United States v. Smith, 27 F. Cas.

1192, 1230 (C.C.D.N.Y. 1806) (stating that the President does not have the dispensing

power, in part, because only Congress has “dominion” over the laws—i.e., the legislative

power); see also Del. Const. of 1776 Decl. of Rights, § 7; Md. Const. of 1776 Decl. of Rights,

§ VII; Mass. Const. of 1780 pt. 1, art. XX; N.H. Const. of 1784 pt. 1, art. XXIX; N.C. Const.

of 1776 Decl. of Rights, § V; Va. Const. of 1776 Bill of Rights, § 7; Pa. Const. of 1790 art. IX,

§ 12; Vt. Const. of 1786 Decl. of Rights, § XVII. As such, the Executive does not possess

this power. See Kendall, 37 U.S. (12 Pet.) at 612–13 (stating that giving the President the

dispensing power “would be clothing the President with a power entirely to control the

legislation of congress, and paralyze the administration of justice” (emphasis added));

Smith, 27 F. Cas. at 1230 (“The president of the United States cannot control the statute,

nor dispense with its execution, and still less can he authorize a person to do what the

law forbids[.]”); cf. Clinton, 524 U.S. at 438, 118 S.Ct. at 2103 (“There is no provision in the

Constitution that authorizes the President to enact, to amend, or to repeal statutes.”);

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587, 72 S.Ct. 863, 867, 96 L.Ed. 1153

(1952) (“In the framework of our Constitution, the President’s power to see that the laws

are faithfully executed refutes the idea that he is to be a lawmaker.”).

       Second, the dispensing power conflicts with the Executive’s duty to faithfully

execute the laws. See U.S. Const. art. II, § 3. In vesting the executive power in the




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President,39 the Constitution requires the President to channel that power to perform

certain duties and prescribes how he or she is to carry out those duties.40 See id. One of

those duties, contained in the Take Care Clause, is that “he shall take Care41 that the Laws

be faithfully42 executed43 . . . .”44 Id. (emphasis added) (footnotes added); see Morrison v.

Olson, 487 U.S. 654, 689–90, 108 S.Ct. 2597, 2618, 101 L.Ed.2d 569 (1988) (“The analysis

contained in our removal cases is designed . . . to ensure that Congress does not interfere



    39  “The executive Power shall be vested in a President of the United States of America.”
U.S. Const. art. II, § 1.
    40   “He shall from time to time give to the Congress Information of the State of the Union,
and recommend to their Consideration such Measures as he shall judge necessary and expedient;
he may, on extraordinary Occasions, convene both Houses, or either of them, and in Case of
Disagreement between them, with Respect to the Time of Adjournment, he may adjourn them to
such Time as he shall think proper; he shall receive Ambassadors and other public Ministers; he
shall take Care that the Laws be faithfully executed, and shall Commission all the Officers of the
United States.” U.S. Const. art. II, § 3.
    41   “Care: Regard; charge; heed in order to protection and preservation.” Samuel Johnson,
A Dictionary of the English Language (1755).
https://johnsonsdictionaryonline.com/1755/care_ns.
    “Care: Charge or oversight, implying concern for safety and prosperity.” Noah Webster,
American Dictionary of the English Language (1828).
http://webstersdictionary1828.com/Dictionary/care.
    42   “Faithfully: Without failure of performance; honestly; exactly.” Johnson, supra.
https://johnsonsdictionaryonline.com/1755/faithfully_adv.
    “Faithfully: With strict adherence to allegiance and duty.” Webster, supra.
http://webstersdictionary1828.com/Dictionary/faithfully.
    43   “Execute: To put in act; to do what is planned or determined.” Johnson, supra.
https://johnsonsdictionaryonline.com/1755/execute_va.
    “Execute: To carry into effect; as, to execute law or justice.” Webster, supra.
http://webstersdictionary1828.com/Dictionary/execute.
     44   As stated above, the Court, at this time, declines to weigh in on the merits of the States’
separate claim that the Memoranda violate the Take Care Clause. See footnote 4. However, the
Court is interested in further briefing on this claim at the next stage of this litigation. In addition
to any issues the Parties would like to bring to the Court’s attention, the Parties should focus part
of their briefing on whether the States can bring a Take Care Clause claim independent of or in
conjunction with their APA claims.


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with the President’s exercise of the ‘executive power’ and his constitutionally appointed

duty to ‘take care that the laws be faithfully executed’ under Article II.” (emphasis added)

(footnote omitted)); United States v. Valenzuela-Bernal, 458 U.S. 858, 863, 102 S.Ct. 3440,

3444, 73 L.Ed.2d 1193 (1982) (“The Constitution imposes on the President the duty to ‘take

Care that the Laws be faithfully executed.” (emphasis added) (quoting U.S. Const. art. II,

§ 3)); Myers v. United States, 272 U.S. 52, 117, 47 S.Ct. 21, 25, 71 L.Ed. 160 (1926) (“Mr.

Madison and his associates in the discussion in the House dwelt at length upon the

necessity there was for construing article 2 to give the President the sole power of removal

in his responsibility for the conduct of the executive branch, and enforced this by

emphasizing his duty expressly declared in the third section of the article to ‘take care that

the laws be faithfully executed.’” (emphasis added)); see also Seila L. LLC v. Consumer Fin.

Prot. Bureau, ____ U.S. ____, ____, 140 S.Ct. 2183, 2228, 207 L.Ed.2d 494 (2020) (Kagan, J.,

concurring in part) (“To begin with, the provision—‘he shall take Care that the Laws be

faithfully executed’—speaks of duty, not power.” (emphasis added) (quoting U.S. Const.

art. II, § 3)); Letter from George Washington to Alexander Hamilton45 (Sept. 7, 1792) (on

file with the National Archives) (“It is my duty to see the Laws executed: to permit them

to be trampled upon with impunity would be repugnant to it; nor can the Government

longer remain a passive spectator of the contempt with which they are treated.”

(emphasis added)); Letter from John Adams to Roger Sherman46 (July 18, 1789) reprinted

in 6 The Works of John Adams, Second President of The United States 427, 429–30 (Charles


    45   https://founders.archives.gov/documents/Washington/05-11-02-0040.
    46   https:// https://founders.archives.gov/documents/Adams/99-02-02-0682.


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Francis Adams ed., 1851) (stating that it is the President’s “duty to take Care that the Laws

be faithfully executed” (emphasis added)); Saikrishna B. Prakash, Faithless Execution, 133

Harv. L. Rev. F. 94, 97 (2020) (“The duty to see the laws faithfully executed implies that

the President has the power—the executive power—to see the laws faithfully executed.”

(emphasis added)); Brett M. Kavanaugh, Our Anchor for 225 Years and Counting: The

Enduring Significance of the Precise Text of the Constitution, 89 Notre Dame L. Rev. 1907,

1911 (2014) (“To be sure, the President has the duty to take care that the laws be faithfully

executed.” (emphasis added)).

       Given this duty to take care that the laws are faithfully executed, the Constitution’s

system of separation-of-powers, and the treatment of the dispensing power in American

history and tradition, the Court is hard pressed, at this early stage of the litigation, to see

how the Government can suggest that the Constitution confers upon the Executive the

“discretion” to ignore clear congressional commands contained in Sections 1226(c) and

1231(a)(2). See Kendall, 37 U.S. (12 Pet.) at 612–13 (“It was urged at the bar, that the

postmaster general was alone subject to the direction and control of the President, with

respect to the execution of the duty imposed upon him by this law, and this right of the

President is claimed, as growing out of the obligation imposed upon him by the

constitution, to take care that the laws be faithfully executed. This is a doctrine that

cannot receive the sanction of this court. It would be vesting in the President a dispensing

power, which has no countenance for its support in any part of the constitution . . . . To

contend that the obligation imposed on the President to see the laws faithfully executed,

implies a power to forbid their execution, is a novel construction of the constitution, and


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entirely inadmissible.” (emphasis added)); Little v. Barreme, 6 U.S. (2 Cranch) 170, 177–78

(1804) (stating that, because the President has the “high duty . . . to ‘take care that the laws

be faithfully executed,’” he must enforce a law in accordance with congressional

commands where Congress has “prescribed . . . the manner in which [the] law shall be

carried into execution”); Smith, 27 F. Cas. at 1230 (“The president of the United States

cannot control the statute, nor dispense with its execution, and still less can he authorize a

person to do what the law forbids. If he could, it would render the execution of the laws

dependent on his will and pleasure; which is a doctrine that has not been set up, and will

not meet with any supporters in our government.” (emphasis added)); see also Off. of Pers.

Mgmt. v. Richmond, 496 U.S. 414, 435, 110 S.Ct. 2465, 2477, 110 L.Ed.2d 387 (1990) (White,

J., concurring) (“The Executive Branch does not have the dispensing power on its own[.]”

(emphasis added) (citing Kendall, 37 U.S. (12 Pet.) at 613)); United States v. Midwest Oil Co.,

236 U.S. 459, 505, 35 S.Ct. 309, 325, 59 L.Ed. 673 (1915) (Day, J., dissenting) (“The

Constitution does not confer upon [the President] any power to enact laws or

to suspend or repeal such as the Congress enacts.” (citing Kendall, 37 U.S. (12 Pet.) at

613)); McConnell, supra, at 119 (“The Dispensing Power must not be confused with the

exercise of prosecutorial discretion. The executive decision not to prosecute a particular

person or class of persons for actions in violation of the law does not give them the legal

right to violate the law.”); Paulsen, Calabresi, McConnell & Bray, supra, at 317; Joseph

Story, Commentaries on the Constitution of the United States 316 (Quid Pro Brooks 2013)

(1833) (“[T]he duty imposed upon [the President] to take care, that the laws be faithfully

executed, follows out the strong injunctions of his oath of office, that he will ‘preserve,


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protect, and defend the constitution.’ The great object of the executive department is to

accomplish this purpose; and without it, be the form of government whatever it may, it

will be utterly worthless for offence, or defence; for the redress of grievances, or the

protection of rights; for the happiness, or good order, or safety of the people.”);

Kavanaugh, supra, at 1911 (“To be sure, the President has the duty to take care that the

laws be faithfully executed. That certainly means that the Executive has to follow and

comply with laws regulating the executive branch—at least unless the President deems

the law unconstitutional, in which event the President can decline to follow the statute

until a final court order says otherwise. In other words, the Executive does have to follow

laws regulating the executive branch.” (emphasis added)); Steven G. Calabresi & Saikrishna

B. Prakash, The President’s Power To Execute the Laws, 104 Yale L.J. 541, 620 (1994) (noting

that the “Committee of Detail [may have] added the requirement that the President ‘take

care’ that the laws be ‘faithfully’ executed” out of a “desire to prevent the President from

declaring that his executive power granted him the ability not only to enforce federal law,

but also to suspend federal law or suspend the execution of it”); Delahunty & Yoo, supra,

at 797–98 & n.95, 804–09; Christopher N. May, Presidential Defiance of ‘Unconstitutional’

Laws: Reviving the Royal Prerogative, 21 Hastings Const. L.Q. 865, 873–74 (1994) (“The duty

to execute the laws faithfully means that the President may not—whether by

revocation, suspension, dispensation, inaction, or otherwise—fail to honor and enforce

statutes to which he or his predecessors have assented, or which may have been enacted

over his objection.” (footnotes omitted)); Henry P. Monaghan, The Protective Power of the

Presidency, 93 Colum. L. Rev. 1, 18 n.80 (1993) (quoting William Rawle, A View of the


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Constitution of the United States of America 148–49 (2d ed. 1829), for the proposition that the

Take Care Clause “declares what is [the President’s] duty” and that “[h]e is bound to

enforce” the laws (first alteration in original) (emphases added)); William P. Marshall &

Saikrishna B. Prakash, Common Interpretation: Article II, Section 3, National Constitution

Center47 (“At a minimum, the [Take Care] Clause means that the President may neither

breach federal law nor order his or her subordinates to do so, for defiance cannot be

considered faithful execution.      The Constitution also incorporates the English bars on

dispensing or suspending the law, with some supposing that the Clause itself prohibits

both.” (emphases added)).

         Instead, the Executive—and thus, the Attorney General or the Secretary of DHS—

must exercise any discretion accorded to it by statute in the manner which Congress has

prescribed. See Util. Air Regul. Grp., 573 U.S. at 327, 134 S.Ct. at 2446; Vigil, 508 U.S. at

193, 113 S.Ct. at 2032 (“[A]n agency is not free simply to disregard statutory

responsibilities: Congress may always circumscribe agency discretion to allocate

resources by putting restrictions in the operative statutes.”); Heckler, 470 U.S. at 832–34,

105 S.Ct. at 1656–57; see also Regents, ____ U.S. at ____, 140 S.Ct. at 1926 (Thomas, J.,

concurring in part) (“It is axiomatic that an administrative agency’s power . . . is limited

to the authority granted by Congress.” (alteration in original) (quoting Bowen v.

Georgetown Univ. Hosp., 488 U.S. 204, 208, 109 S.Ct. 468, 471, 102 L.Ed.2d 493 (1988))).




    47   https://constitutioncenter.org/interactive-constitution/interpretation/article-
ii/clauses/348?aff_id=1000.


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Accordingly, the Executive Branch, including its agencies, may not dispense with a clear

congressional mandate under the guise of exercising “discretion.”

                      d.      The Memoranda are not Committed to Agency Discretion

       In sum, the Court finds that Sections 1226(c) and 1231(a)(2) impose mandatory

detention at specific points in time for certain aliens. The Executive Branch may neither

alter these statutory obligations through reprioritization nor dispense with them.

Accordingly, the Court concludes that the detention of certain aliens subject to Sections

1226(c) and 1231(a)(2) is not committed to agency discretion.

               4.     Zone of Interests

       The States must next show that their injuries are within the “zones of interest” the

two laws were intended to protect. Congress has placed limits on how the Executive may

be sued for violating the law and who can do it. Congress, through the APA, has provided

a cause of action for those seeking redress against the federal government for violating

other federal laws. See 5 U.S.C. §§ 702, 706. But Congress has limited the availability of

an APA cause of action to those who allege an injury that is “arguably” within the “zone

of interests” to be protected or regulated by the relevant statutes. Collins v. Mnuchin, 938

F.3d 553, 573–74 (5th Cir. 2019), aff’d in part, vacated in part, rev’d in part sub nom. Collins v.

Yellen, ____ U.S. ____, 141 S.Ct. 1761 (2021); see also Match-E-Be-Nash-She-Wish Band of

Pottawatomi Indians v. Patchak, 567 U.S. 209, 224, 132 S.Ct. 2199, 2210, 183 L.Ed.2d 211

(2012) (hereinafter “Match-E”) (quoting Ass’n of Data Processing Serv. Orgs., Inc. v. Camp,

397 U.S. 150, 153, 90 S.Ct. 827, 830, 25 L.Ed.2d 184 (1970)).




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        The zone of interests test is not “especially demanding” in the APA context.

Collins, 938 F.3d at 574 (quoting Lexmark, 572 U.S. at 130, 134 S.Ct. at 1389). Indeed, the

Supreme Court has “conspicuously included the word ‘arguably’ in the test to indicate

that the benefit of any doubt goes to the plaintiff.” Lexmark, 572 U.S. at 130, 134 S.Ct. at

1389 (quoting Match-E, 567 U.S. at 225, 132 S.Ct. at 2210). The zone of interests test

“‘forecloses suit only when a plaintiff’s interests are so marginally related to or

inconsistent with the purposes implicit in the statute that it cannot reasonably be

assumed that’ Congress authorized that plaintiff to sue.” Collins, 938 F.3d at 574 (quoting

Lexmark, 572 U.S. at 130, 134 S.Ct. at 1389).

        Importantly, the relevant statute in whose zone of interests the plaintiff’s injury

must reside “is to be determined not by reference to the overall purpose of the Act in

question,” but rather, “by reference to the particular provision of law upon which the

plaintiff relies.” Bennett, 520 U.S. at 175–76, 117 S.Ct. at 1167. In other words, a court

must review those “substantive provisions” of law that the plaintiff relies on for “the

gravamen” of its complaint. Id.

        In this case, the States essentially bring three APA claims asserting that the

Government violated federal law: (1) the Memoranda are contrary to Sections 1226(c) and

1231(a)(2) of the INA, (Dkt. No. 1 at ¶¶ 94–107); (2) the policy set forth in the Memoranda

is arbitrary and capricious, (id. at ¶¶ 108–17); and (3) the Government was required but

failed to follow notice and comment procedures in issuing the Memoranda, (id. at ¶¶ 118–

121).




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         As in Texas I, the Government solely—and narrowly—maintains that “the States

do not come within the relevant zone-of-interests” because “no entity can enforce § 1231”

because Subsection (h) bars any party from enforcing Section 1231 against the

Government.48 (Dkt. No. 42 at 35–36); see (6:21-cv-3, Dkt. No. 83 at 30–32); Texas I, ____

F. Supp. 3d at ____, 2021 WL 2096669, at *22–23. For their part, the States briefly address

the Government’s suppositions, arguing they “fit within the zone of interests both

because [the Government is] wrong about Section 1231(h) and for the reasons this Court

has already explained” in Texas I. (Dkt. No. 51 at 29) (citing Texas I, ____ F. Supp. 3d at

____, 2021 WL 2096669, at *23–29). The Court agrees with the States.

         For starters, the Government cannot refute the States’ position that their injuries

are within the zones of interests of Sections 1226(c) and 1231(a)(2), particularly in light of

this Court’s discussions of Demore and Zadvydas concerning the development and

purpose of Sections 1226 and 1231. See supra I.A, II.B.1 & II.B.3. This discussion makes

clear that Sections 1226(c) and 1231(a)(2)—and indeed the INA itself, see Texas DAPA, 809

F.3d at 163 & n.80—were enacted to protect and benefit the states, the citizens of this

country, and the legal immigrants of the United States. See supra I.A, II.B.1 & II.B.3. As

such, the injuries the States suffer due to the Memoranda, see supra II.A.1–4, fall within

the relevant statutes’ zones of interests. See Texas DAPA, 809 F.3d at 163 (finding that




    48    In so doing, the Government essentially foregoes any zone-of-interest challenge on the
States’ other APA claims, that is, those based on Section 1226(c) and those which are arguably not
based on any of the statutes in question (i.e., the arbitrary and capricious and notice and comment
claims).


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Texas satisfies the zone-of-interest test as a result of the same injuries that give Texas

Article III standing).

       The Government, indeed, does not dispute that the States’ injuries fall within

Sections 1226(c) and 1231(a)(2)’s zones of interests. Rather, the Government focuses its

attention on Section 1231(h), in essence arguing that because Subsection (h) bars parties

from enforcing Section 1231, any injury stemming from violations of the section does not

fall within the statute’s zone of interests. See (Dkt. No. 42 at 35–36). But, as explained

earlier, Section 1231(h) does not bar the States’ claims. See supra II.B.1; Texas I, ____ F.

Supp. 3d at ____, 2021 WL 2096669, at *29–30 & n.42. Thus, the Government’s lone

contention fails. The Court finds that the States’ injuries fall within the zones of interest

of Sections 1226(c) and 1231(a)(2).

III.   DISCUSSION OF PRELIMINARY INJUNCTION

       Having determined the Court has jurisdiction over the action and nothing

precludes judicial review under the APA, the Court now turns to the merits of the States’

Motion for Preliminary Injunction.

       A.     LEGAL STANDARD

       “A preliminary injunction is an extraordinary remedy never awarded as of right.”

Benisek v. Lamone, ____ U.S. ____, ____, 138 S.Ct. 1942, 1943, 201 L.Ed.2d 398 (2018)

(quotation omitted). Indeed, the decision to grant a preliminary injunction is “to be

treated as the exception rather than the rule.” Miss. Power & Light Co. v. United Gas Pipe

Line Co., 760 F.2d 618, 621 (5th Cir. 1985). Thus, “[i]n each case, courts must balance the

competing claims of injury and must consider the effect on each party of the granting or



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withholding of the requested relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24,

129 S.Ct. 365, 376, 172 L.Ed.2d 249 (2008) (quotation omitted). And in determining

whether injunctive relief is proper, “courts of equity should pay particular regard for the

public consequences in employing the extraordinary remedy of injunction.” Id.

       A preliminary injunction “issue[s] only where (1) there is a substantial likelihood

that the movant will prevail on the merits; (2) there is a substantial threat that irreparable

harm will result if the injunction is not granted; (3) the threatened injury outweighs the

threatened harm to the defendant; and (4) the granting of the preliminary injunction will

not disserve the public interest.” Clark v. Prichard, 812 F.2d 991, 993 (5th Cir. 1987). As

such, “[t]he party seeking such relief must satisfy a cumulative burden of proving each

of the four elements enumerated” in order for a preliminary injunction to be granted. Id.

       Note, however, that “none of the four prerequisites has a fixed quantitative value.”

Texas v. Seatrain Int’l, S. A., 518 F.2d 175, 180 (5th Cir. 1975). “Rather, a sliding scale is

utilized, which takes into account the intensity of each in a given calculus.” Id. (citing Siff

v. State Democratic Exec. Comm., 500 F.2d 1307 (5th Cir. 1974)). For instance, “a preliminary

injunction does not follow as a matter of course from a plaintiff’s showing” of the first

element, “a likelihood of success on the merits.” Benisek, ____ U.S. at ____, 138 S.Ct. at

1943–44 (emphasis added). Thus, federal courts must consider whether the movant has

established the three other elements as well for a preliminary injunction to issue. Id. at

____, 138 S.Ct. at 1944.




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       B.     APPLICATION

              1.     Substantial Likelihood of Success on the Merits

                     a.     Counts I & II: Contrary to Law

       As described above, the Court determined that “shall” in Sections 1226(c) and

1231(a)(2) means “must.” See supra II.B.3.a. This conclusion means that the Attorney

General must detain certain aliens subject to those sections. The Court also found that

both statutes mandate detention of certain aliens at specific points in time: for Section

1226(c), the Attorney General is required to detain certain aliens “when the alien is

released from custody,” while for Section 1231(a)(2), the Attorney General is obligated to

detain certain aliens “during the removal period.”          The policy contained in the

Memoranda effectively dispenses with these mandates by conferring discretion to the

Government to independently decide who will be detained and when—if ever—

detention of those individuals might occur. This guidance therefore is wholly contrary

to Sections 1226(c) and 1231(a)(2).    Thus, the States have demonstrated a substantial

likelihood of success on Counts I & II.

                     b.     Count III: Arbitrary and Capricious

       The States argue that the Government’s Memoranda establishing new guidelines

and priorities for the detention of certain aliens are arbitrary and capricious because they

“failed to consider important aspects of a problem.” (Dkt. No. 18 at 28). Specifically, the

States allege that the Memoranda: (1) “failed to consider the risks of recidivism among

criminal aliens who are not detained;” (2) “ignore the effects non-detention will have on

future removal efforts,” especially on the costs that delays in deportation often produce



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and the rate of abscondment of released aliens; (3) “do not discuss the costs that [the new

guidance] will impose on [the] States;” (4) “did not consider more limited policies that

would have retained congressionally mandated detention of criminal aliens and those

with final orders of removal;” and (5) “do[] not explain Defendants’ choice[]”of

prioritizing the detention of aliens who have aggravated felonies over others who have

committed drug offenses and crimes of moral turpitude or those with final orders of

removal.    (Id. at 27–29).   The Government disagrees with the States’ contentions.

Countering the States point-by-point, the Government argues that it “considered the

relevant factors and reached a reasonable decision.” (Dkt. No. 42 at 42–47). Reviewing

these assertions, the Court finds the States have demonstrated a substantial likelihood of

success in establishing that the policy set forth in the Memoranda is arbitrary and

capricious as alleged in Count III.

       The APA prohibits agency actions that are “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). With that in

mind, federal administrative agencies are required to engage in “reasoned

decisionmaking.” Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 374, 118 S.Ct.

818, 826, 139 L.Ed.2d 797 (1998) (internal quotation omitted). This necessarily means that

“[n]ot only must an agency’s decreed result be within the scope of its lawful authority,

but the process by which it reaches that result must be logical and rational.” Id. (emphasis

added). More specifically, “the agency must examine the relevant data and articulate a

satisfactory explanation for its action including a ‘rational connection between the facts found

and the choice made.’” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.


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Co., 463 U.S. 29, 43, 103 S.Ct. 2856, 2866, 77 L.Ed.2d 443 (1983) (quoting Burlington Truck

Lines v. United States, 371 U.S. 156, 168, 83 S.Ct. 239, 245–46, 9 L.Ed.2d 207 (1962))

(emphasis added).

       When final agency action is challenged as arbitrary and capricious, “[t]he

reviewing court must consider whether the decision was based on a consideration of the

relevant factors and whether there has been a clear error of judgment.” Marsh v. Or. Nat.

Res. Council, 490 U.S. 360, 378, 109 S.Ct. 1851, 1861, 104 L.Ed.2d 377 (1989) (internal

quotations omitted). “Normally, an agency rule would be arbitrary and capricious if the

agency has relied on factors which Congress has not intended it to consider, entirely

failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it

could not be ascribed to a difference in view or the product of agency expertise.” State

Farm, 463 U.S. at 43, 103 S.Ct. at 2867. If a court finds that an administrative agency failed

to engage in reasoned decision-making, the reviewing court “shall hold unlawful and set

aside” such “agency action, findings, and conclusions” as arbitrary and capricious. 5

U.S.C. § 706(2)(A).

       “Because the central focus of the arbitrary and capricious standard is on the

rationality of the agency’s ‘decisionmaking,’ rather than its actual decision, ‘[i]t is well-

established that an agency’s action must be upheld, if at all, on the basis articulated by

the agency itself.’” United States v. Garner, 767 F.2d 104, 116–17 (5th Cir. 1985) (quoting

State Farm, 463 U.S. at 50, 103 S.Ct. at 2870). As such, “the grounds upon which an

administrative order must be judged are those upon which the record discloses that its


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action was based.” 49 SEC v. Chenery Corp., 318 U.S. 80, 87, 63 S.Ct. 454, 459, 87 L.Ed. 626

(1943). The administrative record need only “indicate[] the determinative reason for the

final action taken,” Camp v. Pitts, 411 U.S. 138, 143, 93 S.Ct. 1241, 1244, 36 L.Ed.2d 106

(1973), and courts may “uphold a decision of less than ideal clarity if the agency’s path

may reasonably be discerned.” Bowman Transp., Inc. v. Arkansas–Best Freight Sys., Inc., 419

U.S. 281, 286, 95 S.Ct. 438, 442, 42 L.Ed.2d 447 (1974).

         Finally, the Court is mindful that the arbitrary and capricious standard is “highly

deferential.” Garner, 767 F.2d at 116. Courts must “accord the agency’s decision a

presumption of regularity” and “are prohibited from substituting [the courts’] judgment

for that of the agency.” Id. (citation omitted). But “while the arbitrary and capricious

standard of review is highly deferential, it is by no means a rubber stamp.” Id. Based on




    49    In a status conference with the Parties on July 2, 2021, the Court asked whether the
Government intended to file the administrative record for review. The Government declined
stating that it was unnecessary at this stage of the litigation. (July 2, 2021, Status Conference,
10:00–10:15 A.M.). For their part, the States did not oppose the Government’s position, and,
instead, told the Court that it could dispose of the pending Motion for Preliminary Injunction
without the full administrative record in hand. Id. In effect, the Parties agreed that the full
administrative record is not necessary for the Court to rule on the arbitrary and capricious claim
at this time.
     “A court is ordinarily limited to evaluating the agency’s contemporaneous explanation in
light of the existing administrative record.” Dep’t of Com., ____ U.S. at ____, 139 S.Ct. at 2556
(citing Vermont Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 98 S.Ct. 1197,
55 L.Ed.2d 460 (1978)). As such, the Court will limit its inquiry to the findings, conclusions, and
explanations provided in the February 18 Memorandum for its review. In addition, because the
Court is ruling on a motion for preliminary injunction, the Court merely needs to determine “if
there is a substantial likelihood that” the States “will prevail on the merits” of their arbitrary and
capricious claim. Prichard, 812 F.2d at 993. It follows, therefore, that the disposition of the
arbitrary and capricious claim, at this stage, is not final. Indeed, for at least one other district
court, the lack of an administrative record was not a barrier for that court to rule on an arbitrary
and capricious claim at this stage. See Nat’l Fed’n of Indep. Bus. v. Perez, No. 5:16-CV-00066-C, 2016
WL 3766121, at *23 & n.8, 28–29 (N.D. Tex. June 27, 2016).


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the following, the Memoranda fail to indicate that the Government engaged in reasoned

decision-making, thereby rendering them arbitrary and capricious.

         At their core, the Memoranda reprioritize certain classes of aliens for immigration

enforcement action. In the February 18 Memorandum specifically, the Government states

that it is establishing enforcement and removal guidelines with respect to immigration

enforcement and removal priorities pursuant to the January 20 Memorandum.50 See (Dkt.

No. 19-2 at 5). As discussed above, if a criminal illegal alien falls under a category deemed

to be a priority, no preapproval is required for an enforcement or removal action. On the

other hand, if the criminal illegal alien does not fall under any of the categories, an

enforcement or removal action “will require preapproval.” (Id. at 7). The Memorandum

states that “ICE operates in an environment of limited resources,” and thus, “ICE has

always prioritized, and necessarily must prioritize, certain enforcement and removal

actions over others.” (Id. at 3). In addition to “resource constraints,” “several other

factors,” according to the Memorandum, “render ICE’s mission particularly complex.”

These factors include “ongoing litigation in various fora; the health and safety of the ICE

workforce and those in its custody, particularly during the current COVID-19 pandemic;

the responsibility to ensure that eligible noncitizens are able to pursue relief from removal

under the immigration laws; and the requirements of, and relationships with, sovereign



    50   To the extent the January 20 Memorandum’s 100-day pause on removals and that
Memorandum’s corresponding administrative record are implicated in this action, the Court
adopts its reasoning in Texas I and finds that the Government failed to engage in reasoned
decision-making. ____ F. Supp. 3d at ____, 2021 WL 2096669, at *38–42. Thus, the Court adopts
and incorporates by reference its prior decision that the January 20 Memorandum’s 100-day
pause is arbitrary and capricious.


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nations, whose laws and expectations can place additional constraints on ICE’s ability to

execute final orders of removal.” (Id.). Given these considerations, the Memorandum

states that the Government “must exercise its well-established prosecutorial discretion

and prioritize its limited resources to most effectively achieve that mission.” (Id. at 4).

       As described here, the February 18 Memorandum indeed enumerates quite a few

factors that make the Government’s “mission particularly complex” in this field. But the

Memorandum itself does not directly state whether these factors were considered while

the Government was actually formulating the guidance in question. Assuming they were

considered and were the bases for the new guidance, see Pitts, 411 U.S. at 143, 93 S.Ct. at

1244, the February 18 Memorandum (along with its predecessor, the January 20

Memorandum) still does not demonstrate reasoned decision-making. The February 18

Memorandum does not disclose how or why any of these enumerated factual

considerations are connected to the policies the Government ultimately pursued. In

short, both Memoranda fail to establish any rational connection or logical link between

any of these factors and the new guidance. See State Farm, 463 U.S. at 43, 103 S.Ct. at 2866.

       First, the February 18 Memorandum does not offer even a brief explanation of how

“ongoing litigation in various fora” affected the Government’s decision-making in

promulgating the new guidance. It is simply a vague and conclusory statement. Did the

Government mean to say that Texas I or other pending cases were considered when

crafting the new guidance? If so, how did the disposition of Texas I or other cases affect

the reprioritization? Those questions have yet to be answered.




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       Second, the Government’s stated responsibility and desire to ensure that eligible

aliens may be afforded relief from removal is commendable but likewise lacks any

rational connection with the new guidance. The new guidance reprioritizes the detention

and deportation of criminal illegal aliens. But the February 18 Memorandum does not

explain how or why prioritizing, for instance, the detention or deportation of “border

security risks” (aliens who entered the country on or after November 1, 2020) over aliens

who have drug offenses or crimes of moral turpitude would ensure that eligible

noncitizens will obtain relief in their own removal proceedings. There does not seem to

be any connection between reprioritizing the detention and removal of certain aliens to

whether other aliens may be afforded legally authorized relief from deportation. The

February 18 Memorandum does not shed light on this disconnect.

       Third, although the Court acknowledges as a general matter that interactions and

relationships with other sovereign nations “may place constraints” on the Government’s

ability to “execute final orders of removal,” see (Dkt. No. 19-2 at 4), there is no rational

link between any of these factual constraints to the reprioritization scheme the

Government has chosen to pursue. For example, do these international relationships

make it more inefficient to deport aliens with drug offenses over so-called “national

security risks” or “border security risks”? If so, what are the facts that justify such

conclusions? Those questions are also unanswered. Like the considerations described

above, the Memorandum does not state any facts or findings with respect to why

international relations apparently factored in the Government’s decision-making.




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      Lastly, the Government’s written concern for the health and safety of ICE workers

in the midst of the COVID-19 pandemic is not rationally relevant to the new guidance.

Will COVID-19 infections among the ICE workforce be substantially reduced if the

Government prioritizes the deportation of one category of criminal illegal aliens over

another? How does reprioritization alleviate those health concerns, if any? On these

points the February 18 Memorandum is, unfortunately, silent.

      The Court further notes that, out of all these considerations, the cursory use of the

COVID-19 pandemic to justify the new guidance comes across as implausible.

Throughout the last year, institutions, including federal and state governments, have

used the pandemic to rationalize policies found to be unlawful or unconstitutional. See,

e.g., Chrysafis v. Marks, ____ U.S. ____, 2021 WL 3560766 (U.S. Aug. 12, 2021) (enjoining

the part of New York’s COVID Emergency Eviction and Foreclosure Prevention Act that

precluded landlords from contesting a tenant’s self-certification of financial hardship on

the grounds that “no man can be a judge in his own case” (quoting In re Murchison, 349

U.S. 133, 136, 75 S.Ct. 623, 99 L.Ed. 942 (1955))); Tandon v. Newsom, ____ U.S. ____, 141

S.Ct. 1294, 209 L.Ed.2d 355 (2021) (per curiam) (enjoining California officials from

enforcing occupancy limits on at-home religious exercise in response to COVID-19 when

other policies treated comparable secular activities that did not pose a lesser risk of

transmission more favorably); Roman Cath. Diocese v. Cuomo, ____ U.S. ____, 141 S.Ct. 63,

208 L.Ed.2d 206 (2020) (per curiam) (enjoining the Governor of New York from enforcing

occupancy limits on religious services in response to COVID-19 that would have violated

the Free Exercise Clause of the First Amendment); Capitol Hill Baptist Church v. Bowser,


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496 F. Supp. 3d 284, 289 (D.D.C. 2020) (finding that the District’s COVID-19-related

prohibition of religious gatherings of more than 100 people, even those with appropriate

precautions, substantially burdens the plaintiff’s exercise of religion in violation of the

Religious Freedom Restoration Act). And now the Government has added immigration

to the mix.

       The Government used the pandemic to reason that the January 20 Memorandum’s

100-day pause on removals—the precursor to the February 18 Memorandum—was borne

out of reasoned decision-making. See Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669,

at *40. But, as the Court noted in Texas I, the U.S. Department of Health and Human

Services Centers for Disease Control and Prevention (“CDC”), on October 13, 2020,

authorized the CDC Director “to suspend the right to introduce persons into the United

States” because of the COVID-19 pandemic. See Texas I, ____ F. Supp. 3d at ____, 2021

WL 2096669, at *40 & n.46 (citing CDC, Order Suspending Introduction of Certain Persons

Where a Communicable Disease Exists, (Mar. 20, 2020), available at https://bit.ly/3736Lue

(updated Oct. 2020)). The relevant CDC Order “applies to persons traveling from Canada

or Mexico (regardless of their country of origin) who would otherwise be introduced into

a congregate setting in a land or coastal Port of Entry (POE) or Border Patrol station at or

near the United States borders with Canada or Mexico, subject to [certain] exceptions.”

Id. Considering the CDC Order, the Government’s new guidance is puzzling. The new

guidance effectively introduces and keeps more people—specifically, criminal illegal

aliens—in the Nation’s communities. But, per the CDC Order, the COVID-19 pandemic

would likely justify a different course of action. Throughout this time, the Government


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has not introduced any further papers or discussed anything in the February 18

Memorandum that show it is following different health guidelines related to COVID-19

that speak to the safety of introducing aliens into the country and its communities. The

February 18 Memorandum likewise does not grapple with or otherwise explain how the

new guidelines are consistent with these CDC policies.               Thus, like in Texas I, the

Government’s consideration of the COVID-19 pandemic not only is implausibly

connected to the new guidance, it also “runs counter to the evidence before the agency.”

See State Farm, 463 U.S. at 43, 103 S.Ct. at 2867. In other words, the Government cannot

use the pandemic as a blanket reason—devoid of explanation—to justify its choices,

especially when these choices run afoul of another agency’s published health directives.51

         “[A]gency action must be based on non-arbitrary, relevant factors.” Judulang v.

Holder, 565 U.S. 42, 55, 132 S.Ct. 476, 485, 181 L.Ed.2d 449 (2011) (internal quotation

omitted) (emphasis added).         In this case, the factors apparently considered in the

February 18 Memorandum and its predecessor, the January 20 Memorandum, are, after

a thorough review, arbitrary and irrelevant to the new guidance. The link between the

new guidance and the factors enumerated are so contradictory to the evidence and

“implausible” that the States’ challenge cannot be said to be differing policy preferences


    51     The Court acknowledges it could be argued that, considering the transmissibility of
COVID-19, the Executive Branch has chosen to detain fewer aliens to minimize the spread of the
virus in detention facilities where it could not ensure proper safety precautions. But it could also
be argued (and the CDC Report the Court describes above strongly suggests) that allowing
certain aliens—those who would be detained but for the Memoranda—to be released within
communities during the pandemic would exacerbate COVID-19’s community spread.
Regardless, the Memoranda fail to logically link the Executive Branch’s bare COVID-19
justifications to the new guidance such that the Court can conclude the Memoranda were borne
of reasoned decision making.


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or views. See FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515–16, 129 S.Ct. 1800, 1811,

173 L.Ed.2d 738 (2009) (explaining that when an agency’s “new policy rests upon factual

findings that contradict those which underlay its prior policy[,] or when its prior policy

has engendered serious reliance interests that must be taken into account, [i]t would be

arbitrary or capricious to ignore such matters,” and “[i]n such cases it is not that further

justification is demanded by the mere fact of policy change; but that a reasoned

explanation is needed for disregarding facts and circumstances that underlay or were

engendered by the prior policy” (internal citation omitted)); State Farm, 463 U.S. at 43, 103

S.Ct. at 2867 (“Normally, an agency rule would be arbitrary and capricious if the agency

has relied on factors which Congress has not intended it to consider, entirely failed to

consider an important aspect of the problem, offered an explanation for its decision that

runs counter to the evidence before the agency, or is so implausible that it could not be

ascribed to a difference in view or the product of agency expertise. The reviewing court

should not attempt itself to make up for such deficiencies: ‘We may not supply a reasoned

basis for the agency’s action that the agency itself has not given.’” (quoting Chenery, 332

U.S. at 196, 67 S.Ct. at 1577)); Huawei Techs. USA, Inc. v. Fed. Commc’ns Comm’n, 2 F.4th

421, 452 (5th Cir. 2021) (explaining that, when considering an agency’s cost-benefit

analysis in the scope of the arbitrary and capricious standard, the Court’s “job ‘is not to

undertake [its] own economic study, but to determine whether the [agency] ‘has

established in the record a reasonable basis for its decision’” (quoting Chem. Mfrs. Ass’n

v. EPA, 870 F.2d 177, 251 (5th Cir. 1989))); Sierra Club v. EPA, 939 F.3d 649, 664 (5th Cir.

2019) (“The agency must ‘articulate a satisfactory explanation for its action including a


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rational connection between the facts found and the choice made.’” (quoting State Farm,

463 U.S. at 43, 103 S.Ct. at 2866)); Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1013 (5th Cir.

2019) (noting the Court must “ensure that the agency examined the relevant data and

articulated a satisfactory explanation for its action, and assess whether the agency’s

decision was based on a consideration of the relevant factors” (quoting 10 Ring Precision,

Inc. v. Jones, 722 F.3d 711, 723 (5th Cir. 2013) (cleaned up)). Thus, the Court finds that the

Government failed to engage in the reasoned decision-making required by law.

       What’s more, while the Government argues it actually did consider certain

relevant factors in crafting the new guidelines (thus engaging in reasoned decision-

making), the Court finds that the Government’s briefs actually establish that it did not

consider those factors.     To begin with, “[p]ost hoc rationalizations offered by the

Government’s counsel are irrelevant.” Univ. of Texas M.D. Anderson Cancer Ctr. v. Dep’t

of Health & Hum. Servs., 985 F.3d 472, 475 (5th Cir. 2021) (citing State Farm, 463 U.S. at 50,

103 S.Ct. [at 2870]). Therefore, this Court finds it inappropriate to consider each of the

Government’s arguments in their briefing that were not included in the Memoranda.

Even assuming they were relevant, however, the Government’s in-brief explanations are

meritless.

       First, the Government states that it considered the prospect of recidivism when

crafting the new guidance found in the February 18 Memorandum. (Dkt. No. 42 at 44).

Specifically, the Government alleges that “DHS weighed the threat to public safety from

criminal noncitizens reoffending in prioritizing certain noncitizens for removal.” (Id.). In

support, the Government cites to passages from the February 18 Memorandum that,


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according to the Government, (a) “focused on the degree of threat to public safety” the

“different criminal noncitizens presented,” which, apparently, is akin to considering the

risk of recidivism; and (b) allowed immigration officers, in making “individualized

determinations” for enforcement and removal, to “consider public interest factors, which

include the risk of recidivism.” See (Id. at 44). These points miss the mark entirely.

       With respect to the first, the Government’s decision to “focus[] on the degree of

threat to public safety” establishes that the Government either did not consider the risk

of recidivism or created a policy contrary to the evidence before it. In their claim, the

States argue that, in choosing which policy to pursue, the Government did not consider

the risks of recidivism of all criminal aliens. See (Dkt. No. 18 at 44). Indeed, the Supreme

Court has stated that “deportable criminal aliens who remained in the United States”—

notably not a certain subset or category of such aliens—“often committed more crimes

before being removed.” Demore, 538 U.S. at 518, 123 S.Ct. at 1715 (emphasis added); see

also Zadvydas, 533 U.S. at 713–714, 121 S.Ct. at 2511 (Kennedy, J., dissenting) (discussing

rates of recidivism for released criminal aliens and their threat to public safety, noting the

“high recidivism rates for released aliens”). Despite the Supreme Court’s recognition of

the risks deportable criminal aliens pose, the February 18 Memorandum requires

prioritization of criminal aliens who both pose a threat to public safety and have had a

prior aggravated felony conviction or criminal gang affiliation. See (Dkt. No. 19-2 at 5–

6). The States correctly point out that by prioritizing certain aliens, the Memorandum

“omit[s] aliens” who are solely “threats to public safety,” in other words, potential

recidivists. (Dkt. No. 51 at 14). Nothing in the February 18 Memorandum explains that


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criminal illegal aliens who are only “threats to public safety” are at a much lower risk of

recidivism compared to criminal aliens who have had prior felonies or criminal gang

convictions. Put differently, the new guidelines do not establish that the Government

considered recidivism since the reprioritization leaves so many other “deprioritized”

criminal illegal aliens free to recidivate—to harm the public.           And crucially, the

Government has not rebutted or clarified the well-established concept that all criminal

illegal aliens or “deportable aliens pose high risks of recidivism.” See Demore, 538 U.S. at

518, 123 S.Ct. at 1715. Instead, the February 18 Memorandum, without any support or

evidence, implements new guidelines stemming from an idea that it is merely some

criminal illegal aliens—those with aggravated felonies and criminal gang affiliations—

who have a much higher risk of recidivism. Such a conclusion is without any foundation

in the record and shows that the Government either failed to consider recidivism as a

factor in its decision-making or it explained its decision in a manner which contradicts

the evidence before it. See State Farm, 463 U.S. at 43, 103 S.Ct. at 2867.

       Moreover, it is irrelevant whether immigration officers have the capability,

pursuant to the February 18 Memorandum, to “consider public interest factors” that

“could” include the risk of recidivism. See (Dkt. No. 42 at 44). Arbitrary and capricious

review calls for the Court to examine the rationality of agency decision-making and not

the actual decision. Garner, 767 F.2d 104 at 116. Even if the new guidelines give some

leeway to immigration officers to consider “public interest factors,” this does not

establish that the Government considered the risk of recidivism when crafting the new

guidelines. As the Government frankly admits, the Memoranda “do not use the term


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‘recidivism’” anywhere. (Dkt. No. 42 at 44). The February 18 Memorandum is, thus,

devoid of any references to recidivism or other statements tending to show that the risk

of recidivism that criminal illegal aliens pose was considered when drafting the new

policy.

          Second, the Government asserts that it has limited resources and must prioritize

certain enforcement and removal actions under Section 1226(c). (Id. at 45). But, as the

States point out, this contention “dodges the key issue” of whether the Government

actually considered the effects of the new guidelines to costs of delaying deportations

and the overall rate of abscondment of criminal illegal aliens. (Dkt. No. 51 at 15); (Dkt.

No. 18 at 27–28). The costs of the non-detainment of criminal aliens are substantial. For

instance, in the past, “when the vast majority of deportable criminal aliens were not

detained during their deportation proceedings, many filed frivolous appeals in order to

delay their deportation.” Demore, 538 U.S. at 530 n.14, 123 S.Ct. at 1721 n.14. Even “[c]ourt

ordered release” itself “cannot help but encourage dilatory and obstructive tactics by

aliens.” Zadvydas, 533 U.S. at 713, 121 S.Ct. 2491 (Kennedy, J., dissenting). “An alien

ordered deported also has less incentive to cooperate or to facilitate expeditious removal

when he has been released, even on a supervised basis, than does an alien held at an [ICE]

detention facility.” Id. And following this line, a Senate Report from 1995 noted that

“[d]elays” in deportation “can earn criminal aliens more than work permits and wages—

if they delay long enough they may even obtain U.S. citizenship.” S. Rep. No. 104–48, at

2 (1995). The costs from non-detainment rival the costs of abscondment. The same Senate

Report found that “[o]ver 20 percent of nondetained criminal aliens fail to appear for


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deportation proceedings.” Id. This Court, as well, found the rate of abscondment to be

substantial even for aliens who have been “thoroughly vetted” in order for them to be

placed in an “alternative to detention program.” Texas I, ____ F. Supp. 3d at ____, 2021

WL 2096669, at *19. Even in light of these effects and costs, the February 18 Memorandum

is silent on whether these were considered while crafting the new guidelines. The Court,

therefore, finds that the Government failed to consider this relevant factor.

       Third, the Government argues that, with regard to the additional costs the States

will incur, “the States are wrong to argue that DHS was required to expressly evaluate

the costs to each State,” and, regardless, the Government “did consider how the Priority

Framework would impact public safety . . . which should reduce the costs from crime to

the States.” (Dkt. No. 42 at 45–46). Rephrased, the Government argues that state costs

and expenses are not relevant factors, but, nevertheless, the February 18 Memorandum

indirectly considered them since it factored in the new guidelines’ impact to public safety.

The Government is incorrect on both issues.

       State costs and expenses are, indeed, relevant factors. That was the case in Texas

I, see ____ F. Supp. 3d at ____, 2021 WL 2096669, at *41, and the Government takes issue

with the Court’s prior holding, see (Dkt. No. 42 at 46 & n.16). Thus, to be clear, a more

descriptive analysis of the caselaw is in order.

       As stated earlier, an “agency rule would be arbitrary and capricious” if the

relevant agency “entirely failed to consider an important aspect of the problem.” State

Farm, 463 U.S. at 43, 103 S.Ct. at 2867. The Supreme Court has noted that immigration

“ha[s] a discernable impact on traditional state concerns,” owing to the fact that


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“unchecked unlawful migration might impair the State’s economy generally, or the

State’s ability to provide some important service.” Plyler, 457 U.S. at 228, n.23, 102 S.Ct.

at 2400, n.23 (citing DeCanas v. Bica, 424 U.S. 351, 354–56, 96 S.Ct. 933, 935–36, 47 L.Ed.2d

43 (1976)). Indeed, immigration policy is important to the states since they “bear[] many

of the consequences of unlawful immigration.” Arizona, 567 U.S. at 397, 132 S.Ct. at 2500.

Obviously, as Plyler noted, some of those problematic consequences stem from a newly

promulgated immigration policy’s effect on the state’s economy and its services; in other

words, state costs and expenses. See Texas DAPA, 809 F.3d at 153 (holding that Texas had

standing to challenge the federal government’s DAPA policy in part because the policy

“would have a major effect on the states’ fiscs, causing millions of dollars of losses in

Texas alone” and “would enable beneficiaries to apply for driver’s licenses, and many

would do so, resulting in Texas’s injury”). In Regents, for instance, the Supreme Court

held that the federal government’s recission of its DACA policy was arbitrary and

capricious in part because the government failed to consider the loss of state and local tax

revenue stemming from the policy’s rescission. ____ U.S. at ____, 140 S.Ct. at 1914. Along

with a few other concerns, the Supreme Court characterized the loss of local and state tax

revenue as “noteworthy,” but “not necessarily dispositive.”          Id.   Nevertheless, the

Supreme Court found that the federal government needed to consider that factor—along

with many others—and weigh them all together to ultimately decide whether to retain

DACA or not. Id. As in this case, “[m]aking that difficult decision was the agency’s job,

but the agency failed to do it.” Id.




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       Further, the Supreme Court has indicated that, in the context of immigration

policy, an agency’s approach to decision-making “must be tied, even if loosely, to the

purposes of the immigration laws or the appropriate operation of the immigration

system.” Judulang, 565 U.S. at 55, 132 S.Ct. at 485. One broad purpose of immigration

law and policy is to minimize the costs and expenses related to the presence of illegal

aliens in the country. See Demore, 538 U.S. at 530 n.14, 123 S.Ct. at 1721 n.14 (noting that

“prior to the enactment of 8 U.S.C. § 1226(c),” a vast majority of deportable criminal aliens

were free during their deportation proceedings and many filed frivolous appeals to delay

deportation); Hernandez-Avalos v. INS, 50 F.3d 842, 847 (10th Cir. 1995) (noting 8 U.S.C.

§ 1252(i) (1986) was enacted “to ease financial burdens on federal, state and local prisons

resulting from lengthy detention of aliens awaiting deportation”); Giddings v. Chandler,

979 F.2d 1104, 1109 (5th Cir. 1992) (noting that the main purpose of Section 1252(i) was to

“reduc[e] prison overcrowding and cost to the government”); Prieto v. Gluch, 913 F.2d

1159, 1165 (6th Cir. 1990) (explaining that Section 1252(i) was enacted because there was

a concern in Congress with prison overcrowding in “local and State jails”). While the

Government is correct that immigration policy “affect[s] trade, investment, tourism, and

diplomatic relations,” among other things, see (Dkt. No. 42 at 46, n.16) and Arizona, 567

U.S. 387 at 395, 132 S.Ct. at 2498, that list of considerations is not exhaustive. Therefore,

the Court finds the Government’s argument that it need not consider the States’ costs and

expenses stemming from the new guidelines to be without merit.

       Likewise, the Court finds that the Memoranda did not consider the States’ costs

and expenses even though, according to the Government, DHS considered the new


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guidelines’ impact to public safety. In fact, the Memoranda did not consider or failed to

substantially consider the new guidelines’ effects on public safety.          Indeed, both

Memoranda are devoid of explanation as to how or why prioritizing the detention or

deportation of some criminal illegal aliens, while effectively delaying the detention or

deportation of and releasing so many other criminal illegal aliens, positively impact

public safety. Moreover, the Memoranda provide no indication that any relevant data or

facts were considered in ultimately concluding that the public will be safer by releasing

more criminal illegal aliens into communities from detention while fewer are detained or

deported. See State Farm, 463 U.S. at 43, 103 S.Ct. at 2866 (explaining that an agency “must

examine the relevant data” in order to explain its policy choices).

       Additionally, even if the Government did consider public safety, the

Memoranda—and the February 18 Memorandum most crucially—do not state or explain

how that consideration connects with concerns regarding state costs and expenses. The

Government in its brief argues that, by focusing its “limited resources” on enforcement

actions against “the most significant threats to public safety,” the Memoranda “should

reduce the costs from crime to the States.” (Dkt. No. 42 at 46). Leaving aside that the new

guidelines practically provide for the non-detention of many criminal illegal aliens who

are not within the ambit of any of the prioritized categories, the Government’s assertion

still fails. “[T]he grounds upon which an administrative order must be judged are those

upon which the record discloses that its action was based.” Chenery, 318 U.S. at 87, 63

S.Ct. at 459. And the Memoranda bear no thought or indication as to whether the new

prioritization scheme minimizes and limits state costs due to crime.


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         Next, the Government argues that, contrary to the States’ allegations, DHS “need

not ‘consider all policy alternatives in reaching [its] decision.’” (Dkt. No. 42 at 46) (citing

State Farm, 463 U.S. at 51, 103 S.Ct. at 2870). Instead, the Government states that “it need

only ‘consider the alternative[s] that are within the ambit of the existing [policy].’” (Id.)

(quoting Regents, ____ U.S. at ____, 140 S.Ct. at 1913). In this case, per the Government,

“the States fail to identify a single policy alternative” that would be “within the ambit of

existing policy,” or would otherwise be “obvious,” “significant and viable.” (Id.) (citing

Nat’l Shooting Sports Found., Inc. v. Jones, 716 F.3d 200, 215 (D.C. Cir. 2013)). The Court

disagrees with the Government’s contentions.

         The States do propose that, instead of the prioritization scheme found in the

February 18 Memorandum, the Government should have considered policies “that

would have retained congressionally mandated detention of criminal aliens and aliens

with final orders of removal.” (Dkt. No. 18 at 28). The foregoing is simply asking that

the Government follow the law.52 Of course, such policies are “within the ambit of

existing policy.” After all, the February 18 Memorandum states that its reprioritization

scheme “covers enforcement actions, custody decisions, the execution of final orders of

removal, financial expenditures, and strategic planning,” (Dkt. No. 19-2 at 2), and

congressional statutes mandating the detention of aliens go to the explicit focus of the




    52   Not only that, the States’ proposed limited policies are “obvious,” “significant,” and
“viable” to this Court. See Jones, 716 F.3d at 215. It is incredibly obvious that a “reprioritization
policy” that still effectuates and follows the law on detention and removals is more limited than
the new guidelines. And surely, following laws should be significantly viable for the Executive
Branch given it is required by the Constitution to enforce such laws. U.S. Const. art. II, §§ 1, 3.


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Memorandum. See State Farm, 463 U.S. at 51, 103 S.Ct. at 2871. But despite all this, the

February 18 Memorandum never considered the limited policies the States proposed. It

failed to discuss how a policy enabling the Government to detain all criminal illegal aliens

subject to congressional mandates compares with the opted-for guidelines. It did not

even state whether the new guidelines even considered any other policy. In short, the

Government did not grapple with or provide any alternatives when it was required to do

so. See Regents, ____ U.S. at ____, 140 S.Ct. at 1913 (“State Farm teaches that when an

agency rescinds a prior policy its reasoned analysis must consider the ‘alternative[s]’ that

are ‘within the ambit of the existing [policy].’” (citing State Farm, 463 U.S. at 51, 103 S.Ct.

2856) (emphasis added)). “That omission alone” makes the new guidelines arbitrary and

capricious. Regents, ____ U.S. at ____, 140 S.Ct. at 1913.

       Lastly, the States argue that the February 18 Memorandum failed to rationally

explain why criminal illegal aliens who have committed aggravated felonies or who are

affiliated with criminal gangs are prioritized over other criminal illegal aliens and aliens

with final orders of removal. (Dkt. No. 18 at 29). The Government responds that the

Memorandum “provides a clear, rational justification for prioritizing” such aliens.

(Dkt. No. 42 at 43–44). As the Government writes, “the former category presumptively

presents a more significant threat to public safety.” (Id.). In mandating the detention of

criminal aliens convicted of serious drug offenses, crimes of moral turpitude, and some

other specified offenses, see 8 U.S.C. § 1226(c), as well as aliens with final orders of

removal during the removal period, see 8 U.S.C. § 1231(a)(2), Congress did not

differentiate among certain “types” or “categories” of deportable and detainable persons.


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These laws plainly mandate the detention of all the deportable criminal aliens subject to

the relevant statutes.   The new guidelines directly go against these congressional

mandates, opting instead to prioritize certain criminal illegal aliens’ detention and

deportation over others because of an assertion that such aliens “presumptively present[]

a more significant threat to public safety” than “one million noncitizens with final orders

of removal,” (Dkt. No. 42 at 44), and—necessarily—other criminal aliens with convictions

for drug offenses or crimes of moral turpitude. But the February 18 Memorandum does

not ground this otherwise unsupported assertion. It does not even explain or state how

it considered, compared, and ultimately concluded that criminal illegal aliens of a certain

category must be prioritized over others.        Despite Sections 1226(c) and 1231(a)(2),

nowhere in the February 18 Memorandum do the new guidelines even contemplate the

prioritization of these “other” criminal illegal aliens. As the States correctly surmise,

“[t]he very reason the February 18 Memorandum provides for prioritizing aggravated

felonies also supports prioritizing drug offenses, crimes of moral turpitude, and final

orders of removal.” (Dkt. No. 18 at 29). Without more explanation grounded on relevant

data and facts, it is unknown why the priorities were implemented in that way. The new

guidance, therefore, indeed appears to be the product of arbitrary and capricious

decision-making.

       In sum, the Government’s failure to rationally explain and connect the basis for

the new guidance, along with the Government’s failure to consider certain relevant

factors and alternative policies, establish that there is a substantial likelihood that the

reprioritization is an arbitrary and capricious policy. As the above discussion shows, the


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Government certainly did not engage in reasoned decision-making as required by the

APA. The Court therefore finds that the States have established a substantial likelihood

of success on this claim.

                     c.     Count IV: Notice and Comment Rulemaking

       The States’ next claim is similar to one Texas raised in Texas I. See Texas I, ____ F.

Supp. 3d at ____, 2021 WL 2096669, at *42–47. In Texas I, this Court enjoined Section C of

the January 20 Memorandum, in part, because Section C did not undergo notice and

comment as required by the APA. See id. In this case, the States ask this Court to enjoin

Section B of the January 20 Memorandum and the February 18 Memorandum for the

same reason. The States argue that “[t]he January 20 and February 18 Memoranda are

subject to notice and comment rulemaking because they are substantive or legislative

rules.” (Dkt. No. 18 at 30). The Government disagrees, raising nearly identical arguments

to those it raised in Texas I. See (Dkt. No. 42 at 47). Namely, the Government contends

that the Memoranda are exempt from the APA’s notice and comment requirement as

“general statement[s] of policy” or, alternatively, as “procedural rules.” (Id.). For the

following reasons, the Court disagrees with the Government’s characterizations of the

Memoranda and finds that the States have a substantial likelihood of success on the

merits of their procedural APA claim.




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                              Rulemaking under 5 U.S.C. § 553

         As in Texas I, no Party disputes that the Memoranda are rules of some kind and,

therefore, that the rulemaking provisions of the APA apply.53 See (Dkt. No. 18); (Dkt. No.

42); see also ___ F. Supp. 3d at ____, 2021 WL 2096669, at *42. Nor does any Party contend

that the Memoranda underwent any notice and comment. (Id.). The question, then, is

whether the Memoranda are the type of rules that should have undergone notice and

comment but did not.

         The Court begins with an overview of the APA’s notice and comment requirement

and the exceptions thereto. The APA requires rules to undergo notice and comment

unless they are exempt. See 5 U.S.C. § 553.54 Section 553 sets forth two such categories of

exemptions to the notice and comment requirement, one of which is relevant to this case.

Id. § 553(b). That category exempts “interpretative rules, general statements of policy, or

rules of agency organization, procedure, or practice” from notice and comment.                   Id.

§ 553(b)(A) (emphases added). Thus, if an agency proposes a rule that is either a general




    53    “‘[R]ule’ means the whole or a part of an agency statement of general or particular
applicability and future effect designed to implement, interpret, or prescribe law or policy or
describing the organization, procedure, or practice requirements of an agency[.]” 5 U.S.C.
§ 551(4).
    54    Specifically, the APA requires that “[g]eneral notice of proposed rule making shall be
published in the Federal Register, unless persons subject thereto are named and either personally
served or otherwise have actual notice thereof in accordance with law.” Id. § 553(b) (emphasis
added). And that notice shall contain “(1) a statement of the time, place, and nature of public rule
making proceedings; (2) reference to the legal authority under which the rule is proposed; and
(3) either the terms or substance of the proposed rule or a description of the subjects and issues
involved.” Id. The APA also requires an agency to “give interested persons an opportunity to
participate in the rule making,” id. § 553(c), and that the “publication or service of a substantive
rule shall be made not less than 30 days.” Id. § 553(d).


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statement of policy or a procedural rule, the agency is not required to conduct notice and

comment on the proposed rule. See id.

       The Fifth Circuit has made clear that exemptions to the notice and comment

requirement “must be narrowly construed.” Texas DAPA, 809 F.3d at 171. A narrow

reading of the exemptions safeguards the vital interests notice and comment is intended

to protect. See Dep’t of Lab. v. Kast Metals Corp., 744 F.2d 1145, 1153 n.17 (5th Cir. 1984)

(“Section 553 was enacted to give the public an opportunity to participate in the rule-

making process. It also enables the agency promulgating the rule to educate itself before

establishing rules and procedures which have a substantial impact on those who are

regulated.” (quotations omitted)).     Indeed, notice and comment ensures that those

affected by a proposed rule have a voice in the rule-making process and assist the agency

in crafting rules that better account for the costs and benefits of agency action. See id. at

1153. But see id. (“Inevitably, in determining whether the APA requires notice and

comment rulemaking, the interests of agency efficiency and public input are in tension.”).

       In harmony with the Fifth Circuit’s warning to narrowly construe exemptions to

APA’s procedural strictures, the Supreme Court has recognized that states like Louisiana

and Texas offer important perspectives on illegal immigration issues. See Arizona, 567

U.S. at 397, 132 S.Ct. at 2500 (“The pervasiveness of federal regulation does not diminish

the importance of immigration policy to the States.”); see also Texas DAPA, 809 F.3d at 163.

States can assist an agency in crafting rules addressing important immigration issues.

Mindful of the importance of notice and comment in this context, the Court now

considers whether the reprioritization scheme contained within the Memoranda is


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exempt from the notice and comment requirement as either a general statement of policy

or as a procedural rule.

                               General Statement of Policy

       The Court first considers whether the Memoranda are general statements of

policy. If so, notice and comment is not required. Prof’ls & Patients for Customized Care v.

Shalala, 56 F.3d 592, 595 (5th Cir. 1995); see also 5 U.S.C. § 553(b)(A).     “In analyzing

whether an agency pronouncement is a statement of policy or a substantive rule, the

starting point is the agency’s characterization of the rule.” Shalala, at 596. As in Texas I,

the Court would likely be convinced that the Memoranda are general statements of policy

if it could rely on the Government’s characterization of the Memoranda alone. See Texas

I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *43. Both the Government in its brief and

the Memoranda themselves declare that the Memoranda are mere statements of policy.

(Dkt. No. 42 at 47–49); (Dkt. No. 19-1); (Dkt. No. 19-2).         Indeed, the January 20

Memorandum explicitly declares that it “should be considered Department-wide

guidance[.]” (Dkt. No. 19-1 at 2) (emphasis added). The January 20 Memorandum also

states that the “guidelines and priorities” contained therein “are not intended to, do not,

and may not be relied upon to create any right or benefit, substantive or procedural,

enforceable at law by any party[.]” (Id. at 5).

       The February 18 Memorandum contains similar language. It begins by declaring

that it “establishes interim guidance[.]” (Dkt. No. 19-2 at 2) (emphasis added). The

February 18 Memorandum goes on to say that “[t]hese guidelines and priorities are not

intended to, do not, and may not be relied upon to create any right or benefit, substantive


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or procedural, enforceable at law by any party in any administrative, civil, or criminal

matter.” (Id. at 8).

         But an agency’s characterization of its rule is just that—its own characterization.

Indeed, “[a]gencies have never been able to avoid notice and comment simply by

mislabeling their substantive pronouncements. On the contrary, courts have long looked

to the contents of the agency’s action, not the agency’s self-serving label, when deciding

whether statutory notice-and-comment demands apply.” Azar v. Allina Health Servs.,

____ U.S. ____, ____, 139 S.Ct. 1804, 1812, 204 L.Ed.2d 139 (2019) (emphasis in original).

The Fifth Circuit, too, cautions courts to be “mindful but suspicious of the agency’s own

characterization.” Texas DAPA, 809 F.3d at 171 (quotation omitted). The Fifth Circuit

therefore demands more of a district court than simply taking an agency at its word when

determining whether the challenged rule is a general statement of policy or a substantive

rule requiring notice and comment. See Shalala, 56 F.3d at 596 (“The label that the

particular agency puts upon its given exercise of administrative power is not, for [this

court’s] purposes, conclusive; rather, it is what the agency does in fact.”).

         Specifically, the Fifth Circuit instructs district courts to also “evaluate two criteria

to distinguish policy statements from substantive rules: whether the rule (1) impose[s]

any rights and obligations and (2) genuinely leaves the agency and its decision-makers

free to exercise discretion.” Texas DAPA, 809 F.3d at 171 (quotation omitted).55 The Fifth



    55    The Fifth Circuit and the D.C. Circuit have emphasized that “unless a pronouncement
acts prospectively, it is a binding norm. Thus . . . a statement of policy may not have a present
effect[.]” Shalala, 56 F.3d at 595; Am. Hosp. Ass’n v. Bowen, 834 F.2d 1037, 1046 (D.C. Cir. 1987).
                                                                                         (continue)


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Circuit has acknowledged that “[t]here is some overlap in the analysis of those prongs

because if a statement denies the decisionmaker discretion in the area of its coverage . . .

then the statement is binding and creates rights or obligations.”                Id. (cleaned up).

Moreover, these “criteria” are merely intended to guide a court in “fathom[ing] the

interpretative/legislative distinction.” Cmty. Nutrition Inst. v. Young, 818 F.2d 943, 946

(D.C. Cir. 1987). In other words, “[t]hese factors are not treated like different elements of

a cause of action, both of which must be proved; but instead a matter of judgment is

involved in distinguishing between rules however discretionary in form, that effectively

circumscribe administrative choice.” Texas, 328 F. Supp. at 730 (citing Am. Bus Ass’n v.

United States, 627 F.2d 525, 530 (D.C. Cir. 1980)).56 The Court now weighs these criteria

to determine whether the Memoranda are general statements of policy or substantive

rules requiring notice and comment.

         The Court first considers whether the Memoranda impose any rights or

obligations. See Texas DAPA, 809 F.3d at 171. In doing so, the Court is mindful that “a

substantive rule—or a legislative-type rule, is one that affects individual rights and



Here, the February 18 Memorandum states that “[t]his interim guidance is effective immediately.”
(Dkt. No. 19-2 at 2) (emphasis added).
       The Fifth Circuit cautions, however, that the “binding effect, not the timing, . . . is the
essence of criterion one.” Shalala, 56 F.3d at 595 (emphasis added). Thus, the “[m]ere
pronouncements of what the agency intends, whether for the present or for the future, which do
not have a binding effect, are properly classified as interpretative rules.” Cmty. Nutrition Inst.,
818 F.2d at 946 n.4. This caveat is of no consequence here because the Court finds that the
Memoranda have a binding effect due to their effect on the rights and obligations described.
    56   In describing the criteria for determining whether a rule is a general statement of policy
or a substantive rule requiring notice and comment, the Fifth Circuit has relied on the D.C.
Circuit. See Shalala, 56 F.3d at 595 nn.15–16 (citing Cmty. Nutrition Inst., 818 F.2d at 943, and Am.
Bus Ass’n, 627 F.2d at 529).


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obligations.” Chrysler Corp. v. Brown, 441 U.S. 281, 302, 99 S.Ct. 1705, 1718, 60 L.Ed.2d 208

(1979) (citation and quotation omitted) (cleaned up). “This characteristic is an important

touchstone for distinguishing those rules that may be ‘binding’ or have the ‘force of law.’”

Id. (citation omitted).

       At the outset, it is worth noting that the Court has extensively described how the

Memoranda affect rights and obligations in its analysis on whether the Memoranda

constitute final agency action. See supra II.B.2. As a review, the Memoranda affect rights

and obligations in at least three ways. First, the February 18 Memorandum commands

that DHS abdicate its obligations under Sections 1226(c) and 1231(a)(2) to detain all aliens

within the ambit of those provisions and that the detention occur at or for a specified time.

Compare §§ 1226(c) and 1231(a)(2) with (Dkt. No. 19-2 at 4–7).

       Second, the Memoranda also create financial obligations for Texas that would not

have existed but for the Memoranda. Based on the record, Texas will be required by law

to bear some of the cost of providing Emergency Medicaid to eligible aliens who fall

within the ambit of Sections 1226(c) or 1231(a)(2). See supra II.B.2.b. The legal obligation

to provide these aliens with these services would not exist if deprioritized aliens were

taken into federal custody at the time of their release from state custody as mandated by

Section 1226(c), or if they were detained during the removal period, as required by

Section 1231(a)(2).

       Finally, as described above, the Memoranda affect the rights of some aliens already

in detention. See supra II.B.2.b. As another court has already found, the Memoranda

make a nonpriority alien’s removal “unlikely to be imminent.” See Hussein S.M., 2021


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WL 1986125, at *3. This status, in turn, entitles certain aliens to release from detention.

See id.; see also Zadvydas, 533 U.S. at 701, 121 S.Ct. at 2505. That is an effect on rights.

          For these reasons, the Court finds that the Memoranda affect the rights and

obligations of those within the Memoranda’s regulatory sphere—DHS, the states, and

certain aliens. This consideration weighs against finding that the Memoranda are general

statements of policy.

          Next, the Court considers whether the Memoranda give the agency and its

decisionmakers sufficient discretion to be considered a general statement of policy. They

do not.

          “General statements of policy” are those “statements issued by an agency to advise

the public prospectively of the manner in which the agency proposes to exercise a

discretionary power.” Lincoln, 508 U.S. at 197, 113 S.Ct. at 2034 (quotations omitted). The

Fifth Circuit has described the inquiry for determining whether a rule gives an agency

and its decisionmakers sufficient discretion to be classified as a general statement of

policy:

                The key inquiry . . . is the extent to which the challenged
                policy leaves the agency free to exercise its discretion to
                follow or not to follow that general policy in an individual
                case, or on the other hand, whether the policy so fills out the
                statutory scheme that upon application one need only
                determine whether a given case is within the rule’s criteria.
                As long as the agency remains free to consider the individual
                facts in the various cases that arise, then the agency action in
                question has not established a binding norm.

Shalala, 56 F.3d at 596–97 (citing Ryder Truck Lines, Inc. v. United States, 716 F.2d 1369, 1377

(11th Cir. 1983), cert. denied, 466 U.S. 927, 104 S.Ct. 1707, 80 L.Ed.2d 181 (1984)). Applying


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this inquiry to the Memoranda, the Court is of the opinion that the amount of discretion

they afford is insufficient for them to be classified as general statements of policy.

         The core feature of the Memoranda is their prioritization of immigration

enforcement actions for some classes of aliens to the exclusion of others. The Memoranda

state explicitly that “[e]nforcement and removal actions [against aliens who fall within]

the [priority groups] described . . . are presumed to be a justified allocation of ICE’s limited

resources.” See, e.g., (Dkt. No. 19-2 at 4–6) (alterations added) (emphasis added). And

although the February 18 Memorandum purports to say that actions against

nonprioritized aliens “may also be justified” and that “the interim priorities do not

require or prohibit the arrest, detention, or removal of any noncitizen,” an agent’s

discretion in this regard appears so constrained as to be illusory. (Id. at 4). Specifically,

the February 18 Memorandum stipulates that “[a]ny civil immigration enforcement or

removal actions that do not meet the above criteria for presumed priority cases will require

preapproval from the [Field Office Director (FOD)] or [Special Agent in Charge (SAC)].”

(Id. at 7) (emphasis added). The preapproval constraint greatly constricts the normal

discretion ICE agents enjoy while exercising their statutory and regulatory duties on

behalf of the agency. See (Dkt. No. 19-4 at ¶ 29) (“This policy requires field agents to

obtain special permission before engaging in routine enforcement.”); cf. 8 U.S.C. § 1357;

8 C.F.R. § 287.5. Put differently, agents now need the approval of a FOD or SAC to

conduct otherwise routine enforcement operations. (Dkt. No. 19-2 at 7); (Dkt. No. 19-4 at

¶ 29).




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       Moreover, the Memorandum details a mandatory process for receiving such

preapproval. Indeed, “[i]n deciding to undertake an enforcement action or removal, the

agent or officer must consider, in consultation with his or her leadership, the nature and

recency of the noncitizen’s convictions, the type and length of sentences imposed,

whether the enforcement action is otherwise an appropriate use of ICE’s limited

resources, and other relevant factors.” (Dkt. No. 19-2 at 7) (emphasis added). “In

requesting . . . preapproval, the officer or agent must raise a written justification through

the chain of command, explaining why the action otherwise constitutes a justified allocation

of limited resources, and identify the date, time, and location the enforcement action or

removal is expected to take place.” (Id.) (emphases added). In other words, an agent or

officer seeking to detain an alien or conduct other enforcement actions is required to

consider certain factors in determining whether to conduct the proposed enforcement

action, put this justification in writing, work this written justification through a chain of

command and, most importantly, wait for approval to conduct what would otherwise be

a routine enforcement action. See (Id.); (Dkt. No. 19-4 at ¶ 29).

       If this cumbersome preapproval requirement and process were not enough in

general to limit the agents’ usual discretion, the February 18 Memorandum goes even

further by expressly describing two specific scenarios in which an agent’s decision-

making power is greatly reduced. First, the February 18 Memorandum states that “[t]he

approval to carry out an enforcement action against a particular noncitizen will not

authorize enforcement actions against other [nonprioritized] noncitizens encountered




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during an operation.”57 (Dkt. No. 19-2 at 7). Simply put, the February 18 Memorandum

flatly denies agents the ability to exercise discretion over non-preapproved,

nonprioritized aliens “during an operation.” Second, the February 18 Memorandum

limits agency discretion in detaining and conducting other enforcement actions against

nonpriority aliens where exigent circumstances exist. See (Dkt. No. 19-2 at 7). To be sure,

the Memorandum allows for detention of, and other enforcement actions against,

nonpriority aliens without preapproval when obtaining such preapproval would be

“impracticable.” (Id.). And while the Memorandum acknowledges that “it is impossible

to preconceive all such circumstances” in which obtaining preapproval may be

impracticable, it nevertheless states that circumstances where obtaining preapproval is

impracticable “generally will be limited to situations where a noncitizen poses an

imminent threat to life or an imminent substantial threat to property.” (Id.) (emphasis

added).   Yet, even in these circumstances, the February 18 Memorandum requires

approval, albeit after the enforcement action is conducted. (Id.). Specifically, the agent is

required, within 24 hours of the enforcement action having been conducted, to “explain

the exigency, where and when the enforcement activity took place, and whether the




    57  Specifically, the February 18 Memorandum states: “The approval to carry out an
enforcement action against a particular noncitizen will not authorize enforcement actions against
other noncitizens encountered during an operation if those noncitizens fall outside the
presumption criteria identified above.” (Dkt. No. 19-2 at 7). In such circumstances, “[a]n
approval to take an enforcement action against any other noncitizen encountered who is not a
presumed priority must be separately secured as described above.” (Id.).


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noncitizen is currently detained.” (Id. at 7 n.7).58 Once again, in a situation in which the

agent’s discretion is likely at its zenith—where exigent circumstances exist—the February

18 Memorandum severely restricts the agent’s ability to exercise it.

         In light of these policies, it is perhaps no surprise that the States provide evidence

suggesting that ICE agents and officers will treat the Memorandum as a list of

instructions rather than mere guidance. See (Dkt. No. 19-4 at ¶ 36). Specifically, a former

Acting Director of ICE with more than 32 years of service in the agency testified that, “[a]s

a practical matter, ICE officers are likely to treat the ‘priorities’ as categorical rules rather

than presumptions to be rebutted on a case-by-case basis.”                      (Id. at ¶ 29).      Also

unsurprisingly, there is evidence in the record tending to show that these “categorical

rules” in the February 18 Memorandum are already hampering enforcement actions and

will continue to deter agents and officers from exercising their discretion in determining

whether to conduct enforcement actions in the future. See (Dkt. No. 19-3 at 3–8); (Dkt.

No. 46 at ¶ 17); cf. Texas DAPA, 809 F.3d at 173 (assessing how DAPA has been applied

in practice in determining whether it conferred sufficient discretion to be considered a

general policy statement).

         In addition to limiting the discretion of individual ICE agents and officers, the

Memoranda also restrict the discretion of entire ICE field offices. See (Dkt. No. 19-2 at 6);

(Dkt. No. 42-2 at 6). Specifically, the February 18 Memorandum states that “ICE will




    58      And “when the location of a proposed or completed enforcement action is a courthouse,
. . . or a sensitive location, . . . that should be explicitly highlighted in the request.” (Id. at 7 n.7)
(citations omitted).


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require field offices to coordinate their operations and obtain preapproval for

enforcement and removal actions that do not meet the above criteria for presumed

priority cases.” (Id.). In other words, the Memoranda not only require individual agents

and officers to receive preapproval before conducting enforcement actions against aliens

falling outside the three priority groups; they also appear to bind the field offices themselves

to the preapproval process delineated in the February 18 Memorandum.

       For these reasons, the Court finds that the amount of discretion that the February

18 Memorandum confers to the agency and its decisionmakers in conducting routine

enforcement actions weighs against classifying the Memorandum as a general statement

of policy. Weighing this factor along with the rights and obligations affected, the Court

concludes that the Memoranda do not constitute a general statement of policy.

                                       Procedural Rule

       Even if the February 18 Memorandum is not a general statement of policy, it may

nevertheless be exempt from notice and comment if it is a rule “of agency organization,

procedure, or practice.” 5 U.S.C. § 553(b)(A); see also Texas DAPA, 809 F.3d at 176. The

Government does not assert that the February 18 Memorandum is a rule of DHS

organization or practice; rather, the Government contends that it is one of agency

procedure. (Dkt. No. 42 at 47–50). The Fifth Circuit employs two tests to determine

whether a rule is one of agency procedure. See Texas DAPA, 809 F.3d at 176–77; see also

Texas, 328 F. Supp. 3d at 728. Here, both tests yield the same conclusion: the Memoranda

do not constitute a procedural rule that is exempt from the APA’s notice and comment

requirement.


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       The first test used by the Fifth Circuit to determine whether a rule is procedural is

the “substantial impact test.” See Texas DAPA, 809 F.3d at 176. This test “is the primary

means by which [the court] look[s] beyond the label ‘procedural’ to determine whether a

rule is of the type Congress thought appropriate for public participation.” Id. (citing Kast

Metals, 744 F.2d at 1153). “An agency rule that modifies substantive rights and interests

can only be nominally procedural, and the exemption for such rules of agency procedure

cannot apply.” Texas DAPA, 809 F.3d at 176 (quoting Kast Metals Corp., 744 F.2d at 1153).

       In making this determination, the question is not “whether the rule is ‘substantive’

or ‘procedural,’ but rather whether the rule will have a ‘substantial impact’ on those

regulated.” Phillips Petroleum Co. v. Johnson, 22 F.3d 616, 620 (5th Cir.), modified on reh’g,

36 F.3d 89 (5th Cir. 1994), for text, see No. 93-1377, 1994 WL 484506 (5th Cir. Sept. 7, 1994).

This distinction makes good sense, as “the notice and comment provisions ‘were

designed to assure fairness and mature consideration of rules of general application,’”

Phillips Petroleum Co., 22 F.3d at 620 (quoting NLRB v. Wyman–Gordon Co., 394 U.S. 759,

764, 89 S.Ct. 1426, 1429, 22 L.Ed.2d 709 (1969)), and to “afford an opportunity for ‘the

agency promulgating the rule to educate itself before establishing rules and procedures

which have a substantial impact on those regulated.’” Phillips Petroleum Co., 22 F.3d at

620 (quoting Texaco, Inc. v. Federal Power Comm’n, 412 F.2d 740, 744 (3d Cir. 1969)).

       In determining whether the rule will have a “substantial impact” on those

regulated, the Court may consider whether the rule creates legal or financial obligations

for the plaintiff and whether the rule restricts the discretion of agency officials. See Texas

DAPA, 809 F.3d at 176 (concluding DAPA “undoubtedly [satisfies the substantial impact]


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test—conferring lawful presence on 500,000 illegal aliens residing in Texas forces the state

to choose between spending millions of dollars to subsidize driver’s licenses and

amending its statutes”); Phillips Petroleum Co., 22 F.3d at 620 (concluding the rule at issue

was not procedural because, in part, “[t]he rule narrowly restrict[ed] the discretion of

MMS officials in determining the value of NGLP’s” and “[i]t foreclose[d] other valuation

methods by prescribing binding valuation criteria”); see also Texas, 328 F. Supp. 3d at 728

(concluding DACA is not a procedural rule, having found it “undoubtedly satisfies [the

substantial impact] test because it has forced the states to spend money on various social

services costs, which are clearly modif[ications] of substantive rights” (quotation

omitted)). If the rule has a substantial impact on “the regulated industry, or an important

class of the members or the products of that industry,” then “notice and opportunity for

comment should first be provided” because “[t]he exemption of § 553(b)(A) from the duty

to provide notice by publication does not extend to those procedural rules that depart

from existing practice and have a substantial impact on those regulated.”            Phillips

Petroleum Co., 22 F.3d at 620.

       Considering these criteria, the Memoranda satisfy the substantial impact test.

First, as discussed above, the Memoranda affect at least one of Texas’s legal obligations.

See supra II.B.2.b. Specifically, they affect Texas’s legal and financial obligations to

partially fund Emergency Medicaid to aliens who fall within the ambit of Sections 1226(c)

or 1231(a)(2) but, pursuant to the Memoranda, are not detained by ICE when they are

released from state custody or during the removal period. The Memoranda also have a

substantial impact because, as just described, they limit the discretion exercised by ICE


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field offices, agents, and officers. In sum, the February 18 Memorandum mandates a

process for ICE field offices and agents to follow for obtaining preapproval to detain

aliens the Memoranda deem to be nonpriorities. This mandatory policy restricts DHS

from exercising discretion and conducting routine enforcement actions against aliens the

Memoranda classify as nonpriorities. This curtailment of agency discretion in conducting

routine civil immigration enforcement actions is yet another substantial impact the

Memoranda have on those they regulate.

       Finally, the Memoranda have a substantial impact on certain aliens already in

detention. As discussed above, see supra II.B.2.b, and as another district court’s ruling

demonstrates, the Memoranda make certain nonpriority aliens’ removal “unlikely to be

imminent,” thus entitling some of those aliens to be released from detention. Hussein

S.M., 2021 WL 1986125, at *3; Zadvydas, 533 U.S. at 701, 121 S.Ct. at 2505. Considering the

many ways the Memoranda affect rights and obligations, it is clear that the Memoranda

have a substantial impact and, therefore, the substantial impact test weighs against

classifying the Memoranda as procedural rules.

       The second test for determining whether a rule is procedural asks the Court to

weigh two considerations. First, the Court must consider the “effect on those interests

ultimately at stake in the agency proceeding.” Texas DAPA, 809 F.3d at 176 (citing Nat’l

Sec. Couns. v. CIA, 931 F. Supp. 2d 77, 107 (D.D.C. 2013)) (quotation omitted). “Hence,

agency rules that impose ‘derivative,’ ‘incidental,’ or ‘mechanical’ burdens upon

regulated individuals are considered procedural, rather than substantive.” Texas DAPA,

809 F.3d at 176 (citing Nat’l Sec. Couns., 931 F. Supp. 2d at 107). This consideration clearly


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weighs against characterizing the Memoranda as procedural rules, given that the Court

has already found that the Memoranda affect the rights and obligations of Texas, DHS,

and certain aliens. See supra II.B.2.b.

       Second, the Court must assess whether the Memoranda affect the substantive

standards by which DHS determines whether to detain certain aliens. See Texas DAPA,

809 F.3d at 176–77 (“[R]ules are generally considered procedural so long as they do not

‘change the substantive standards by which the [agency] evaluates’ applications which

seek a benefit that the agency has the power to provide.” (quotation omitted)). Here, the

Memoranda alter the substantive standards by which DHS determines whether and

when to detain certain aliens by departing from the plain statutory requirements in

Sections 1226(c) and 1231(a)(2) and effectively replacing them with new standards for

making such determinations. As discussed above, Section 1226(c) requires DHS to detain

aliens falling within the ambit of that provision when they are released from state

custody. See supra II.B.3.a. Section 1231(a)(2) requires DHS to detain an alien with a final

order of removal during the removal period.         See supra II.B.3.a. The Memoranda,

however, require DHS to do something different, setting forth a prioritization scheme

that declares some aliens falling within the ambit of Section 1226(c) and 1231(a)(2) as

enforcement “priorities” and others also falling within those same statutory categories as

“nonpriorities.” See (Dkt. No. 19-2 at 4–7). And to detain nonpriorities, the February 18

Memorandum requires ICE agents to obtain preapproval.            See (Id. at 7).   No such

prioritization scheme or preapproval process exists in Sections 1226(c) and 1231(a)(2).

Rather, these provisions plainly require DHS to detain all aliens who meet the


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enumerated statutory criteria and that DHS detain them at or during the time stated in

the provisions. See 8 U.S.C. §§ 1226(c), 1231(a)(2). Thus, the Memoranda change the

“substantive standards by which [DHS] evaluates” whether or not to detain an alien who

falls within the ambit of Section 1226(c) and 1231(a)(2). See Texas DAPA, 809 F.3d at 177

(“DAPA establishes the substantive standards by which the agency evaluates

applications which seek a benefit that the agency purportedly has the power to provide—

a critical fact requiring notice and comment.” (cleaned up)). Therefore, this test also

weighs against classifying the Memoranda as procedural rules.

                   Texas Has Met Its Burden on Its Procedural APA Claim

       In sum, the Court finds that the Memoranda do not constitute a rule that is exempt

from the notice and comment requirements of Section 553. The Memoranda are not

general statements of policy because they have a binding effect insofar as they presently

affect certain rights and obligations and do not afford sufficient discretion to DHS and its

decisionmakers. Likewise, the Memoranda are not procedural rules because they have a

significant impact on DHS, the states, and certain aliens. Therefore, the Court finds Texas

has shown a substantial likelihood of success on the merits of its procedural APA claim.

              2.      Irreparable Harm

       In addition to demonstrating a substantial likelihood of success on the merits, the

States must demonstrate “a substantial threat of irreparable injury if the injunction is not

issued.” Texas DAPA, 809 F.3d at 150. Put another way, the States must show they are

“likely to suffer irreparable harm in the absence of preliminary relief.” Winter, 555 U.S. at

20, 129 S.Ct. at 374 (emphasis added). For an injury to be sufficiently “irreparable,” the


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States need only show the injury “cannot be undone through monetary remedies.”

Burgess v. FDIC, 871 F.3d 297, 304 (5th Cir. 2017) (quoting Deerfield Med. Ctr. v. City of

Deerfield Beach, 661 F.2d 328, 338 (5th Cir. 1981)).

       The States argue their injuries are irreparable because they will incur financial

costs that are unrecoverable. (Dkt. No. 18 at 40–41); (Dkt. No. 51 at 31). The States also

argue they will suffer irreparable harm because non-detention will result in increased

crime. (Id.). In response, the Government contends there is no irreparable harm because

“there is not a significant impact on the States.” (Dkt. No. 42 at 50). The Court concludes

the States have demonstrated they are likely to suffer irreparable harm for the following

reasons.

       As discussed in this Court’s standing analysis, the States have presented evidence

demonstrating the Memoranda cause financial harm in the form of increased costs for

detention facilities. See supra II.A.1.a. The States have also demonstrated the Memoranda

harm their interests as parens patriae because of an increase in criminal activity resulting

from the Memoranda’s implementation. See supra II.A.1.b. The Court found these two

injuries were concrete, imminent, and traceable to the Memoranda. The Court also

concludes the threat of injuries to the States is “likely” as that term is used by the Supreme

Court. See Winter, 555 U.S. at 20, 129 S.Ct. at 374.

       There is also no indication the States can recover for their injuries. Indeed, there

is no immediately discernable theory under which a state can “pierce the federal

government’s usual sovereign immunity or contrive a remedial cause of action sufficient

to recover from its budgetary harm.” Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669,


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at *47. To that point, no Party has suggested the States can recover any of their likely

financial injuries here. And the Fifth Circuit rebuffed an attempt by Texas in the late

1990s to force the federal government to pay medical, educational, and criminal justice

expenditures caused by immigration. See Texas, 106 F.3d at 663–64 (“The State of Texas

and its political subdivisions . . . appeal a Fed.R.Civ.P. 12(b)(6) dismissal of their

complaint seeking declaratory and injunctive relief which would require that the United

States pay the educational, medical, and criminal justice expenses allegedly incurred as a

result of the presence of undocumented or illegal aliens in Texas. Concluding that the

complaint raises questions of policy rather than colorable claims of constitutional or

statutory violations, we affirm.”). Thus, any financial injury is irreparable. See Burgess,

871 F.3d at 304.

       As for injuries to the States’ interests as parens patriae, the Supreme Court has

determined that “law enforcement and public safety interests” can constitute irreparable

harm. See Maryland v. King, 567 U.S. 1301, 1303, 133 S.Ct. 1, 3, 183 L.Ed.2d 667 (2012)

(granting a stay of a judgment after finding Maryland experienced ongoing irreparable

harm because it was enjoined from effectuating a statute that assisted government

officials in investigating crimes and arresting violent offenders). Here, law-enforcement

and public-safety interests underlie the States’ parens patriae injuries. Accordingly, the

States have demonstrated they are “likely to suffer irreparable harm in the absence of

preliminary relief.” See Benisek, ____ U.S. at ____, 138 S.Ct. at 1944.




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              3.      The Balance of Equities and the Public’s Interest

       Having concluded the States have satisfied the first two elements for obtaining a

preliminary injunction, the Court must now determine whether “the threatened injury

outweighs any harm that may result from the injunction to the non-movant” and whether

“the injunction will not undermine the public interest.” Valley v. Rapides Parish Sch. Bd.,

118 F.3d 1047, 1051, 1056 (5th Cir. 1997); accord Gonzales v. Mathis Indep. Sch. Dist., 978 F.3d

291, 294 (5th Cir. 2020). Federal courts have considered the balance-of-equities and

public-interest elements together as they overlap considerably. Texas DAPA, 809 F.3d at

187; Franciscan All., Inc. v. Burwell, 227 F. Supp. 3d 660, 694 n.36 (N.D. Tex. 2016). And

because the Government is the nonmoving party, these two elements “merge.” Nken v.

Holder, 556 U.S. 418, 435, 129 S.Ct. 1749, 1762, 173 L.Ed.2d 550 (2009); accord Texas DAPA,

809 F.3d at 187.

       In weighing the equities, a court “must balance the competing claims of injury and

must consider the effect on each party of the granting or withholding of the requested

relief.” Winter, 555 U.S. at 24, 129 S.Ct. at 376. As for determining whether an injunction

will undermine the public interest, a court should consider the public interests that may

be injured and those that may be served by granting or denying a preliminary injunction.

See Sierra Club v. U.S. Army Corps of Eng’rs, 645 F.3d 978, 997–98 (8th Cir. 2011) (citing

Davis v. Mineta, 302 F.3d 1104, 1116 (10th Cir. 2002), abrogated on other grounds by Dine

Citizens Against Ruining Our Env’t v. Jewell, 839 F.3d 1276 (10th Cir. 2016); All. for the Wild

Rockies v. Cottrell, 632 F.3d 1127, 1138 (9th Cir. 2011)).




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       The States argue the Government has no interest in the implementation and

enforcement of the unlawful policy contained in the Memoranda. (Dkt. No. 18 at 41–42).

The States contend the public interest is furthered when the Executive Branch follows

congressional mandates.      See (Id. at 42); (Dkt. No. 51 at 31–32).     In response, the

Government characterizes any injunction as a restraint on “core Article II authority”

which “outweighs any harm to the States and undermines the public interest.” (Dkt. No.

42 at 55). In the Government’s view, an injunction would inhibit its ability to prioritize

limited resources, cause confusion within the Executive Branch, and impede any effort to

draft final guidance. (Id. at 55–56). The Government also contends the public interest is

served when it has the ability “to prioritize national security, border security, and public

safety.” (Id. at 57). Considering these arguments, the Court finds the States have the

upper hand.

       Notably, without a preliminary injunction, the States will be “threatened with

substantial harm” to their state budgets and interests as parens patriae. See Burwell, 227 F.

Supp. 3d at 694. As discussed earlier, the Court is unpersuaded by the Government’s

claim that the States’ injuries are “speculative.” See (Dkt. No. 42 at 22–23). Instead, the

Court has found the States’ injuries from costs relating to detention facilities and

increased criminal activity are traceable to the implementation of the Memoranda. See

supra II.A.2.

       Although the States face substantial harm from the implementation of the

Memoranda, the Government nevertheless attempts to show that the harm it faces is

worse. The Government, however, postulates harms “that are less substantial” and


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“vague.” See Texas DAPA, 809 F.3d at 186. Specifically, the Government makes much of

an injunction’s supposed harm to the Executive Branch’s authority. See (Dkt. No. 42 at

55–56).    Although it is true that the Executive Branch retains vast discretion in

immigration enforcement, see Arizona, 567 U.S. at 396, 132 S.Ct. at 2499; Reno, 525 U.S. at

490, 119 S.Ct. at 946, that discretion ebbs when Congress sets forth a statutory mandate.

Indeed, “[i]t is undisputed that Congress may mandate that the Executive Branch detain

certain noncitizens during removal proceedings or before removal.” Preap, ____ U.S. at

____, 139 S.Ct. at 973 (Kavanaugh, J., concurring) (emphasis added). Sections 1226(c) and

1231(a)(2) do just that: they require the Executive Branch to detain certain aliens at or for

a specified time.59 Any harm to the Government is therefore exaggerated and should be

addressed to Congress.

         The Government next complains that an injunction would create inefficiency

because it would inhibit the Executive Branch’s ability to prioritize limited resources.60

(Dkt. No. 42 at 55–56). The Court is unpersuaded. First, in at least one case, the Fifth

Circuit has concluded that any inefficiency resulting from an injunction inhibiting the

Executive’s ability to prioritize certain immigration-enforcement actions is “outweighed




    59   The Government implicitly invokes prosecutorial discretion with respect to any harm
an injunction may cause its Article II authority. See (Dkt. No. 42 at 55). This argument does not
warrant much discussion. Indeed, the Court has already extensively discussed the extent of the
Executive’s discretion in enforcing a law when a clear congressional mandate is in place. See supra
II.B.3.
    60  Relatedly, the Government argues that an injunction would harm it by dismantling the
two-step process ICE currently undergoes to determine whether to detain an alien in state
custody. See (Dkt. No. 42 at 56). Sections 1226(c) and 1231(a)(2) already mandate which aliens
must be detained and the time at or for which the Government must detain the alien.


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by the major financial losses [that] states face.” See Texas DAPA, 809 F.3d at 187. Here,

the Court, in its standing analysis, has already found the Memoranda will result in

significant financial losses for the States. See supra II.A.1.a. Second, the Government

overestimates the effect of an injunction on the Executive’s limited resources. Rather than

dictate the use of resources, the injunction precludes the Executive Branch from

instructing officials to act in a manner contrary to a clear congressional mandate. In other

words, the Government remains free to expend its resources in a lawful manner.

       To this point, “the public is served when the law is followed,” Daniels Health Scis.,

L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 585 (5th Cir. 2013), and the public will

be served if the Executive Branch is enjoined from implementing and enforcing a policy

that instructs officials to violate a congressional command. See League of Women Voters of

United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (“There is generally no public

interest in the perpetuation of unlawful agency action.”); Blackie’s House of Beef, Inc. v.

Castillo, 659 F.2d. 1211, 1221 (D.C. Cir. 1981) (collecting cases) (“[T]he public interest in

enforcement of the immigration laws is significant.”); cf. Nken, 556 U.S. at 436, 129 S.Ct.

at 1762 (“There is always a public interest in prompt execution of removal orders[.]”).

The public interest is particularly strong here because, as fully described earlier, Sections

1226(c) and 1231(a)(2) are statutes that Congress enacted for the benefit of the United

States, its citizens, and its legal immigrants. See supra I.A.; Demore, 538 U.S. at 518–21, 123

S.Ct. at 1714–16; Zadvydas, 533 U.S. at 697, 121 S.Ct. at 2502.

       Finally, the Government argues an injunction would result in confusion inside the

Executive Branch because immigration officials will be left with little to no guidance on


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how to exercise their enforcement discretion.        (Dkt. No. 42 at 56).    Relatedly, the

Government also theorizes that injunctive relief would impede its effort to draft final

guidance. (Id. at 56–57). These arguments are puzzling because, with or without an

injunction in place, the Government is free to craft new guidance or instruct Executive

Branch officials to act in a certain manner so long as such guidance and instructions comport

with the law (i.e., congressional mandates).

       Given the discussion above, the Court concludes the potential harms to the States

arising out of the Memoranda outweigh any potential harms to the Government. The

Court also concludes the public interest is served, rather than undermined, by an

injunction. Thus, the States have satisfied all four elements for a preliminary injunction.

       C.     SCOPE OF RELIEF

       The States have satisfied the standard for a preliminary injunction.             This

conclusion raises two additional inquiries: the geographic scope of the injunction as well

as the nature of the injunctive remedy. The Court addresses each in turn.

              1.     Geographic Scope

       The States request a nationwide injunction. (Dkt. No. 18 at 42–43). The Court has

expressed its substantial skepticism of nationwide injunctions. Texas, ____ F. Supp. 3d at

____, 2021 WL 247877, at *6–7; see also Texas I, ____ F. Supp. 3d at ____, 2021 WL 2096669,

at *50–51. Indeed, nationwide injunctions of executive actions are an area of fierce

disagreement in the courts and in legal academia. See id. But, as with any case, this Court

is bound by applicable Fifth Circuit precedent in determining whether a nationwide

scope for an injunction is appropriate. That precedent explains that a federal district



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court, under “appropriate circumstances,” has authority “to issue a nationwide

injunction.” Texas DAPA, 809 F.3d at 188. One such appropriate circumstance is when a

nationwide injunction is necessary is to ensure uniformity in immigration policies as

prescribed by federal law. Id. at 187–88; see also E. Bay Sanctuary Covenant v. Garland, 994

F.3d 962, 987 (9th Cir. 2020) (“[C]ases implicating immigration policy have a particularly

strong claim for uniform, nationwide relief.” (citation omitted)).          Another such

circumstance is when “there is a substantial likelihood that a geographically-limited

injunction would be ineffective because [the] beneficiaries [of the unlawful policy] would

be free to move among states.” Texas DAPA, 809 F.3d at 188.

       The Court finds both circumstances exist here. First, the Memoranda affect

national immigration policy, which is designed to be uniform. See id. at 187–88. Second,

given what has been detailed in the Court’s standing analysis, a geographically limited

injunction is insufficient to protect the States from irreparable harm because aliens not

detained pursuant to the Memoranda in other states are able to move to Texas and

Louisiana. See supra II.A.2 & II.A.3; see also Texas DAPA, 809 F.3d at 188. The States

submitted evidence showing that “more than 50,000 noncitizens moved into Texas from

another U.S. State in 2019.” (Dkt. No. 18 at 42) (citing Dkt. No. 19-21); see also (Dkt. No.

51 at 35) (citing Dkt. Nos. 19-21–19-23).         Accordingly, a nationwide injunction is

appropriate. See Texas DAPA, 809 F.3d at 187–88; see also Texas I, ____ F. Supp. 3d at ____,

2021 WL 2096669, at *50–51.

       The Government offers a handful of arguments in opposition to issuing a

nationwide injunction. None carry the day.


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       First, the Government argues nationwide relief is inappropriate because lawsuits

concerning the Memoranda in other jurisdictions have been unsuccessful. (Dkt. No. 42

at 60). This misses the point. In determining the appropriate scope of an injunction, the

Court’s task is to fashion a remedy that prevents the plaintiffs in this case from suffering

irreparable harm. See ODonnell v. Harris County, 892 F.3d 147, 163 (5th Cir. 2018) (“When

crafting an injunction, district courts are guided by the Supreme Court’s instruction that

‘the scope of injunctive relief is dictated by the extent of the violation established.’”

(quoting Califano v. Yamasaki, 442 U.S. 682, 702, 99 S.Ct. 2545, 2558, 61 L.Ed.2d 176 (1979));

see also Dep’t of Homeland Sec. v. New York, ____ U.S. ____, ____, 140 S.Ct. 599, 600, 206

L.Ed.2d 115 (2020) (Gorsuch, J., concurring in the grant of a stay) (“Equitable remedies,

like remedies in general, are meant to redress the injuries sustained by a particular plaintiff

in a particular lawsuit. When a district court orders the government not to enforce a rule

against the plaintiffs in the case before it, the court redresses the injury that gives rise to

its jurisdiction in the first place.” (emphasis added)); ODonnell v. Goodhart, 900 F.3d 220,

224 (5th Cir. 2018) (“The district court must narrowly tailor an injunction to remedy the

specific action which gives rise to the order.” (emphasis added) (quoting John Doe # 1 v.

Veneman, 380 F.3d 807, 818 (5th Cir. 2004))). In concluding the States are entitled to

injunctive relief, this Court has determined, based on Fifth Circuit precedent and the

record before it, that a nationwide injunction is appropriate to prevent the States from

suffering irreparable harm.

       Next, the Government argues nationwide relief is generally ill-advised because, in

effect, any attempt by the Government to create a new federal policy is thwarted by “a


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single successful challenge” to the policy, even if other challenges to the policy are

unsuccessful. (Dkt. No. 42 at 60) (quoting Dep’t of Homeland Sec., ____ U.S. at ____, 140

S.Ct. at 601 (Gorsuch, J., concurring in the grant of a stay)). Frankly, the Court shares

these concerns. Nonetheless, the Court, in fashioning a proper remedy, is bound by

precedent, see Texas DAPA, 809 F.3d at 187–88, and “must narrowly tailor an injunction

to remedy the specific action which gives rise to the order,” Goodhart, 900 F.3d at 224

(emphasis added) (quoting Veneman, 380 F.3d at 818); see also Dep’t of Homeland Sec., ____

U.S. at ____, 140 S.Ct. at 600 (Gorsuch, J., concurring in the grant of a stay). The Court

therefore finds the Government’s argument unpersuasive.

       Third, the Government attempts to distinguish this case from Texas DAPA and

Texas I by asserting that this case involves individual detention decisions rather than a

blanket policy pausing enforcement actions against aliens. (Dkt. No. 42 at 60). To be sure,

individual enforcement decisions are “inherently discretionary and non-uniform,” Texas

I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *51, but the States are not challenging

individual enforcement decisions. Rather, the States, like the plaintiffs in Texas DAPA

and Texas I, are challenging a blanket policy. See Texas DAPA, 809 F.3d at 146–49; Texas

I, ____ F. Supp. 3d at ____, 2021 WL 2096669, at *30. Specifically, the States are challenging

the Memoranda, which implement and enforce a blanket policy regarding the detention

of certain aliens—a policy that contravenes congressional mandates. Accordingly, the

Government’s argument that this case is distinguishable from Texas I and Texas DAPA

falls short.




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       Finally, the Government argues that, because the States’ injuries are supposedly

premised on detainers in Texas and Louisiana, an injunction limited in geographic scope

to the boundaries of those two states will sufficiently protect them from any irreparable

harm they may suffer due to the Memoranda. (Dkt. No. 42 at 60–61). The Court disagrees

for two reasons. First, the Government incorrectly asserts that the States’ injuries are

premised on detainers when the States’ injuries are, in fact, premised on the increased

costs to their detention systems and their interests as parens patriae. See (Dkt. No. 1 at 15–

16); (Dkt. No. 18 at 15–16, 18, 35–37). Second, in arguing that the geographic scope of the

injunction should be limited to the boundaries of Texas and Louisiana, the Government

ignores that, if aliens are not detained in other states, those aliens can migrate to Texas

and Louisiana thus causing them harm. See Texas DAPA, 809 F.3d at 188 (recognizing

that “there is a substantial likelihood that a geographically-limited injunction would be

ineffective because” the beneficiaries of the unlawful policies “would be free to move

among states”). Indeed, the evidence produced in this case regarding the migration

patterns of aliens to Texas and from other states buttresses this point. See supra II.A.2 &

II.A.3; (Dkt. No. 19-21 at 5–7); (Dkt. No. 19-22 at 5–7, 14); (Dkt. No. 19-23 at 2). The

Government’s argument is therefore meritless.

       Thus, for the foregoing reasons, the States are entitled to a nationwide injunction.

              2.     Remedy

       As stated above, “the scope of injunctive relief is dictated by the extent of the

violation established.” ODonnell, 892 F.3d at 163 (quoting Califano, 442 U.S. at 702, 99

S.Ct. at 2558); see also Goodhart, 900 F.3d at 224 (“The district court must narrowly tailor


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an injunction to remedy the specific action which gives rise to the order.” (quoting

Veneman, 380 F.3d at 818)). Since the States have satisfied the four elements required for

a preliminary injunction, the Court finds that it is appropriate to enjoin the Executive

Branch from implementing and enforcing the Memoranda. Specifically, the Court enjoins

(1) Section B of the January 20 Memorandum, and (2) the sections from the February 18

Memorandum entitled “Civil Immigration Enforcement and Removal Priorities” and

“Enforcement and Removal Actions: Approval, Coordination, and Data Collection.”

(Dkt. No. 1-2 at 4–8). These sections implement and enforce a policy that directly

contravenes congressional mandates. As stressed above, agency policies that contravene

congressional mandates are unlawful—plain and simple. See Util. Air Regul. Grp., 573

U.S. at 327, 134 S.Ct. at 2446; Barnhart, 534 U.S. at 462, 122 S.Ct. at 956. Moreover, the

States have met their burden to show a substantial likelihood that the Memoranda’s

policy prioritizing the detention of certain aliens over others is arbitrary and capricious

and fails to comply with the APA’s notice and comment requirement. The Court

therefore enjoins the implementation and enforcement of these sections.61

IV.        CONCLUSION

           Although this case involves many issues of administrative and immigration law,

its core concerns whether the Executive Branch may implement a policy that directly




      61  The States also request that the Court issue a positive injunction to compel agency action
unlawfully withheld. (Dkt. No. 18 at 25–26); (Dkt. No. 51 at 33). The Government is opposed.
(Dkt. No. 42 at 57–61). Under the APA, a “reviewing court shall . . . compel agency action
unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1). The Court reserves ruling on
this issue until later in the litigation.


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conflicts with laws that Congress enacted. The answer is no. In the end, through all their

detailed explanations of the Executive’s seemingly unending discretion, the Government

substantially undervalues the People’s grant of “legislative Powers” to Congress.

      Because the States have demonstrated that there is a substantial likelihood that

portions of the Memoranda direct Executive Branch officials to act in a way that is

contrary to Sections 1226(c) and 1231(a)(2), those sections of the Memoranda cannot stand

and are hereby enjoined. Additionally, the Court enjoins the sections of the Memoranda

described above because the States have demonstrated a substantial likelihood that the

policy concerning detention of certain aliens set forth in the Memoranda is arbitrary and

capricious under the APA and the Memoranda fail to comply with the APA’s notice and

comment requirement.

      For the foregoing reasons, the Court GRANTS the States’ Motion for Preliminary

Injunction. (Dkt. No. 18). Therefore, it is hereby ORDERED that:

      1.     Defendants and all their respective officers, agents, servants, employees,
             attorneys, and other persons who are in active concert or participation with
             them are hereby ENJOINED and RESTRAINED from enforcing and
             implementing the policies described in:

             a.     Section B of the January 20 Memorandum entitled “Interim Civil
                    Enforcement Guidelines.” (Dkt. No. 1-1 at 3–4);

             b.     The section entitled “Civil Immigration Enforcement and Removal
                    Priorities” in the February 18 Memorandum. (Dkt. No. 1-2 at 4–6);
                    and




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               c.     The section entitled “Enforcement and Removal Actions: Approval,
                      Coordination, and Data Collection” in the February 18
                      Memorandum.62 (Dkt. No. 1-2 at 6–8).

         2.    This Preliminary Injunction is granted on a nationwide basis and prohibits
               enforcement and implementation in every place the Government has
               jurisdiction to enforce and implement the January 20 and February 18
               Memoranda.

         3.    This Preliminary Injunction shall remain in effect pending a final resolution
               of the merits of this case or until a further Order from this Court, the United
               States Court of Appeals for the Fifth Circuit, or the United States Supreme
               Court.

         To ensure compliance with this Preliminary Injunction, the Court further

ORDERS the following:

         1.    By September 3, 2021, the Government must file with the Court the legal
               standard it is abiding by with respect to the detention of aliens covered by
               or subject to 8 U.S.C. § 1226(c)(1)(A)–(D) given the Court’s injunction of the
               Memoranda at issue in this lawsuit. The information should state with
               specificity what guidance, protocols, or standards control the detention of
               these aliens in light of the fact that the Memoranda have been enjoined.

         2.    By September 3, 2021, the Government must file with the Court the legal
               standard it is abiding by with respect to the detention of aliens covered by
               or subject to 8 U.S.C. § 1231(a)(2) given the Court’s injunction of the
               Memoranda at issue in this lawsuit. The information should state with
               specificity what guidance, protocols, or standards control the detention of
               aliens in light of the fact that the Memoranda have been enjoined.

         3.    Starting in September 2021, the Government must file with the Court on the
               5th day of each month a report stating the number of aliens known to the
               Government, who are covered by or subject to 8 U.S.C. § 1226(c)(1)(A)–(D),
               who were released from custody during the previous month, and whom
               ICE did not detain immediately upon their release.




    62  This Memorandum Opinion and Order does not prohibit the Government from carrying
out or adhering to the February 18 Memorandum’s subsections entitled “Notice of At-Large
Enforcement Actions” and “Weekly Reporting of All Enforcement and Removal Actions.”


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               For each of these aliens, provide under seal the alien’s last known residence
               or address and the offense for which the alien had been incarcerated.

               Additionally, for each alien not detained, the Government shall make and
               retain a contemporaneous record of the reason why the alien was not
               detained and the individual who made that specific determination.

         4.    Starting in September 2021, the Government must file with the Court on the
               5th day of each month a report stating the number of aliens in their removal
               period as defined in 8 U.S.C. § 1231(a)(1). Of those, provide the number
               who were not detained pursuant to 8 U.S.C. § 1231(a)(2).

               For each of these aliens not detained, provide under seal the alien’s last
               known residence or address.

               Additionally, for each alien not detained, the Government shall make a
               contemporaneous record of the reason why the alien was not detained and
               the individual who made that specific determination.

         This Memorandum Opinion and Order does not prohibit the Government from

carrying out or adhering to the January 20 Memorandum’s sections entitled

“A. Comprehensive Review of Enforcement Policies and Priorities” and “D. No Private

Right Statement.”63 This Memorandum Opinion and Order also does not prohibit the

Government from carrying out or adhering to the February 18 Memorandum’s sections

entitled “Purpose,” “Background,” “Questions,” and “No Private Right Statement.”

         No security bond is required under Federal Rule of Civil Procedure 65(c).

         It is SO ORDERED.




    63   This Court previously enjoined Section C of the January 20 Memorandum. See Texas I,
___ F. Supp. 3d at ____, 2021 WL 2096669, at *52.


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   Signed on August 19, 2021.



                                        _____________________________________
                                                DREW B. TIPTON
                                        UNITED STATES DISTRICT JUDGE




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